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                                                                      Page 1

 1                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
 2                                EASTERN DIVISION
 3
            ______________________________
 4
            IN RE: NATIONAL PRESCRIPTION                    MDL No. 2804
 5          OPIATE LITIGATION                               Case No. 17-md-2804
 6
            This document relates to:                       Judge Dan
 7                                                          Aaron Polster
 8          The County of Cuyahoga v. Purdue
            Pharma, L.P., et al.
 9          Case No. 17-OP-45005
10          City of Cleveland, Ohio vs. Purdue
            Pharma, L.P., et al.
11          Case No. 18-OP-45132
12          The County of Summit, Ohio,
            et al. v. Purdue Pharma, L.P.,
13          et al.
            Case No. 18-OP-45090
14          _______________________________
15
16
17
                  Videotaped Deposition of Thomas Gilson, M.D.
18
                                Cleveland, Ohio
19
                                January 22, 2019
20
                                     9:13 a.m.
21
22
23
24          Reported by: Bonnie L. Russo
25          Job No. 3196188

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                                                        Page 2                                                                 Page 4
                                                                  1   APPEARANCES (CONTINUED):
     1      Videotaped Deposition of Thomas Gilson held at:       2   On behalf of Johnson & Johnson and Janssen
                                                                      Pharmaceuticals, Inc
     2                                                            3   ERICA M JAMES, ESQ
     3                                                            4
                                                                      TUCKER ELLIS, LLP
                                                                      950 Main Avenue
     4                                                            5
                                                                      Suite 1100
                                                                      Cleveland, Ohio 44113
     5                                                                216-592-5000
                                                                  6   erica james@tuckerellis com
     6                                                            7   On behalf of Walmart, Inc
                                                                      EDWARD M CARTER, ESQ
     7                                                            8   JONES DAY
                                                                      325 John H McConnell Boulevard
     8      Climaco Wilcox Peca Tarantino & Garofoli, LPA         9   Suite 600
                                                                      Cleveland, Ohio 43215
     9            55 Public Square                               10   614-281-3906
                                                                      emcarter@jonesday com
    10            Suite 1950                                     11
                                                                      On behalf of Endo Pharmaceuticals, Inc , Endo
    11            Cleveland, Ohio 44113                          12   Health Solutions, Inc , Par Pharmaceuticals,
    12                                                           13
                                                                      Inc and Par Pharmaceutical Companies, Inc :
                                                                      RUTH HARTMAN, ESQ
    13                                                           14
                                                                      BAKER HOSTETLER
                                                                      Key Tower, 127 Public Square
    14      Pursuant to Notice, when were present on behalf           Cleveland, Ohio 44114
                                                                 15   216-621-0200
    15      of the respective parties:                                rhartman@bakerlaw com
                                                                 16
    16                                                                On behalf of AmerisourceBergen Drug
                                                                 17   Corporation:
    17                                                                STEVEN J BORANIAN, ESQ
                                                                 18   LUKE PORTER, ESQ
    18                                                                (Via Teleconference)
                                                                 19   REED SMITH, LLP
    19                                                                101 Second Street, Suite 1800
    20                                                           20   San Francisco, CA 94105
                                                                      415-659-5980
    21                                                           21   sboranian@reedsmith com
                                                                        -and-
    22                                                           22   SANDRA K ZERRUSEN, ESQ
                                                                      JACKSON KELLY, PLLC
    23                                                           23   50 South Main Street, Suite 201
                                                                      Akron, Ohio 44308
    24                                                           24   330-252-9060
                                                                      skzerrusen@jacksonkelly com
    25                                                           25

                                                        Page 3                                                                 Page 5
     1   APPEARANCES:                                             1     APPEARANCES (CONTINUED):
     2
     3   On behalf of Cuyahoga County:                            2
         SALVATORE C BADALA, ESQ                                        On behalf of McKesson Corporation:
     4   NAPOLI SHKOLNIK, PLLC
         400 Broadhollow Road, Suite 305                          3     ANNA Q. HAN, ESQ.
     5   Melville, New York 11747                                       (Via Teleconference)
         631-224-1133
     6   sbadala@napolilaw com
                                                                  4     COVINGTON & BURLING, LLP
           -and-                                                        One CityCenter
     7   MARIA FLEMING, ESQ                                       5     850 Tenth Street, N.W.
         NAPOLI SHKOLNIC, PLLC
     8   600 Superior Avenue East, Suite 1300                           Washington, D.C. 20001
         Cleveland, Ohio 44114                                    6     202-662-6000
     9   212-397-1000
         mfleming@napolilaw com
                                                                        ahan@cov.com
    10     -and-                                                  7
         HUNTER SHKOLNIK, ESQ                                     8
    11   (Via Teleconference)
         NAPOLI SHKOLNIK, PLLC                                    9
    12   270 Munoz Rivera Avenue, Suite 201                             Also Present:
         Hato Rey, Puerto Rico 00918
    13   212-397-1000                                            10     Daniel Russo, Videographer
         hunter@napolilaw com                                    11
    14
         On behalf of Purdue Pharma, L P
                                                                 12
    15   MARK CHEFFO, ESQ                                        13
         DECHERT, LLP                                            14
    16   Three Bryant Park
         1095 Avenue of the Americas                             15
    17   New York, New York 10036                                16
         212-698-3814
    18   mark cheffo@dechert com
                                                                 17
           -and-                                                 18
    19   LINDSEY COHAN, ESQ                                      19
         DECHERT, LLP
    20   300 W 6th Street, Suite 2010                            20
         Austin, Texas 78701                                     21
    21   512-394-3000
         lindsey cohan@dechert com                               22
    22                                                           23
    23
    24
                                                                 24
    25                                                           25

                                                                                                                      2 (Pages 2 - 5)
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                                                               Page 6                                                   Page 8
     1          CONTENTS                                                 1   firm of Veritext Legal Solutions, and I'm your
     2   EXAMINATION OF THOMAS GILSON                  PAGE
     3   BY MR CHEFFO             10                                     2   videographer today. The court reporter is
     4   BY MR BORANIAN             328                                  3   Bonnie Russo from the firm Veritext Legal
     5   BY MR CARTER             373
     6   BY MR BADALA              413                                   4   Solutions.
     7   BY MS HARTMAN              418                                  5          Counsel and all present in the room
     8
     9
                                                                         6   and everyone attending remotely will now state
    10              EXHIBITS                                             7   their appearances and affiliations for the
    11   Exhibit 1 Medical Examiner's Office   97
                                                                         8   record, please.
                Heroin Related Deaths
    12          in Cuyahoga County                                       9          MR. BADALA: Salvatore Badala for
    13   Exhibit 2 E-Mail Chain            215                          10   the Plaintiff Cuyahoga County.
                dated 7-11-13
    14          CUYAH_001710246-0247                                    11          MS. FLEMMING: Maria Flemming for
    15   Exhibit 3 Article entitled       253                           12   the Plaintiff Cuyahoga County.
                "Associations of Nonmedical
    16          Pain Reliever Use and                                   13          MS. JAMES: Erica James, Tucker
                Initiation of Heroin Use                                14   Ellis, on behalf of Janssen Pharmaceuticals and
    17          in the United States"
                PPLP004153119-53135
                                                                        15   Johnson & Johnson.
    18                                                                  16          MS. HARTMAN: Ruth Hartman, Baker
         Exhibit 4 E-Mail Chain      269
                                                                        17   Hostetler, on behalf of the Endo defendants.
    19          dated 10-9-17
                CUYAH_001670519-0520                                    18          MR. CARTER: Ed Carter for WalMart.
    20                                                                  19          MS. ZERRUSEN: Sandy Zerrusen,
         Exhibit 5 Spreadsheets            340
    21                                                                  20   Jackson Kelly, on behalf of AmerisourceBergen.
         Exhibit 6 Medical Examiner's Office     349                    21          MR. BORANIAN: Steven Boranian from
    22          Heroin/Fentanyl/Cocaine
                Related Deaths in
                                                                        22   Reed Smith for Defendant AmerisourceBergen.
    23          Cuyahoga County                                         23          MS. COHAN: Lindsey Cohan from
                2018 December Update
    24          1-11-18
                                                                        24   Dechert, LLP, for the Purdue Defendants.
    25   (Exhibits included with transcript )                           25          MR. CHEFFO: And Mark Cheffo, also
                                                               Page 7                                                   Page 9
     1               PROCEEDINGS                                         1   for Dechert, for Purdue.
     2                                                                   2         THE VIDEOGRAPHER: Can the people
     3            THE VIDEOGRAPHER: Good morning.                        3   remotely please state their appearances as
     4            We are going on the record at 9:13                     4   well.
     5     a m. on January 22nd, 2019.                                   5         MS. HAN: Anna Han from Covington &
     6            Please note that the microphones are                   6   Burling for McKesson Corporation.
     7     sensitive and may pick up whispering, private                 7         MR. PORTER: Luke Porter with Reed
     8     conversations and cellular interference.                      8   Smith on behalf of AmerisourceBergen.
     9     Please turn off all cell phones or place them                 9         THE VIDEOGRAPHER: Will the court
    10     away from the microphones as they can interfere              10   reporter please swear in the witness.
    11     with the deposition audio. Audio and video                   11
    12     recording will continue to take place unless                 12               THOMAS GILSON,
    13     all parties agree to go off the record.                      13   being first duly sworn, to tell the truth, the
    14            This is Media Unit 1 of the video                     14     whole truth and nothing but the truth,
    15     recorded deposition of Dr. Tom -- Thomas                     15            testified as follows:
    16     Gilson, taken by counsel for the defendant, in               16           THE VIDEOGRAPHER: You may proceed,
    17     the matter of In Re National Prescription                    17   Counsel.
    18     Opiate Litigation filed in United States                     18           MR. CHEFFO: Thank you.
    19     District Court for the Northern Division of                  19           MR. BADALA: Sorry. Before you
    20     Ohio, Eastern Division, case No. 17-MD-2804.                 20   begin, we just --
    21            This deposition is being held at                      21           MR. CHEFFO: Sure.
    22     Climaco Wilcox, Peca, Tarantino & Garofoli,                  22           MR. BADALA: -- have a standing
    23     LPA, located at 55 Public Square, Suite 1950,                23   objection to Carole Rendon being involved in
    24     Cleveland, Ohio.                                             24   the litigation as well as the involvement of
    25            My name is Daniel Russo from the                      25   Baker Hostetler.

                                                                                                              3 (Pages 6 - 9)
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                                                                Page 10                                                Page 12
     1          MS. HARTMAN: And in response, the                          1      Q. Is that the -- the typical kind of
     2   Endo defendants think they would suffer                           2   hierarchy, the dep -- whoever serves as the
     3   prejudice if they weren't allowed to be in the                    3   deputy chief of staff serves as your
     4   deposition.                                                       4   supervisor?
     5   EXAMINATION BY COUNSEL FOR DEFENDANT PURDUE                       5      A. Yes. There's a deputy chief of
     6                PHARMA, L.P.                                         6   staff, then the chief of staff, then the
     7          BY MR. CHEFFO:                                             7   executive. That's the chain of command over
     8     Q.     Okay. Good morning, Dr. Gilson.                          8   the medical examiner.
     9     A.     Morning, sir.                                            9      Q. And does the deputy chief of staff,
    10     Q.     You understand you're under oath                        10   whoever sits in that chair, does he or she
    11   today?                                                           11   provide any type of evaluation or performance
    12     A.     Yes, I do.                                              12   review for you?
    13     Q.     Is there any reason why you can't                       13      A. They have at different times but not
    14   testify fully and accurately here today?                         14   recently.
    15     A.     No.                                                     15      Q. When was the last time?
    16     Q.     Can you please state your full name                     16      A. I don't remember.
    17   and your -- your professional title.                             17      Q. Was it in the last two years?
    18     A.     Yes. My name is Dr. Thomas Gilson.                      18      A. I don't believe so.
    19   I am the Cuyahoga County medical examiner and                    19      Q. How many times have you had a
    20   director of the crime laboratory for Cuyahoga                    20   performance review?
    21   County.                                                          21      A. I don't remember the exact number.
    22     Q.     And how long have you held those                        22      Q. Is it more than one?
    23   positions?                                                       23      A. I don't remember.
    24     A.     Since 2011.                                             24      Q. Well, are they annual reviews?
    25     Q.     And have your duties and                                25      A. Obviously not, I guess. So the --
                                                                Page 11                                                Page 13
     1     responsibilities been substantially the same     1                     Q. Are they supposed to be annual?
     2     since 2011?                                      2                     A. That's an HR function. I haven't
     3        A. Yes, they have.                            3                  had an annual review.
     4        Q. Okay. And who is your employer?            4                     Q. Is it less than ten?
     5        A. Cuyahoga County.                           5                     A. I have worked here since 2011. I've
     6        Q. And who is your supervisor?                6                  had at least one. So has to be less than ten.
     7        A. Brandy Carney is the deputy chief of       7                  I don't remember how many reviews there
     8     staff for the safety units, which would include 8                   actually were though.
     9     the medical examiner's office.                   9                     Q. You don't remember your reviews for
    10        Q. And that's Ms. Carney?                    10                  the last six or seven years; you only remember
    11        A. Ms. Carney, yes.                          11                  one?
    12        Q. Ms. Carney is -- strike that.             12                     A. I remember one very clearly. But I
    13            How long has Ms. Carney been your        13                  -- it was right as I came on board. There may
    14     supervisor?                                     14                  have been another one after that. But the last
    15        A. I don't remember. She was appointed 15                        couple of years I know we've not had a -- an --
    16     sometime I believe in 2018.                     16                  a year-end review.
    17        Q. Who was your supervisor prior to          17                     Q. Can you remember more than two?
    18     Ms. Carney?                                     18                     A. I don't, sir.
    19        A. Frank Bova, B-O-V-A.                      19                     Q. So is that your best testimony that
    20        Q. And was he your supervisor from 2011 20                       you believe you have -- you've had two
    21     to 2018, or was there someone in between?       21                  performance reviews in the last seven or eight
    22        A. I think he was the chief of staff         22                  years?
    23     when I came for safety. Oh, Noberta Collogne 23                            MR. BADALA: Objection to form.
    24     was the deputy chief of safety for safety       24                         THE WITNESS: Well, I get
    25     before Frank Bova.                              25                  performance reviews by feedback from staff.
                                                                                                           4 (Pages 10 - 13)
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                                                     Page 14                                                  Page 16
     1   The written annual review that you mention --          1   you do them on an annual basis with frequency?
     2   or if that's what I understand your question to        2      A. Yes, I did.
     3   be -- I don't remember the exact number, sir.          3      Q. And did you ever ask HR why they
     4   I know there was at least one, I think two.            4   didn't give you the framework so you could
     5           BY MR. CHEFFO:                                 5   review your people formally?
     6      Q. And you can't remember any more than             6      A. I believe I have asked whether we
     7   two?                                                   7   would be doing annual reviews. And I don't
     8      A. Not as I sit here today, no.                     8   really know what the answer was to that, other
     9      Q. And -- and with the two that you                 9   than it wasn't going to be done for those two
    10   remember, did you actually get paper -- some          10   years.
    11   type of actual written summary or -- or               11      Q. Who'd you ask?
    12   evaluation that was an adjunct to a formal            12      A. I don't remember.
    13   in-person evaluation?                                 13      Q. Is there an HR person within your
    14      A. With one of the year-end reviews I              14   department, or do you rely on an HR person
    15   did get a piece of paper summarizing that. And        15   that's outside the department?
    16   the other informal reviews I don't have any           16      A. Both. We have a liaison to our
    17   paper with it, and I don't remember if they           17   office. And then obviously there's HR
    18   were annual or if they were just things that          18   personnel who are more centrally based in the
    19   were going on in the course of business that I        19   county.
    20   would get feedback from my supervisor.                20      Q. And who'd you ask?
    21      Q. Have you ever asked for a -- a                  21      A. I don't remember, sir.
    22   formal evaluation, other than the one time you        22      Q. There's somebody physically in your
    23   got one?                                              23   building who's an HR person?
    24      A. No, sir.                                        24      A. Yes.
    25      Q. Do you review your team on an annual            25      Q. Did you ask him or her?
                                                     Page 15                                                  Page 17
     1   basis?                                                 1      A. I believe I did. But I -- I -- I
     2      A. I have. As I say our HR -- our                   2   want to be certain. But the person has changed
     3   human resource department hasn't given us the          3   some. So I originally had a person Radine
     4   guidance on that recently. So for the last two         4   Brown, who got promoted. And I would
     5   years, I believe we have not done that.                5   frequently interact with her but still have a
     6      Q. Meaning you haven't reviewed any of              6   different liaison in the building.
     7   your people for the last two years?                    7          And my current person is Lynn
     8      A. Not in the setting as I understand               8   Ferraro. And I -- I -- I believe I spoke with
     9   what you're asking me. I review all my people          9   her about whether we would be doing reviews
    10   pretty much top to bottom very frequently             10   through an HR framework. I may have spoken to
    11   actually.                                             11   Radine though.
    12      Q. Yeah. I'm talking about a formal --             12      Q. Do you think reviews are a good
    13          MR. BADALA: You understand --                  13   idea?
    14          THE WITNESS: Formal written review?            14          MR. BADALA: Objection to form.
    15          MR. CHEFFO: Right.                             15          THE WITNESS: Yes, I do.
    16          THE WITNESS: No, I have not done               16          BY MR. CHEFFO:
    17   that.                                                 17      Q. And when do you believe you will
    18          BY MR. CHEFFO:                                 18   review the people who work in your department?
    19      Q. And that's because HR didn't tell               19      A. As I say, I review those people
    20   you that you needed to?                               20   constantly.
    21      A. They didn't give us a framework to              21      Q. I think --
    22   operate in for a review. So I've done what, as        22      A. The formal review process I think is
    23   I say, is a more informal review. And I do            23   a good -- good thing too. But it's not that
    24   those frequently.                                     24   they're going unreviewed. I certainly wouldn't
    25      Q. And prior to the last two years, did            25   say that at all.

                                                                                                 5 (Pages 14 - 17)
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                                                       Page 18                                                  Page 20
     1      Q.   Do you remember my question?                     1      Q. Anybody else?
     2      A.   I thought I answered your question,              2      A. Not that I remember.
     3   sir.                                                     3      Q. And how many times did you -- again,
     4      Q.   Do you remember what it was?                     4   with the caveat I don't want you to tell me
     5      A.   Do you think reviews are a good                  5   anything you talked to with them, but how many
     6   idea.                                                    6   times did you meet with -- with them or talk
     7      Q.    No.                                             7   with them?
     8          I said when -- when do you expect to              8      A. We spoke on Friday, and we spoke
     9   review your people?                                      9   yesterday.
    10          MR. BADALA: Objection to form.                   10      Q. And how long was each session?
    11          THE WITNESS: I don't have a                      11      A. I don't remember the Friday.
    12   specific time framework for that. I have four           12   Probably between one to two hours and yesterday
    13   direct reports. I see them on a weekly basis            13   was about two and a half hours.
    14   and provide feedback to them. I walk the                14      Q. And was anyone present, either in
    15   office at least once to twice a week and talk           15   person or on the phone, other than the three --
    16   to other employees as well.                             16   the two lawyers you mentioned and yourself?
    17          MR. CHEFFO: Okay. Move to strike.                17      A. Not that I remember, no. I mean I'm
    18          BY MR. CHEFFO:                                   18   -- I was in my office by myself. So nobody on
    19      Q. When do you expect issue formal                   19   my end.
    20   reviews, if ever, of the people who report to           20      Q. Okay. And -- and the only documents
    21   you?                                                    21   you reviewed were publicly available documents
    22          MR. BADALA: Objection to form.                   22   on the web site in connection with your -- your
    23   Asked and answered.                                     23   deposition; is that right?
    24          THE WITNESS: I'm not sure what                   24      A. Yes.
    25   you're meaning by "formal reviews." I consider          25      Q. Do you know what was collected and
                                                       Page 19                                                  Page 21
     1   reviews my interactions with the staff.         1            produced from your department in connection
     2           BY MR. CHEFFO:                          2            with this litigation?
     3       Q. Annual performance reviews.              3               A. In a general way. I don't know
     4           MR. BADALA: Objection to form.          4            every document that came.
     5   It's a different question.                      5               Q. What was -- what generally was
     6           THE WITNESS: Annual performance 6                    collected and produced?
     7   reviews, I don't have a framework for them this 7               A. I think our public documents and
     8   year. So I -- I don't know if we will receive   8            case files around the decedents who died in the
     9   that guidance to do so.                         9            opioid epidemic.
    10           BY MR. CHEFFO:                         10               Q. Anything else?
    11       Q. What did you do to prepare for          11               A. E-mails I believe were also
    12   today's deposition, if anything?               12            produced.
    13       A. I reviewed our web site information     13               Q. Anything else?
    14   primarily, different reports that our agency   14               A. Not that I remember. I -- I don't
    15   had generated. I did speak with counsel for    15            mean to say that there weren't. I just -- not
    16   the county in preparation as well.             16            that I know of --
    17       Q. Okay. And I don't want you to tell      17               Q. Okay.
    18   me anything you talked about with your -- with 18               A. -- right now.
    19   your lawyer.                                   19               Q. How do you refer to your -- your
    20           But was it the attorney sitting next   20            department?
    21   to you?                                        21                   MR. BADALA: Objection to form.
    22       A. He was one, yes.                        22                   BY MR. CHEFFO:
    23       Q. Anybody else?                           23               Q. That's why I'm just -- when I stay
    24       A. It was by phone. Joe Ciaccio I          24            "the department."
    25   think was the other fellow.                    25                   What -- what -- is that how you say,
                                                                                                   6 (Pages 18 - 21)
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                                                    Page 22                                                  Page 24
     1   "the department," or do you say the medical     1         complaint in this case?
     2   examiner's office?                              2            A. No, I did not.
     3           What -- how do you --                   3            Q. Did you see it before it was filed?
     4      A. I call it the medical examiner's          4            A. No, sir.
     5   office.                                         5            Q. Did you -- have you assisted in the
     6      Q. M -- ME's office?                         6         preparation of any discovery responses in this
     7      A. Or the office.                            7         case?
     8      Q. Okay.                                     8            A. Not directly. I mean if our
     9      A. And crime laboratory. They're both        9         information was used in those responses, I
    10   under me, but they're separate functions.      10         obviously oversee the agency that generates a
    11      Q. Okay. And did you do anything else 11               large amount of data. But the actual
    12   other than review the documents you've told us 12         preparation of those documents I would have to
    13   about and speak with your lawyers to prepare 13           say no, I did not.
    14   for the deposition?                            14            Q. Okay. So in other words, no one
    15      A. Maybe read some articles that I had      15         sent you a copy of an interrogatory response
    16   written on the opioid crisis. I think          16         and said, "Hey, Doctor, can you just take a
    17   that's -- that's everything.                   17         look at this or help fill in the blanks"?
    18      Q. Did you speak with anybody else?         18            A. No, sir.
    19      A. Not in preparation for today, no.        19            Q. Are you aware of anybody on your
    20      Q. You've been deposed before; is that      20         staff who did that?
    21   right?                                         21            A. No, sir.
    22      A. In this litigation or in general?        22            Q. As is typical, I'm going to try and
    23      Q. In general.                              23         see if I can start with a few kind of broad
    24      A. Yes, I have.                             24         concepts and see where you have some knowledge
    25      Q. And in this litigation, you were         25         and where you may not. So I'm going to ask you
                                                    Page 23                                                  Page 25
     1   deposed last --                                       1   some broad questions and see if you can tell me
     2      A. Yes.                                            2   what -- what you think the responses are.
     3      Q. -- week.                                        3          So do you consider yourself to be an
     4      A. And it was also last week --                    4   expert in opioids?
     5      Q. Right.                                          5          MR. BADALA: Objection to form.
     6      A. -- on Monday.                                   6          THE WITNESS: The drugs themselves
     7      Q. Approximately how many times were --            7   or...
     8   have you been deposed in -- in your career?           8          BY MR. CHEFFO:
     9      A. I don't keep track of it. I don't               9      Q. Yes, sir.
    10   honestly know.                                       10      A. I'm familiar with them. I wouldn't
    11      Q. Is it over a hundred?                          11   say I'm an expert at them.
    12      A. No. No. It certainly -- the bulk               12      Q. So things like pharmacokinetics or
    13   of my testimony's criminal and usually doesn't       13   pharmacology of opioids, you don't hold
    14   have a deposition ahead of time.                     14   yourself as an expert in those, do you?
    15      Q. How many times have you testified at           15      A. No. Again, as part of my medical
    16   trial?                                               16   training, I would have received information
    17      A. I don't keep track of that either.             17   about them. But advanced knowledge on them, I
    18   That, I would say, you know, is over a hundred,      18   wouldn't claim to have that.
    19   I know.                                              19      Q. And are you an expert in the FDA?
    20      Q. And most of those have been in                 20          MR. BADALA: Objection to form.
    21   connection with criminal proceedings is that         21          THE WITNESS: I'm familiar with the
    22   fair?                                                22   FDA, but I don't know if anybody's an expert in
    23      A. The majority I would say that's a              23   the FDA.
    24   fair statement.                                      24          BY MR. CHEFFO:
    25      Q. Did you assist in preparing the                25      Q. Okay. Are you an expert in the FDA?

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                                                    Page 26                                                  Page 28
     1      A. No, sir. I'm not.                               1     Q.     Got it.
     2      Q. Are you an FDA [sic] in -- in                   2          Do you hold ourself out as an expert
     3   labeling of pharmaceutical medicines?                 3   in epidemiology; yes or no?
     4      A. I -- I'm sorry. I missed the                    4      A. I -- I don't think I can answer that
     5   beginning of your question.                           5   as a -- I -- I don't -- there's areas of
     6      Q. Are you an expert in the labeling of            6   epidemiology with which I am familiar and areas
     7   pharmaceutical medicines?                             7   with which I am not.
     8      A. Not something I have expertise in,              8      Q. So tell me --
     9   sir.                                                  9      A. So I would say, if we're talking
    10      Q. And the rules and regulations for              10   about the entire field of epidemiology, I don't
    11   pharmaceutical companies that are promulgated        11   carry a degree in that field, and I don't have
    12   by the FDA, are you an expert in that area?          12   specialized training in it beyond my experience
    13      A. No. I do not have expertise in that            13   as a medical examiner.
    14   area.                                                14      Q. What, if any, areas of epidemiology
    15      Q. Are you an expert in toxicology?               15   do you hold yourself out as an expert in?
    16      A. As part of my training, I have                 16          And to the extent that you do,
    17   information in toxicology. I am not a                17   explain the basis of your expertise.
    18   toxicologist. I have expertise as a forensic         18      A. I think I am a public health
    19   pathologist in interpreting toxicology.              19   officer. So I would collect and analyze data
    20      Q. Is there a toxicologist or -- or               20   as it would relate to different public health
    21   more than one toxicologist in your office?           21   issues.
    22      A. Our office has a toxicology                    22      Q. So you're an expert in what with
    23   laboratory. It's staffed by a chief                  23   respect to epidemiology?
    24   toxicologist, who is a Ph.D. level. I have a         24          How would you characterize it?
    25   supervisor who has extensive experience. I           25      A. Data generation and analysis.
                                                    Page 27                                                  Page 29
     1   have multiple scientists at different levels.         1     Q.    In all fields?
     2           I believe the total number of                 2     A.    All fields of?
     3   employees in our toxicology laboratory is nine.       3     Q.    Anything.
     4   I consider all of them, to a greater or lesser        4     A.    Epidemiology?
     5   extent, to be toxicologists. But the chief            5          MR. BADALA: Objection to form.
     6   toxicologist would be the Ph.D.-level person,         6          THE WITNESS: I'm -- can you say
     7   Dr. Apollonio.                                        7   your question.
     8      Q. Is that a he or she?                            8          BY MR. CHEFFO:
     9      A. He.                                             9      Q. You say you're an --
    10      Q. And what was his first name?                   10      A. I don't fully understand.
    11      A. Luigino.                                       11      Q. You said you're an expert in data
    12      Q. Okay. And are you an expert in                 12   generation, right, in the context of
    13   epidemiology?                                        13   epidemiology?
    14      A. Again, I have familiarity with                 14      A. I think I have advanced knowledge
    15   epidemiology. I do not have formal training in       15   there, yes.
    16   epidemiology though.                                 16      Q. Is that related in all areas of
    17      Q. So I guess the answer is no, you               17   epidemiology or just as it relates to the
    18   don't hold yourself out as an expert in              18   functions of a -- a medical examiner?
    19   epidemiology.                                        19      A. As it relates to my duties as a
    20           Is that fair?                                20   medical examiner and public health officer.
    21      A. I think, as a medical examiner, I              21      Q. Have you ever published in the field
    22   have familiarity with public health issues. In       22   of epidemiology?
    23   terms of expertise with epidemiology,                23      A. My publications would be
    24   statistical things, I wouldn't presume to have       24   epidemiologic-based, to some extent, in that
    25   that. But I do know things about epidemiology.       25   we're generating data on a population basis.
                                                                                                8 (Pages 26 - 29)
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                                                  Page 30                                                   Page 32
     1   So to that extent, I think forensics overlaps       1   the level of some really high-level law
     2   with epidemiology.                                  2   enforcement person on that.
     3      Q. Are you an expert in the marketing            3      Q. And -- and where -- where did you
     4   of prescription medicines?                          4   get your knowledge about drug cartels?
     5      A. No, sir.                                      5      A. Primarily discussions with law
     6      Q. Are you an expert in the                      6   enforcement. My independent reading as well.
     7   distribution of pharmaceutical medicines?           7      Q. And what do you know about them, and
     8      A. No, sir.                                      8   how do they intersect with your work as a
     9      Q. Are you an expert in -- in                    9   medical examiner?
    10   pharmacies?                                        10           MR. BADALA: Objection to form.
    11          MR. BADALA: Objection to form.              11           THE WITNESS: Well, the drug
    12          THE WITNESS: I'm not sure. If you           12   cartels, you know, are based in different parts
    13   can be more specific in your question.             13   of the world, as you know. And when we were
    14          BY MR. CHEFFO:                              14   talking back in the heroin phase of the opioid
    15      Q. Okay. Are you an expert in -- in             15   crisis, I became familiar with -- and again,
    16   pain management?                                   16   these were discussions with law enforcement --
    17      A. No, sir.                                     17   drug cartels that would have been based in
    18      Q. Are you an expert in addiction?              18   Mexico who were considered to be responsible
    19      A. That's not within the scope of what          19   for the large influx of heroin into especially
    20   I practice. So I'd have to say that I don't        20   the middle part of the country.
    21   really carry any formal training in that or        21           There were drug cartels, again,
    22   expertise.                                         22   which I was, again, told of in discussions with
    23      Q. Are you an expert in the treatment           23   law enforcement, in Afghanistan and other parts
    24   of chronic pain?                                   24   of the world who also distribute opioids.
    25      A. Again, I have familiarity from my            25           There are drug cartels in South
                                                  Page 31                                                   Page 33
     1   medical education, but I wouldn't label that as     1   America. The Medayee cartel is one that comes
     2   expertise. I don't treated those kind of            2   to mind, which was a drug cartel that was very
     3   patients. So I don't have experience with it.       3   active in the distribution of cocaine.
     4          And other than my general knowledge          4          There are I think, you know, bases
     5   as a medical practitioner, I wouldn't say that      5   in the United States, as understand it, with a
     6   I have specific, you know, formal training or       6   hierarchy going back to these cartels. And
     7   experience in that.                                 7   that's my understanding of them.
     8      Q. Are you an expert in the sales                8          BY MR. CHEFFO:
     9   practices of pharmaceutical companies?              9      Q. And let -- let's -- let's focus for
    10          MR. BADALA: Objection to form.              10   my -- and -- and thank. You -- you -- you
    11          THE WITNESS: I just have some               11   answered my question. But I have a more
    12   familiarity with that. But no, I would not         12   specific question.
    13   claim expertise in that area.                      13          With respect to -- to Cuyahoga
    14          BY MR. CHEFFO:                              14   County, what is the impact of drug cartels
    15      Q. Are you an expert in connection with         15   currently in connection with illicit drug use
    16   the DEA's rules and regulations?                   16   in Cuyahoga County?
    17          MR. BADALA: Objection to form.              17      A. I - I couldn't be more specific
    18          THE WITNESS: Pardon me for a                18   about it, other than my discussions with law
    19   second.                                            19   enforcement would indicate that the
    20          No, I am not.                               20   distribution of drugs in the United States in
    21          BY MR. CHEFFO:                              21   general comes through large cartels and then
    22      Q. Are you an expert in -- in drug              22   will filter down to a place like Cuyahoga
    23   cartels?                                           23   County. And that's probably as specific as I
    24      A. I know some about them, but I -- I           24   could be.
    25   certainly wouldn't profess to be an expert at      25          So I think that, as I understand

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                                                    Page 34                                                   Page 36
      1   it -- pardon me -- the cartels have some             1          Did I get that correct?
      2   influence on the distribution of drugs here at       2      A. Yes.
      3   a local level.                                       3      Q. And -- and what did you mean by
      4       Q. And when you say the distribution of          4   that?
      5   drugs, am I correct that you're talking about        5      A. Well, the way I -- I see the
      6   the distribution of illegal or illicit drugs?        6   writings on the opioid crisis now, and from
      7       A. Again, I don't have the specific              7   CDC, which I consider, you know, our premier
      8   knowledge whether they're distributing or            8   public health organization, we talk about the
      9   redeploying, you know, legitimate                    9   opioid crisis in a global way with distinct
     10   pharmaceutical products as well as illegal          10   phases that would include the opioid pain
     11   drugs. I don't know for sure.                       11   reliever phase, the heroin phase, and the
     12       Q. Right.                                       12   fentanyl and the analogs of fentanyl phase.
     13           But if a drug cartel even were to           13      Q. Are we in the fentanyl and analog of
     14   get its hands on what would otherwise have been     14   fentanyl phase right now?
     15   prescription medicines, that would be illicit       15          MR. BADALA: Objection to form.
     16   distribution, wouldn't it?                          16          THE WITNESS: I would say that
     17       A. Yes.                                         17   that's a designation. But I -- I would say,
     18       Q. I mean they're not -- they're not            18   you know, as a caution to that, the number of
     19   licensed to sell medicines to people in --          19   people who die of heroin overdoses did not drop
     20       A. No.                                          20   to zero, nor did the number of people who die
     21       Q. -- the county, are they?                     21   of opioid pain reliever. The prescription pain
     22       A. Of course not. I think -- sure.              22   medications dropped to zero.
     23       Q. So anything that they would                  23          So I think it's a continuum. But in
     24   distribute or put into the system that winds up     24   terms of what's dominating the picture right
     25   in Cuyahogi [sic] -- Cuyahoga would be, by          25   now for mortality, we are in the fentanyl
                                                    Page 35                                                   Page 37
      1   definition, illegal.                                 1   phase. Because fentanyl has been responsible
      2       A. Right. It wouldn't be an illicit              2   for so many more deaths in Cuyahoga County and
      3   substance necessarily like heroin, but it would      3   also nationally.
      4   be illegal for them to be distributing it            4          BY MR. CHEFFO:
      5   because they're not appropriately the people to      5      Q. Well, you told me that there were
      6   be doing that.                                       6   three phase, as you understood it, right?
      7       Q. And you're aware that they                    7          One was the opioid phase, one was --
      8   distribute both illicit substances like              8   and I take it you mean by opioid prescription
      9   synthetic fentanyl and carfentanil and -- and        9   phase?
     10   heroin as well as could divert what would           10      A. Right. Yeah.
     11   otherwise have been lawful medicines.               11      Q. And then there was the heroin phase,
     12           MR. BADALA: Object -- objection to          12   and then there was the fentanyl and fentanyl
     13   form.                                               13   analog phase.
     14           THE WITNESS: In a general way, yes.         14          Did I get that right?
     15   It's a -- you know, I don't have the specific       15      A. That's my understanding of what CDC
     16   law enforcement background to say absolute          16   says. And that's my understanding of the
     17   certainty on that. But I would say, in a            17   epidemic, yes.
     18   general way, the cartels or distributors of         18      Q. And what -- for what years did those
     19   illegal substances would have access to both,       19   phases exist?
     20   is my understanding of that.                        20          MR. BADALA: Objection to form.
     21           BY MR. CHEFFO:                              21          THE WITNESS: I don't know that
     22       Q. Correct me if I'm wrong, but I -- I          22   people would be dogmatic about, you know, there
     23   tried to write this down, Doctor. I think you       23   was an overlap in them. The opioid pain
     24   said "during the heroin phase of the drug           24   reliever phase I think people would now look
     25   crisis."                                            25   back and say, you know, 1990s into maybe about

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      1   2010. Heroin phase would be over about 2010 to        1   believe in 2017, which is the last year we have
      2   2014. And as I understand, you know, the              2   full data for, we had 24 overdoses that were
      3   public health thinking on that, the fentanyl          3   related to methamphetamine, either alone or in
      4   phase would be taking from -- taking off from         4   combination, but mostly in combination.
      5   there.                                                5          And in terms of, you know,
      6          Again, with that caveat that they              6   comparability, it's certainly dwarfed by the
      7   blend into each other, and they're not                7   opioids. I don't think anybody likes to see
      8   necessarily one stopped and another one began         8   any of these drugs in our community.
      9   so much as another drug starts to take                9          But it isn't absent completely from
     10   increased prominence.                                10   our community. And, in fact, about a year ago
     11          BY MR. CHEFFO:                                11   we noticed an increase in the number of
     12      Q. Did heroin come into being in the --           12   seizures of methamphetamine in our county.
     13   in -- prior to the 1990s?                            13   That hasn't really sustained itself over the
     14      A. Heroin was first synthesized I think           14   course of 2018, but it hasn't dropped back down
     15   back in 1870-something.                              15   to zero.
     16      Q. Has there been a problem in Cuyahoga           16          So it's present here. I wouldn't
     17   and other municipalities in this state and           17   say it's at, you know, epidemic proportions.
     18   country with heroin prior to the 1990s?              18      Q. Has it ever been an epidemic?
     19          MR. BADALA: Objection to form.                19          MR. BADALA: Objection to form.
     20          THE WITNESS: I can't speak to                 20          THE WITNESS: In Cuyahoga County,
     21   Cuyahoga County with certainty. Other places         21   not to my knowledge.
     22   that I've worked have had trouble with heroin.       22          BY MR. CHEFFO:
     23          BY MR. CHEFFO:                                23      Q. Have you looked at the data?
     24      Q. Prior to the 1990s?                            24      A. I have looked back at different drug
     25      A. Prior to the 1990s, yes.                       25   overdose data back to 2006 and have not really
                                                     Page 39                                                   Page 41
      1       Q. And is -- is the same true for                 1   appreciated methamphetamine being a major
      2   illicit fentanyl, that there was a problem with       2   contributor to drug overdose mortality.
      3   the abuse of illicit fentanyl prior to the            3      Q. So your -- your knowledge goes back
      4   1990s?                                                4   to 2006, your personal knowledge?
      5       A. There were -- I -- I don't know                5      A. That's the data I've looked back at.
      6   that, actually.                                       6      Q. And methamphetamine is not a -- a
      7       Q. Okay. What about --                            7   lawful product, is it?
      8       A. I'm not familiar with one.                     8      A. I don't believe so. Amphetamine
      9       Q. What about methamphetamines; was               9   is -- it's a -- it can be used as a diet
     10   there a problem with meth prior to the 1990s;        10   suppressant or for other things. But
     11   do you know?                                         11   methamphetamine I don't think is anything that
     12           MR. BADALA: Objection to form.               12   can be lawfully prescribed.
     13           THE WITNESS: I'm aware of issues             13      Q. Same for heroin, right?
     14   with amphetamine that go back into the '50s and      14      A. Right. Heroin is a what we call
     15   '60s. Methamphetamine, I don't know if that          15   Schedule 1 drug, which means it has no
     16   was the specific amphetamine or if it was just       16   legitimate medical use.
     17   the drug amphetamine. But that class of              17      Q. What are the Schedule 1 drugs that
     18   compounds, there were issues with them prior to      18   are abused in Cuyahoga County?
     19   1990.                                                19            MR. BADALA: Objection to form.
     20           BY MR. CHEFFO:                               20            THE WITNESS: I'd have to say heroin
     21       Q. Is there a current problem in                 21   is the one I know best. I don't know all of
     22   Cuyahoga County with the use of                      22   the drugs that are Schedule 1. And I couldn't
     23   methamphetamines?                                    23   tell you for certain every drug that has been
     24       A. We see it both in the drug chemistry          24   abused in Cuyahoga County. So I'd have to say
     25   laboratory and in the mortality data. I              25   heroin is the one I know best, but --

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                                                     Page 42                                               Page 44
      1          BY MR. CHEFFO:                                 1   in 2016 and 2017 is related to mixtures of
      2      Q. Meth is another one, right?                     2   cocaine with fentanyl.
      3      A. Again, if it is Schedule 1, which --            3          BY MR. CHEFFO:
      4      Q. What about cocaine?                             4      Q. So you're -- you're saying that
      5      A. Cocaine is a drug that has a defined            5   there's more deaths based on cocaine use
      6   medical use. It's used as a topical anesthetic        6   because there's a combination of fentanyl?
      7   in certain types of surgery. Ear, nose and            7          Is that -- am I understanding that
      8   throat surgery. It can be used as a topical           8   right?
      9   anesthetic for closing lacerations and wounds.        9      A. No. What I'm saying is there's a --
     10   So it has a legitimate medical use, so               10   there are deaths of -- by cocaine without the
     11   therefore, not Schedule 1.                           11   presence of fentanyl. But the elevations that
     12      Q. Is -- is there a -- a cocaine                  12   we saw in 2016, after at least a decade of
     13   problem currently in Cuyahoga County?                13   stability, those were driven by fentanyl.
     14      A. There is an elevation in cocaine               14      Q. Is there a cocaine epidemic in
     15   deaths in Cuyahoga County. Our analysis looks        15   Cuyahoga County today?
     16   at this as really a byproduct largely of the --      16          MR. BADALA: Objection to form.
     17   the -- the rise in cocaine deaths is a               17          THE WITNESS: There are more deaths
     18   byproduct of the opioid crisis.                      18   from cocaine. But again, I have to see it in a
     19      Q. So is it really your testimony that            19   bigger context.
     20   everybody who has and overdose from cocaine,         20          BY MR. CHEFFO:
     21   that's somehow related to opioids?                   21      Q. Is there a cocaine crisis in
     22          MR. BADALA: Objection to form.                22   Cuyahoga County?
     23          BY MR. CHEFFO:                                23          MR. BADALA: Objection to form.
     24      Q. Is that your testimony?                        24          THE WITNESS: Well, I think, you
     25      A. Oh, I'm sorry. No. That wouldn't               25   know, there's concerns about that rise. But
                                                     Page 43                                               Page 45
      1   be my testimony at all.                               1   they're tied, as I say, back to the fentanyl.
      2      Q. Okay. Cocaine --                                2           BY MR. CHEFFO:
      3      A. If I could finish --                            3      Q. Is there a cocaine crisis in
      4      Q. No. I -- I --                                   4   Cuyahoga County?
      5          MR. BADALA: You can finish your                5           MR. BADALA: Objection to form.
      6   answer. You can.                                      6           THE WITNESS: I'd have to say yes
      7          MR. CHEFFO: There's no question                7   and no.
      8   pending. But if you --                                8           BY MR. CHEFFO:
      9          MR. BADALA: There was a --                     9      Q. How long has there been a cocaine
     10          MR. CHEFFO: -- want to make a                 10   crisis in Cuyahoga County?
     11   speech.                                              11           MR. BADALA: Objection to form.
     12          MR. BADALA: -- pending. You asked             12           THE WITNESS: The elevation that we
     13   him a question.                                      13   saw in cocaine mortality started in 2016.
     14          You can -- you can finish.                    14           BY MR. CHEFFO:
     15          MR. CHEFFO: Go ahead.                         15      Q. Was there a cocaine crisis prior to
     16          THE WITNESS: We have a certain                16   2016 in Cuyahoga County?
     17   baseline of cocaine deaths, again, going             17      A. I wouldn't characterize it as a
     18   back -- you know, my data goes back to 2006,         18   change over baseline at an epidemic level.
     19   with which I'm most familiar. And that               19      Q. I didn't ask that, Doctor. I'm not
     20   remained relatively stable until 2016 when it        20   asking whether it changed.
     21   started to pull up.                                  21           Was there a cocaine crisis at any
     22          And when we looked at that data, the          22   level prior to 2016 in Cuyahoga County?
     23   cocaine deaths without fentanyl being present        23           MR. BADALA: Objection to form.
     24   had remained again where that baseline was.          24           THE WITNESS: There were certainly a
     25   And the elevation that we saw in cocaine deaths      25   hundred people, on average, dying.
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                                                     Page 46                                                   Page 48
      1           BY MR. CHEFFO:                                1          MR. BADALA: Objection to form.
      2      Q. And is that a crisis; yes or no?                2   Misstates his testimony.
      3      A. I wouldn't like it. I -- I don't                3          THE WITNESS: No. That's not what I
      4   know -- you know, as I understand a crisis, it        4   said, sir.
      5   overwhelms the ability of a county to respond         5          BY MR. CHEFFO:
      6   to it. And those responses, it wasn't                 6      Q. Was there a crack cocaine crisis in
      7   worsening over --                                     7   the United States back in the '80s?
      8      Q. So --                                           8          MR. BADALA: Objection to form.
      9      A. -- that time frame. So using that,              9          THE WITNESS: Yes, there was.
     10   you know, understanding of the crisis, I'd have      10          BY MR. CHEFFO:
     11   to say I -- it's not good. But I wouldn't say        11      Q. Are you aware of any connection
     12   that it acutely worsened into a crisis phase.        12   between the crack cocaine crisis and opioids?
     13      Q. Okay. So there has never -- in your            13          MR. BADALA: Objection to form.
     14   -- in your estimation, there has never been a        14          THE WITNESS: They're both illicit
     15   crisis for cocaine use in Cuyahoga County?           15   substances. I don't know.
     16           MR. BADALA: Objection to form.               16          BY MR. CHEFFO:
     17           BY MR. CHEFFO:                               17      Q. Are you aware of any connection
     18      Q. Is that right?                                 18   between the two?
     19      A. No. That wouldn't be my impression.            19          MR. BADALA: Same objection.
     20      Q. Has there ever been a crisis of                20          THE WITNESS: I mean I -- I -- I
     21   cocaine use in Cuyahoga County?                      21   don't know -- I don't know.
     22           MR. BADALA: Objection to form.               22          BY MR. CHEFFO:
     23           THE WITNESS: I don't know. I mean            23      Q. Are you an expert in -- well, strike
     24   Ohio had an instance in the 1980s and '90s with      24   that.
     25   crack cocaine that was considered a crisis.          25          Do you know what the OARRS database
                                                     Page 47                                                   Page 49
      1   And I wasn't here, and I don't really have            1   is?
      2   firsthand knowledge of that.                          2      A. Yes, I do.
      3          But, you know, it was in other                 3      Q. What's it?
      4   jurisdictions that we're seeing cocaine --            4      A. It is a prescription drug monitoring
      5   crack cocaine crisis epidemics. So it's               5   program for the State of Ohio. OARRS is an
      6   plausible.                                            6   acronym. It stands for Ohio Automated Rx or
      7          BY MR. CHEFFO:                                 7   prescription Reporting System.
      8      Q. Was --                                          8          And what it collects is the
      9      A. But I don't have first knowledge.               9   information from prescribing of controls
     10      Q. You -- you don't know.                         10   substances around the state and makes that
     11      A. I can't testify to that.                       11   available to different parties for their use.
     12      Q. Okay. And was crack cocaine ever               12      Q. So -- and there are certain rules
     13   marketed by any pharmaceutical company?              13   that govern how and when healthcare providers
     14      A. No, sir.                                       14   should access and input information to OARRS.
     15      Q. Was it ever lawfully distributed?              15          Is that fair?
     16      A. No, sir.                                       16      A. I wouldn't profess to know all their
     17      Q. And yet there was a crack cocaine              17   rules and regulations. My understanding is
     18   crisis back in the '80s in Cuyahoga County; is       18   that the pharmacies enter their data into
     19   that right?                                          19   OARRS -- pardon me -- to create the database.
     20          MR. BADALA: Objection to form.                20   And then, if there are controlled substances
     21          THE WITNESS: Again, I have to say I           21   that are being distributed from a healthcare
     22   don't know that for certain.                         22   provider's office, they also have to be entered
     23          BY MR. CHEFFO:                                23   into OARRS.
     24      Q. I thought you just testified about             24      Q. Okay. And beyond that general
     25   that a minute ago.                                   25   understanding, do you hold yourself out as an

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      1   expert in the rules and operation and                 1   office, either on computer or some other
      2   regulations of OARRS?                                 2   fashion?
      3       A. No. I have familiarity with OARRS.             3      A. Yes. There's a web site for OARRS.
      4   But I didn't write the legislation. I wouldn't        4   You have a user name and a password, like my
      5   consider myself all-knowing about it either.          5   other web sites. I have those. And I can
      6       Q. Do you assessors from time to time             6   access that.
      7   in your professional capacity?                        7          Or, because of my designation, I can
      8       A. Yes. We do as an office, and I have            8   have delegates access that through me.
      9   individually as well.                                 9      Q. And I'm just trying to find out,
     10       Q. How frequently do you assessors, and          10   Doctor, your own personal use, if any.
     11   in what circumstances?                               11          So in other words, do you sit at a
     12           MR. BADALA: Objection to form.               12   terminal ever and look at OARRS database and
     13           THE WITNESS: We -- as an office I            13   conduct searches or queries; do you ask someone
     14   would have to say -- and again, I have an            14   else to do that; or do you never do it in
     15   account in OARRS and delegates who would use         15   connection with your autopsies?
     16   it. We use that information very frequently.         16          I'm trying to find out when you, Dr.
     17           Most recently we've used it to go            17   Gilson, do an autopsy, under what
     18   back and look at the individuals who overdosed       18   circumstances, if any, do you either access
     19   in 2016 and early 2017 on fentanyl. We've used       19   OARRS or do you ask someone to access OARRS on
     20   it to look at individuals who've overdosed on        20   your behalf for a specific case?
     21   heroin as well.                                      21          MR. BADALA: Objection to form.
     22           BY MR. CHEFFO:                               22          THE WITNESS: I ask my designees to
     23       Q. Do you conduct autopsies personally?          23   access it for drug overdose cases, my own and
     24       A. Yes, I do.                                    24   others. I access it in my own cases if there's
     25       Q. Do you -- in connection with your             25   some pressing issue that I feel needs a more
                                                     Page 51                                                   Page 53
      1   own personal work as a medical examiner in            1   rapid turnaround time.
      2   connection with an autopsy, in what                   2          BY MR. CHEFFO:
      3   circumstances, if any, do you consult OARRS?          3      Q. Is it accessed by you or on your
      4       A. We have used the OARRS database to             4   behalf in connection with every autopsy you do
      5   look back on the drug overdose deaths that have       5   in connection with a drug overdose case?
      6   come through our county to look for                   6          MR. BADALA: Objection to form.
      7   relationships there between prescribed --             7          THE WITNESS: That's our ideal.
      8   prescription controlled substances and the            8   Honestly, with the volume of drug overdose
      9   illicit overdoses, especially with heroin and         9   cases we've done, we've fallen behind to some
     10   fentanyl and some of the analogs of fentanyl.        10   extent on our ability to look at the OARRS
     11           MR. CHEFFO: Can you read back my             11   database.
     12   question, please.                                    12          But our goal is to review all of
     13           (The record was read as requested.)          13   them on every drug overdose autopsy with the
     14           THE WITNESS: I -- in doing                   14   opioids.
     15   autopsies on drug overdoses myself and in my         15          BY MR. CHEFFO:
     16   capacity as the medical examiner overseeing the      16      Q. How long does it take to actually
     17   agency. I review the work that comes through         17   look at OARRS to find out if somebody who
     18   the office as well.                                  18   you're doing an autopsy on is in the system?
     19           So it that's my professional                 19      A. To find out if just they have a file
     20   capacity, if I understood your question              20   can be relatively quick.
     21   correctly.                                           21      Q. Like two minutes?
     22           BY MR. CHEFFO:                               22      A. Maybe even less. I mean getting on
     23       Q. No, I don't think you did.                    23   sometimes is more challenging than others. But
     24           Is there -- is there a -- a terminal         24   pretty much, you know, getting around OARRS --
     25   or way that you can access OARRS from your           25   and there have been modifications certainly

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      1   since I was granted access to try to facilitate      1          So OARRS will tell you if someone
      2   the use of it, to make it easier to access.          2   received a prescription for a scheduled
      3           But it's not a time consuming                3   medicine; is that right?
      4   process sometimes to find out if somebody has        4      A. Right. A controlled substance.
      5   no file there.                                       5   They have to be entered into OARRS.
      6       Q. Right.                                        6      Q. And what -- what is a -- what is a
      7           And that -- and why -- what are the          7   definition of a controlled substance that would
      8   reasons why you would access OARRS in                8   show up in OARRS?
      9   connection with an autopsy?                          9      A. The opioid, benzodiazepines. Those
     10       A. To document a relationship between           10   are the big ones.
     11   somebody who died of a drug overdose and their      11      Q. Anything else?
     12   prescribing history.                                12      A. Amphetamine.
     13       Q. What would OARRS tell you or could           13      Q. So it's not just opioids, is it?
     14   it tell you?                                        14      A. Not just opioids. That's right.
     15       A. It would tell us whether or not, in          15      Q. So it's benzodiazepines,
     16   their lookback period, that person had received     16   amphetamines, opioids.
     17   prescriptions for controlled substances.            17          What else? Anything else?
     18       Q. Anything else?                               18      A. I don't know everything that's in
     19       A. It would give us information about           19   the database, to be honest.
     20   prescriber, would give us information about the     20      Q. If they had the topical -- well,
     21   pharmacy where they were filled.                    21   strike that. That's probably used for surgery.
     22       Q. Does it tell you whether they had an         22          Cocaine you mentioned earlier.
     23   addiction problem?                                  23          Would that show up in the -- in the
     24           MR. BADALA: Objection to form.              24   OARRS database?
     25           THE WITNESS: That's not part of the         25      A. I never have seen it. I don't know.
                                                    Page 55                                                   Page 57
      1   OARRS database.                                      1      Q. Anything else you can think of,
      2          BY MR. CHEFFO:                                2   other than benzodiazepines, amphetamines and
      3      Q. Does it tell you whether they were             3   opioids?
      4   ever treated for addiction?                          4      A. There's other drugs that are like
      5      A. We wouldn't glean that information             5   benzodiazepines, like zolpidem, which aren't
      6   from the OARRS database. We do look for it           6   technically in that family. They're also in
      7   through our addiction -- alcohol and drug            7   OARRS.
      8   addiction mental health services. Or when my         8      Q. Okay. So OARRS will tell you if
      9   scene investigators respond to a death scene,        9   someone received or was prescribed a controlled
     10   they will specifically see if the person has        10   substance; is that right?
     11   received treatment.                                 11      A. Yes.
     12          Because the public facilities                12      Q. It won't tell you whether they were
     13   represent a portion of our treatment capacity,      13   addicted to that substance, will it?
     14   and then there are private facilities which         14      A. No. It can't -- it won't --
     15   don't have to report. But we still want to          15      Q. It won't --
     16   capture that information for public health          16      A. -- capture that information.
     17   purposes.                                           17      Q. It won't tell you if they were
     18      Q. And I'd like to just -- just focus            18   ever -- received substance abuse treatment or
     19   for a minute on OARRS. Okay. I'm just going         19   counseling, will it?
     20   to ask you some specific questions. We may          20      A. No. It's not in that database.
     21   talk about other things at the office. I'm          21      Q. It won't tell you if they were --
     22   sure we will today. But I want to just have an      22   had a drug problem prior to receiving the
     23   understanding, based on -- on -- on your            23   prescription, will it?
     24   understanding of what OARRS does and does not       24          MR. BADALA: Objection to form.
     25   do.                                                 25          THE WITNESS: One of the things

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      1   we've used OARRS for is to document doctor           1          THE WITNESS: Five prescribers
      2   shopping. So I'd have to say that there's --         2   within a 12-month period is our definition of
      3   when we see that, it's a concern that                3   doctor shopping.
      4   something's going on and very suggestive of          4          BY MR. CHEFFO:
      5   somebody who has a drug problem.                     5      Q. Two, three or four is not, under
      6           BY MR. CHEFFO:                               6   your definition, right?
      7      Q. What is doctor shopping?                       7      A. Does not meet the definition for
      8      A. We use the definition that was                 8   doctor shopping that we -- we adopted.
      9   provided by one of our treatment individuals         9      Q. You mentioned morphine equivalent as
     10   when we did our initial review of overdoses. I      10   being another surrogate or -- or -- or signal.
     11   believe she took that from the Department of        11          How does morphine equivalent play
     12   Health for the state, which is accessing five       12   into the analysis of doctor shopping?
     13   or more prescribers in a 12-month period.           13      A. It doesn't play into it at all. The
     14      Q. So if someone accesses and has four           14   doctor shopping definition is five or more
     15   doctors at the same time getting controlled         15   prescribers within a 12-month period.
     16   substances, that's not doctor shopping, under       16      Q. It doesn't matter what the morphine
     17   your definition?                                    17   equivalents are?
     18      A. That's right.                                 18      A. I'm not saying that. I just -- it
     19      Q. Would you consider that to be doctor          19   doesn't meet the definition of doctor shopping.
     20   shopping?                                           20   Or the definition we use for doctor shopping
     21           If you were doing an autopsy, and           21   does not include a reference to
     22   you looked at the OARRS database, and you saw       22   morphine-equivalent doses.
     23   that Mrs. Smith got coordinate prescriptions,       23      Q. So -- so in terms of doctor
     24   let's say even opioids, from four separate          24   shopping, the only definition that your -- your
     25   doctors at the same time, would that raise a        25   office uses if -- is if somebody has seen or
                                                    Page 59                                                   Page 61
      1   concern to you that that's doctor shopping?          1   been prescribed a controlled substances by five
      2          MR. BADALA: Objection to form.                2   or more doctors within a 12-month period; is
      3          THE WITNESS: It doesn't meet the              3   that right?
      4   definition of doctor shopping. It could raise        4      A. That's our definition of doctor
      5   a concern about morphine-equivalent doses that       5   shopping.
      6   she's receiving, which would be another source       6      Q. Now, am I correct that -- that you
      7   of concern to us.                                    7   and your colleague are not slavishly adhered to
      8          BY MR. CHEFFO:                                8   formal definition if things don't make sense to
      9      Q. Would you be concerned if you saw              9   you?
     10   that?                                               10          MR. BADALA: Objection to form.
     11          MR. BADALA: Objection to form.               11          THE WITNESS: I don't think anybody
     12          THE WITNESS: Sure.                           12   should do that really.
     13          BY MR. CHEFFO:                               13          BY MR. CHEFFO:
     14      Q. But -- so -- but from a statistics            14      Q. Right.
     15   and -- perspective, you would not characterize      15          So if you were doing an
     16   that as doctor shopping; is that right?             16   investigation, and someone received high doses
     17      A. It does not meet the definition that          17   of a controlled substance by four doctors at
     18   we use for doctor shop.                             18   the same time, would part of your analysis be
     19      Q. And how long have you used that               19   that you want to explore whether this person
     20   definition?                                         20   was actually was engaging in doctor shopping?
     21      A. Since 2013.                                   21      A. What we did was, when we've
     22      Q. So if somebody has five doctors that          22   identified individuals who met the definition
     23   they're getting the prescriptions from at the       23   for doctor shopping, we would refer them to the
     24   same time, that's doctor shopping, right?           24   Board of Pharmacy for investigation.
     25          MR. BADALA: Objection to form.               25          And there were instances as well

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      1   when we saw people who had high                      1   further investigation as well.
      2   morphine-equivalent doses that we also referred      2          BY MR. CHEFFO:
      3   to the Board of Pharmacy for follow-up.              3      Q. In that one case that you handled,
      4      Q. So am I correct that, if -- if -- if           4   why did you -- well, let me strike that.
      5   somebody had one doctor and you believed that        5          When you say you referred to the
      6   there was a question about the morphine              6   Board of Pharmacy, is -- is that -- am I
      7   equivalent that was being prescribed, that           7   correct that that's referring the licensed
      8   person could be referred to the Board of             8   healthcare provider to the Board of Pharmacy?
      9   Pharmacy?                                            9          Is that -- is that the -- the person
     10      A. We have done that in some instances,          10   who is subject to the jurisdiction of the Board
     11   yes.                                                11   of Pharmacy?
     12      Q. Have you ever raised concerns about           12      A. Right.
     13   doctor shopping when someone has four doctors       13          MR. BADALA: Objection to form.
     14   prescribing let's say opioid medicines at the       14          THE WITNESS: Sorry.
     15   same time?                                          15          The prescriber would be subject to
     16      A. I'm sorry if I'm not clear. By                16   oversight by the Board of Pharmacy.
     17   definition, we don't consider that doctor           17          BY MR. CHEFFO:
     18   shopping.                                           18      Q. And why did you refer that -- was it
     19      Q. And that's not what I'm asking                19   a doctor? Was it a health -- a nurse
     20   though.                                             20   practitioner? Do you remember?
     21          You may not consider it under your           21      A. I don't remember exactly.
     22   definition, but have you acted in a practical       22      Q. Okay. So whoever it was, why did
     23   manner and referred anyone to the Board of          23   you refer that healthcare practitioner, that
     24   Pharmacy when you've seen someone who has two,      24   prescriber, to the Board of Pharmacy?
     25   three or four doctors prescribing medicine at       25      A. Because this individual had seemed
                                                    Page 63                                                Page 65
      1   the same time?                                       1   to receive a lot of pain medication based on
      2          MR. BADALA: Objection to form.                2   our OARRS review and also was symptomatic of --
      3          THE WITNESS: I can't give you                 3   I think she was abusing her medications and
      4   specific names, but we have referred people to       4   died of a drug overdose and, you know, left a
      5   Board of Pharmacy where it seemed like there         5   couple kids behind and a husband.
      6   was an excessive dosing of prescription pain         6      Q. And --
      7   medication who did not have five or more             7      A. Not that we reported it because of
      8   prescribers in a 12-month period.                    8   that, but just part of the tragedy.
      9          And it can be as few as one. I                9      Q. And -- and did you refer it to the
     10   distinctly remember one of my own case where a      10   Board of Pharmacy because you believed that
     11   woman overdosed. She was basically described        11   there was a question about whether the doctor
     12   by her husband as, you know, falling asleep         12   or healthcare provider had engaged in
     13   right before she died and, you know, had a lot      13   appropriate medical care of the patient?
     14   of prescriptions from I think one individual.       14      A. We were concerned about the role
     15          And we referred her for further              15   that the medications had played in her death.
     16   investigation. I don't remember if it was in        16   I don't practice that kind of medicine. But
     17   conjunction with law enforcement, who may have      17   that's the kind of investigation that we would
     18   already been aware of this, or if it was in our     18   ask the Board of Pharmacy to conduct.
     19   review -- our referral to the Board of              19      Q. Did you question whether the doctor
     20   Pharmacy. I don't remember the details of the       20   did the right thing in prescribing that much or
     21   follow-up.                                          21   was careless in monitoring the patient?
     22          But we use a specific definition of          22           MR. BADALA: Objection.
     23   doctor shopping. But obviously, if we saw           23           BY MR. CHEFFO:
     24   things that didn't meet that definition but         24      Q. Like were those factors in -- in
     25   were concerning, we would refer that for            25   your consideration?

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      1          MR. BADALA: Objection to form.            1           A. And it would have been a file we
      2          THE WITNESS: I was concerned about 2               would have released over.
      3   how much pain medicine this individual had       3           Q. Do you have a place that you keep
      4   received and the nature of her death, that they 4         all of the -- the names of the practitioners
      5   weren't being used properly.                     5        who you have referred to boards of pharmacy or
      6          BY MR. CHEFFO:                            6        any type of law enforcement agency?
      7      Q. Do you know happened to the                7                MR. BADALA: Objection to form.
      8   healthcare prescriber, if anything?              8                THE WITNESS: I believe that exists
      9      A. I do not.                                  9        for the agency. I don't personally have --
     10      Q. Did you follow up?                        10        that's not something I personally do.
     11      A. No, I did not.                            11                BY MR. CHEFFO:
     12      Q. Do you know if the -- do you know         12           Q. If you wanted to find it, who would
     13   anything about why the prescriber wrote the 13            you ask?
     14   prescriptions?                                  14           A. Either the Board of Pharmacy
     15          MR. BADALA: Objection to form.           15        themselves or -- the person I most often, you
     16          THE WITNESS: I didn't speak              16        know, ask to make the referrals is Hugh Shannon
     17   personally to the prescriber.                   17        in my office, my operations chief.
     18          BY MR. CHEFFO:                           18           Q. Do you hold yourself out as an
     19      Q. Do you know what condition the            19        expert in ARCOS.
     20   decedent was being treated for?                 20                Do you know what that is?
     21      A. I don't remember. My investigators,       21           A. I know what it is, and I have a
     22   when they respond to a death scene, will take a 22        general knowledge of it. But I would not claim
     23   medical history. I don't remember the details 23          to be an expert in that.
     24   of that.                                        24           Q. Are you an expert in statistics?
     25      Q. Do you know if the doctor -- do you       25           A. I know some statistics. I -- I
                                                     Page 67                                                    Page 69
      1   have any personal knowledge about whether the         1   don't hold any degree in statistics. And I
      2   doctor was influenced by anybody else in his or       2   would not say that I would be somebody
      3   her prescribing?                                      3   consulted as an expert in statistics.
      4          MR. BADALA: Objection to form.                 4      Q. Just to follow up on the -- the
      5          THE WITNESS: I didn't speak to the             5   doctor shopping, what's the -- what is the
      6   doctor.                                               6   definition of -- of how your department, your
      7          BY MR. CHEFFO:                                 7   office, defines doctor shopping?
      8      Q. Right.                                          8      A. Again, we adopted a definition from
      9          Do you have any information at all             9   our addiction medicine specialist on our review
     10   about why the doctor prescribed the medicine?        10   panel. And I believe she was using a
     11          MR. BADALA: Objection to form.                11   definition from Ohio Department of Health,
     12          THE WITNESS: Again, in reviewing              12   which is five or more prescribers within a
     13   the scene investigation and history take --          13   12-month period.
     14   that was taken, there may have been a medical        14      Q. Is it 12-month --
     15   condition that would have, you know, been            15      A. For the OARRS database. I should
     16   treated with opioids by that doctor. I don't         16   say --
     17   remember that.                                       17      Q. It's --
     18          BY MR. CHEFFO:                                18      A. -- not just --
     19      Q. Do you remember the name of the                19      Q. Sorry?
     20   person that you referred?                            20      A. -- you know, five or more
     21      A. No, I don't.                                   21   prescribers, and you're antibiotics or
     22      Q. That would be in your files though,            22   noncontrolled substances. Five or more
     23   wouldn't it?                                         23   prescribers in the OARRS database.
     24      A. Somewhere, yeah.                               24      Q. It's -- it's 12, not 13 months?
     25      Q. Do --                                          25      A. Pardon?

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      1      Q. It's -- your recollection is it's 12            1   the Board of Pharmacy?
      2   months, not 13 months?                                2      A. Yes.
      3      A. We use 12 months in our office.                 3      Q. And what -- what kind of information
      4      Q. And what was that -- that                       4   do you send them?
      5   professional's name that made the                     5      A. We send them the patient name -- or
      6   recommendation; do you remember?                      6   the decedent name, actually. These would be
      7      A. Dr. Christine de los Reyes.                     7   people who had overdosed. And that, based on
      8      Q. And how many --                                 8   our analysis of OARRS, we were seeing more
      9      A. I'm sorry. If I could just finish.              9   prescribers who fit into the definition of
     10   She was --                                           10   doctor shopping. And it's -- you know, the
     11      Q. Yep.                                           11   database is generated by the Board of Pharmacy.
     12      A. -- the medical director of the                 12   And they can investigate further as they see
     13   alcohol, drug addiction and mental health            13   fit.
     14   services for Cuyahoga County at that time.           14      Q. Every -- is it fair to say that
     15   She's since left that position and gone back to      15   every case of doctor shopping that you have
     16   her practice of addiction medicine.                  16   identified you've referred to the Board of
     17      Q. How many -- and let me talk first              17   Pharmacy, you or your office?
     18   about you personally, and then I'll ask you          18          MR. BADALA: Objection to form.
     19   some questions about the department.                 19          THE WITNESS: I believe so.
     20         But how many cases of doctor                   20          BY MR. CHEFFO:
     21   shopping have you identified since you have          21      Q. That's the policy?
     22   joined the office in Cuyahoga?                       22      A. Yes.
     23      A. I don't know.                                  23      Q. So in any situation where someone
     24      Q. Is it more than one?                           24   receives five -- prescriptions from five --
     25         Can you recall anyone other than the           25   control -- strike that.
                                                     Page 71                                                   Page 73
      1   one we've been talking about?                         1          In any situation where a decedent
      2      A. Going back through retrospective                2   received controlled substance prescriptions
      3   data, yeah, it's more -- certainly more than          3   from five or more healthcare providers over --
      4   one.                                                  4   or within a 12-month period, it's the policy of
      5      Q. I'm talking about you.                          5   your office to refer each of those prescribers
      6           How many times have you, in an                6   to the Board of Pharmacy, correct?
      7   autopsy or something, you know, kind of               7          MR. BADALA: Objection to form.
      8   basically told your people to make a --               8          THE WITNESS: We're not referring
      9      A. Yes. There --                                   9   the prescribers. We're referring the decedent
     10      Q. -- report -- let me finish --                  10   who has that profile to the Board of
     11      A. Sure.                                          11   Pharmacy --
     12      Q. -- to the Board of Pharmacy in                 12          BY MR. CHEFFO:
     13   connection with a situation where you thought        13      Q. Well --
     14   someone was doctor shopping.                         14      A. -- for further investigation of the
     15      A. Frequently. When -- especially when            15   prescribing -- his prescription history.
     16   we were doing our face-to-face reviews and had       16      Q. Do you also provide information
     17   that information that somebody was doctor            17   about the prescribers?
     18   shopping. I reviewed a lot of that data myself       18      A. The prescribers would be within the
     19   initially and then would use a delegate to do        19   OARRS file. So we refer the decedent. And the
     20   the subsequent reviews.                              20   Board of Pharmacy, I have to say they have
     21           So yeah. I -- I can't give you a             21   their own investigative unit. I don't know
     22   number, but it's certainly more than one.            22   their practices. But they would have access to
     23      Q. Okay. And when you believe that                23   the OARRS file as to Board of Pharmacy.
     24   there's doctor shopping, is it your practice to      24          And how they follow up with the
     25   report all of the five or more prescribers to        25   prescribers I don't honestly know.

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                                                    Page 74                                                 Page 76
      1      Q. Do you do a summary or some -- some            1   So I don't -- I don't know for certain.
      2   type of forming reporting, or you just send          2      Q. Do you know if any of the -- the
      3   kind of a packet of information?                     3   doctors who have been referred in connection
      4          MR. BADALA: Objection to form.                4   with a -- a decedent referral have been
      5          THE WITNESS: I'm not sure I                   5   prosecuted?
      6   understand your question.                            6      A. I'd have to say, again, I don't
      7          BY MR. CHEFFO:                                7   follow up with them. And I haven't received
      8      Q. Do you know how -- what the -- the             8   that feedback from them. So I don't know.
      9   process is in order to make a formal referral        9          MR. BADALA: We've been going
     10   or -- or filing with the Board of Pharmacy, or      10   about over an hour.
     11   does someone else do that in your office?           11          MR. CHEFFO: Yeah.
     12      A. Somebody else in my office will do            12          MR. BADALA: Good time to take a
     13   that. We contact the investigative unit. I'm        13   break?
     14   familiar with the process to some extent. We        14          MR. CHEFFO: Can I ask one more
     15   contact the investigative unit and refer names      15   question, and then we'll --
     16   of individuals who have five or more                16          MR. BADALA: Yeah. Sure.
     17   prescribers in a 12-month period to them for        17          MR. CHEFFO: -- do that?
     18   follow-up.                                          18          MR. BADALA: Is that okay, Dr.
     19      Q. Do you know if they interview any --          19   Gilson?
     20   you or anyone in your office?                       20          THE WITNESS: Yeah. It's fine with
     21          "They" meaning the Board of                  21   me.
     22   Pharmacy -- do they -- is it their practice to      22          BY MR. CHEFFO:
     23   come back and either ask to speak with someone      23      Q. And am I -- is it correct that --
     24   personally or ask for additional documents or       24   that, even though you make a referral, you
     25   information?                                        25   would agree that there could -- upon further
                                                    Page 75                                                 Page 77
      1           MR. BADALA: Objection to form.          1        investigation and looking at all the facts,
      2           THE WITNESS: Personally they have 2              that -- that it could be that various doctors
      3   not approached me. I can't speak for the rest   3        had appropriately and lawfully prescribed
      4   of the office. I don't know for certain.        4        various medicines, controlled substances, to a
      5           BY MR. CHEFFO:                          5        patient, or they may not have, right?
      6      Q. Are you aware of any situation that       6               MR. BADALA: Objection to form.
      7   you can recall where they asked for additional 7                THE WITNESS: Again, it's their
      8   information, either a verbal interview or       8        investigation. So I can only say in a general
      9   subsequent documentation?                       9        way we're just putting these individuals on
     10      A. I don't know. A lot of our               10        their radar. And how they make those
     11   documents, like autopsies records and things, 11         determinations, I don't know.
     12   are public. And I don't know if we've          12               But if you're asking me is it
     13   furnished them or not.                         13        possible they may investigate somebody and say,
     14      Q. Do you know anything about what the 14             "Really not anything here," I would think so.
     15   Board of Pharmacy does after you make a        15               MR. CHEFFO: Okay. All right.
     16   referral?                                      16        Let's -- let's take a short break.
     17      A. No. I haven't pursued that.              17               THE VIDEOGRAPHER: We are going off
     18      Q. Do you know if any doctor that has       18        the record.
     19   been referred in connection with a referral to 19               This is the end of Media Unit No. 1.
     20   a Board of Pharmacy has lost his or her        20               The time is 10:22.
     21   license?                                       21               (A short recess was taken.)
     22      A. I don't get that follow-up from the      22               THE VIDEOGRAPHER: We're going back
     23   Board of Pharmacy. And I haven't asked about 23          on the record.
     24   it. I -- I'm just trying to keep our heads     24               This is the start of Media Unit No.
     25   above water with our own part of the crisis.   25        2.

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                                                    Page 78                                                  Page 80
      1          The time is 10:36.                            1   I'm asking if --
      2          You may proceed, Counsel.                     2      A. No.
      3          MR. CHEFFO: Thank you.                        3      Q. -- you have a recollection.
      4          BY MR. CHEFFO:                                4      A. I'm sorry. I said no, I don't
      5      Q. Dr. Gilson, is there any testimony             5   remember.
      6   that you've given that you'd like to modify or       6      Q. Okay. And do you have any
      7   amend up until this point?                           7   recollection of anyone at the Office of the
      8      A. No, sir.                                       8   Medical Examiner ever referring anyone to the
      9      Q. You mentioned referrals, in your               9   Board of Medicine?
     10   professional capacity, to the Board of              10          MR. BADALA: Objection to form.
     11   Pharmacy.                                           11          THE WITNESS: Any referral? I don't
     12          Do you recall that?                          12   remember.
     13      A. Yes, I do.                                    13          BY MR. CHEFFO:
     14      Q. What does the Board of Pharmacy do,           14      Q. And do you -- how many times have
     15   and what does it have jurisdiction over?            15   you made a referral to law enforcement for
     16          MR. BADALA: Objection to form.               16   questions you had about doctor shopping or
     17          THE WITNESS: I don't know the                17   healthcare providers who have engaged in
     18   specific answers to those questions.                18   inappropriate prescribing?
     19          BY MR. CHEFFO:                               19          MR. BADALA: Objection to form.
     20      Q. Do you know why you've made                   20          THE WITNESS: Are we considering the
     21   referrals to that particular organization?          21   investigative unit of Board of Pharmacy, a law
     22      A. As I understand it, there is a state          22   enforcement agency or --
     23   agency that's tasked with the investigation of      23          BY MR. CHEFFO:
     24   irregularities in prescribing.                      24      Q. No. Other than the Board of
     25      Q. Are you aware of whether there's              25   Pharmacy.
                                                    Page 79                                                  Page 81
      1   a -- a Board of Medicine in the state?               1      A. Referrals to law enforcement I -- I
      2      A. Yes, I am.                                     2   don't remember. Sometimes they've -- have come
      3      Q. And how many times have you                    3   to us with concerns about a prescriber. But us
      4   personally made referrals to the Board of            4   going back to them with regard to prescribing,
      5   Medicine in connection with doctor shopping or       5   I don't remember any instances. We would have
      6   any prescriptions that you believed were             6   used to Board of Pharmacy.
      7   questionable?                                        7      Q. Can you remember at all ever doing
      8          MR. BADALA: Objection to form.                8   that or anyone in your office doing that?
      9          THE WITNESS: I don't know.                    9      A. Doing --
     10          BY MR. CHEFFO:                               10      Q. Making a referral to law enforcement
     11      Q. Ever?                                         11   for the Board of Pharmacy.
     12      A. I don't know.                                 12          MR. BADALA: Objection to form.
     13      Q. You wouldn't --                               13          THE WITNESS: Making a referral to
     14      A. As I say, we've done the referrals            14   the --
     15   to the Board of Pharmacy. Whether there was a       15          BY MR. CHEFFO:
     16   report to the Board of Medicine, I just don't       16      Q. Law enforcement.
     17   know.                                               17      A. -- law enforcement for Board of
     18      Q. Well, let me -- do -- do you have             18   Pharmacy?
     19   any recollection, as you sit here today, of         19      Q. Or the Board of Pharma -- or -- or
     20   ever making a referral to the Board of              20   the Board Medicine.
     21   Medicine?                                           21          MR. BADALA: Objection to form.
     22      A. No. I don't know if we did or not.            22          THE WITNESS: No. We used the Board
     23      Q. Do you have a recollection?                   23   of Pharmacy. As I say, law enforcement might
     24      A. I believe I answered your question.           24   have contacted us about a concern. But we
     25      Q. Well, you said you don't know. And            25   weren't reaching back to them for our

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      1   identified decedents.                                 1      A. My first point of contact would be
      2          BY MR. CHEFFO:                                 2   the operations chief, who does the bulk of
      3      Q. Where would you look if you wanted              3   reports to Board of Pharmacy to see if there
      4   to see if there was ever report of any referral       4   were other referrals that were made.
      5   to law enforcement in connection with a               5      Q. Has that -- who is that person?
      6   physician or potentially inappropriate                6      A. Hugh Shannon.
      7   prescribing?                                          7      Q. Okay. How long has Hugh -- Mr.
      8          MR. BADALA: Objection to form.                 8   Shannon or Dr. Shannon been in that position?
      9          THE WITNESS: There are, you know,              9      A. Mr. Shannon. He --
     10   50-plus law enforcement agencies in the county.      10      Q. Mr. Shannon.
     11   I -- again, I don't know how we would track          11      A. Yeah. He'd like to be Dr. Shannon
     12   that. I just don't know.                             12   sometimes.
     13          BY MR. CHEFFO:                                13          He and I came about the same time in
     14      Q. Okay. That's not my question,                  14   2011. He was there I think about a week or two
     15   Doctor. I'm sorry if it was a bad one.               15   ahead of me.
     16          You told us earlier that -- that              16      Q. In your review of -- in your autopsy
     17   your department kept track of referrals to the       17   work, have you ever raised, in your own mind, a
     18   Board of Pharmacy.                                   18   question about whether a prescriber had
     19          Remember that?                                19   violated a standard of care in connection with
     20          MR. BADALA: Objection to form.                20   prescription of controlled substances?
     21          THE WITNESS: Yes, I do.                       21          MR. BADALA: Objection to form.
     22          BY MR. CHEFFO:                                22          THE WITNESS: Raised -- I -- I --
     23      Q. And what I'm trying to find out, is            23   sorry if I'm not understanding your question.
     24   there any way that -- anywhere that, to the          24          Raised a concern to whom?
     25   extent that it occurred, we would find records       25          BY MR. CHEFFO:
                                                     Page 83                                                       Page 85
      1   of referrals from your agency -- from your            1      Q.   To you.
      2   office to either the Board of Medicine or to a        2      A.   Could I just get the question again.
      3   law enforcement agency.                               3   I --
      4      A. I don't know.                                   4      Q.   Sure. Well, let's use an example.
      5      Q. Who would you ask if you wanted to              5          You told us earlier that you had a
      6   find out if that ever occurred?                       6   specific example or memory of a case where you
      7      A. I'm really not sure. I -- I think,              7   believe there was presumably a high level of
      8   you know, the Board of Medicine, the law              8   morphine equivalence being prescribed, and you
      9   enforcement agencies. My operations chief may         9   made a referral.
     10   track that. I don't personally.                      10          Do you remember that?
     11      Q. Well, you're not aware of -- you               11      A. This is the lady who was falling
     12   can't recall it ever happening, right?               12   asleep eating and --
     13      A. I don't know if it happened or not.            13      Q. Yes.
     14      Q. Right.                                         14      A. -- those -- yeah. Okay.
     15          But in your personal knowledge, you           15      Q. And -- and I take it one of the
     16   -- you're not aware of any instance; you can't       16   reasons why you made that referral is that you
     17   think of any instance when it happened, right?       17   questioned the standard of care that was being
     18          MR. BADALA: Objection to form.                18   given by that decedent's healthcare provider.
     19          THE WITNESS: Not as I sit here                19          MR. BADALA: Objection to form.
     20   today, no.                                           20          THE WITNESS: Again, I -- my concern
     21          BY MR. CHEFFO:                                21   was the -- the symptoms I was seeing suggested
     22      Q. And to the extent that you wanted to           22   overmedication. And that's why I made the
     23   know if there were documents reflecting a            23   referral --
     24   referral, who would you ask, and where would         24          BY MR. CHEFFO:
     25   you go within your own office?                       25      Q. Is overmedication --

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      1      A. -- after we took a look at the OARRS             1       A. My license is issued I -- by the
      2   data on the --                                         2   Board of Medicine, and I think they regulate
      3      Q. Is overmedication a breach of a                  3   it.
      4   standard of care?                                      4       Q. Do you believe that they could
      5      A. I don't know.                                    5   regulate the standard of care or -- or gross
      6      Q. You're a doctor.                                 6   violations of the standard of care?
      7          Isn't -- isn't it?                              7           MR. BADALA: Objection to form.
      8      A. I don't prescribe. And I really                  8           THE WITNESS: I don't know that with
      9   don't do a lot of that kind of medicine. So I          9   certainty. I don't know who does that function
     10   don't really know what the state's, you know,         10   in the state.
     11   ruling on standard of care would be there. But        11           BY MR. CHEFFO:
     12   --                                                    12       Q. We talked a little bit earlier about
     13      Q. Okay. So you're not an expert on                13   cocaine use in Cuyahoga County.
     14   the standard of care for prescribing opioids or       14           Do you remember that?
     15   other controlled substances, fair?                    15       A. Yeah. Yes, I do.
     16          MR. BADALA: Objection to form.                 16       Q. And correct me if I'm wrong, but
     17          THE WITNESS: I don't do it. So I               17   I -- I thought I understood you to say, Doctor,
     18   wouldn't have the experience. I have education        18   that after 2016 there was an increase from the
     19   about opioids. But the prescribing of them I          19   baseline in cocaine overdose deaths.
     20   haven't done in a very long time. So I'd have         20       A. And the absolute number and the
     21   to say I -- I don't know.                             21   increase was related to fentanyl mixtures. And
     22          BY MR. CHEFFO:                                 22   the baseline of cocaine, in absence of fentanyl
     23      Q. And in your personal experience in              23   and opioids, had remained flat. It hadn't
     24   your capacity in the office since you've been         24   changed dramatically.
     25   here in 2011, have you ever made a                    25       Q. What was the baseline; do you
                                                      Page 87                                                  Page 89
      1   determination -- a personal determination that         1   remember?
      2   a doctor violated the standard of care in              2       A. Going back again to 2006, we tended
      3   connection with prescribing controlled                 3   to see about a hundred deaths from cocaine in
      4   substances?                                            4   any given year. It may have fluctuated some on
      5          MR. BADALA: Objection to form.                  5   either side of that, but that was about an
      6          THE WITNESS: It's not something our             6   average.
      7   agency would do. So my answer is no.                   7       Q. And in 2016 that changed?
      8          BY MR. CHEFFO:                                  8       A. Yes, it did.
      9      Q. Who is authorized or empowered                   9       Q. And in 2016 the number of deaths
     10   within Cuyahoga County or the state to                10   that were -- strike that.
     11   determine whether a doctor breached the               11           In 2016 the number of overdose
     12   standard of care in connection with                   12   deaths where the decedent had cocaine and
     13   prescribing?                                          13   fentanyl in their system increased; is that
     14          MR. BADALA: Objection to form.                 14   right?
     15          THE WITNESS: I don't know for                  15       A. Yes. That's true.
     16   certain.                                              16       Q. And what was the number, in 2016
     17          BY MR. CHEFFO:                                 17   till today, of cocaine deaths?
     18      Q. You're a licensed physician in the              18       A. Till today, I -- I don't know. I
     19   state, correct?                                       19   remember in 2016 it was over 200. So it had
     20      A. Yes, I am.                                      20   nearly doubled. It rose again in 2017.
     21      Q. Do you have an understanding of what            21           And again, the baseline of cocaine
     22   entity or entities regulates your licensure           22   deaths without fentanyl remains somewhere in
     23   here?                                                 23   the area of a hundred.
     24      A. Yes.                                            24       Q. So the -- you attributed the hundred
     25      Q. Who?                                            25   additional deaths with cocaine and fentanyl to

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                                                     Page 90                                                    Page 92
      1   a combination of fentanyl and cocaine?                1          But based on, you know, pending
      2      A. Those deaths were certified as                  2   cases, we -- we were able the say with
      3   cocaine and fentanyl or whatever drug, if it          3   confidence -- and we had a press conference to
      4   was heroin, present. Obviously cocaine got            4   this effect -- that the numbers are going down.
      5   mentioned on the death certificate, but they          5          But I don't remember the exact
      6   were mixed intoxications.                             6   numbers. And I wouldn't want to offer
      7      Q. And prior to that, the baseline you             7   percentages until we had final data.
      8   attributed to cocaine and not to fentanyl, is         8          BY MR. CHEFFO:
      9   that right, or heroin?                                9      Q. Well, what -- what is -- I -- you --
     10      A. There may have been mixed                      10   you obviously looked into this before you held
     11   intoxications, but they weren't a big player n       11   a press conference, right?
     12   near that number, that baseline of a hundred or      12      A. Sure.
     13   so deaths that we saw from -- I -- at least          13      Q. And when --
     14   going back as far as 2006 with cocaine deaths.       14      A. Absolutely.
     15      Q. Did the baseline increase in 2016 or           15      Q. -- when was that?
     16   just the combination of -- of drugs increase?        16      A. It was a Friday, not this past
     17      A. By "baseline" I would mean cocaine             17   Friday but the week before that. January 6th?
     18   in the absence of fentanyl. And that did not         18   I don't -- I don't -- whatever that Friday
     19   increase in 2016 or '17 substantially. I don't       19   was --
     20   remember exact numbers, but it stayed around a       20      Q. I take it, before you --
     21   hundred. And the increase that we saw was            21      A. -- right --
     22   largely being pulled up by fentanyl. I can't         22      Q. -- would go out and hold a press
     23   say with certainty that there wasn't a cocaine       23   conference, you wanted to make sure that you
     24   and heroin death in there. But the bulk of the       24   had some type of significant decline to report
     25   mixtures that we were seeing were cocaine and        25   on.
                                                     Page 91                                                    Page 93
      1   fentanyl.                                             1          Isn't that fair?
      2      Q. I take it you track and have tracked            2          MR. BADALA: Objection to form.
      3   data for 2018; is that right?                         3          THE WITNESS: We reported the
      4      A. We're still finishing cases. But we             4   decline based on our projections for the year.
      5   track consistently throughout the year, yes.          5   And that was a downward trend.
      6      Q. Where have overdose deaths gone in              6          BY MR. CHEFFO:
      7   2018 --                                               7      Q. And what was the -- what was the
      8          MR. BADALA: Objection to form.                 8   percentage downward trend?
      9          BY MR. CHEFFO:                                 9      A. For total overdoses, based on our
     10      Q. -- in Cuyahoga County?                         10   current projection, we thought that that number
     11      A. Our preliminary data -- again, I               11   would come in somewhere around 560 deaths, down
     12   have to say we'll probably not have all of our       12   from 727. I can get the calculator out to give
     13   data in for three or four months, I would say.       13   you a percentage.
     14          But our preliminary data indicates            14          But that's our total overdose
     15   that drug overdose deaths in general have            15   deaths. And I do not remember specific numbers
     16   declined, fortunately. Fentanyl deaths have          16   for fentanyl, cocaine and heroin other that
     17   declined. Heroin deaths have declined. And           17   they were trending downward.
     18   cocaine deaths have declined.                        18      Q. And do you remember roughly what the
     19      Q. What percentages?                              19   percentage decline was in 2018 from 725 to 560?
     20          Can you give us any rough estimates           20          I'm not trying to question -- I'm
     21   as to the percentage of decline?                     21   not trying to make you do higher math off
     22          MR. BADALA: Objection to form.                22   the --
     23          THE WITNESS: I don't remember. And            23      A. Can we get a calculator out?
     24   I'd almost be reluctant to say so until we have      24      Q. But -- but do you remember, when you
     25   all the numbers.                                     25   were doing a press conference, using that as a

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      1   talking point?                                       1   carfentanil -- to get the influx of those drugs
      2       A. I don't remember using the                    2   into this country curtailed took place over
      3   percentage. I remember using the numbers in a        3   that time.
      4   general way.                                         4          I think we instituted mandatory
      5           (Discussion held off the                     5   checks for OARRS in 2015 so that people
      6   stenographic record.)                                6   prescribing opioids would have to check the
      7           MR. CHEFFO: We'll come -- we'll --           7   database ahead of time before they would
      8   we'll look at a calculator, Doctor, and -- and       8   prescribe. It had been -- may have had an
      9   see if we can figure it out. But...                  9   impact.
     10           THE WITNESS: Now, your denominator          10          There's a -- a tremendous number of
     11   is 727, not 560, so we agree on terms. Because      11   programs the county's tried to do. the drug
     12   it's a decline we're measuring.                     12   drop boxes for people to put their old
     13           BY MR. CHEFFO:                              13   medications back in may have had an impact.
     14       Q. The percentage. That's what I was            14   Law enforcement and the task forces, the
     15   asking you, what percentage year over year          15   prosecution of these cases potentially may have
     16   decline.                                            16   had an impact.
     17       A. But I want to make sure that what            17          I -- I don't want to pretend to
     18   we're calculating is the decline, which would       18   know, you know, all of these. These are the
     19   be define as the difference between 2017 and        19   programs that have been undertaken in
     20   2018 over the rate in 2017, not 2018.               20   response -- some of the programs that have been
     21       Q. Okay. Well, I'll ask you a                   21   taken -- undertaken in response to try to
     22   question. You'll then tell me if you agree          22   address the crisis.
     23   with it once we get the information.                23          And I certainly would like to think
     24       A. Well, I can get my phone out and do          24   they're having some success.
     25   that calculation.                                   25      Q. Is it fair to say that there are
                                                    Page 95                                                    Page 97
      1          MR. BADALA: We can --                    1        many different factors that impact the overdose
      2          THE WITNESS: I just want to make         2        rate?
      3   sure we're on the same page with that.          3                MR. BADALA: Objection to form.
      4          BY MR. CHEFFO:                           4                THE WITNESS: I'm not sure I --
      5      Q. The -- does -- does 23 percent sound      5        well, it's kind of a broad question.
      6   right?                                          6                BY MR. CHEFFO:
      7          Well, I'll you what. You know, if        7            Q. Well, you just -- you just listed
      8   you're any more comfortable at the break, you 8          about ten of them: drop boxes, changes in
      9   can --                                          9        OARRS, impact from foreign --
     10      A. Yeah.                                    10            A. Oh, yeah.
     11      Q. -- use your calculator, and you can      11            Q. -- government shipping.
     12   tell me what you think it is.                  12            A. I'm sorry. Yeah. Fine. Yes.
     13      A. Okay.                                    13            Q. So the answer is "yes," right?
     14      Q. Okay?                                    14            A. Yes.
     15          And what -- what factors do you         15                (Deposition Exhibit 1 was marked for
     16   believe led to the decline in overdose deaths 16         identification.)
     17   from 727 to 560?                               17                BY MR. CHEFFO:
     18      A. I'm not sure. I think, you know,         18            Q. Doctor, I've marked this as Exhibit
     19   the programs that have been instituted with    19        1.
     20   regard to Naloxone distribution have saved     20                Have you seen this before?
     21   lives.                                         21            A. I don't remember.
     22          The scheduling of the fentanyl and      22                Can I take a look through?
     23   fentanyl analogs, I am told there were         23            Q. Uh-huh. Sure.
     24   negotiations with China, which was a principal 24            A. I don't remember it exactly. But
     25   source of fentanyl, to get the -- and          25        it's a product from our office, so I'm familiar

                                                                                                25 (Pages 94 - 97)
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                                                     Page 98                                               Page 100
      1   with it.                                              1   detection beyond which we would say, if it's
      2      Q. And your name's on the front page,              2   under that, we did not detect it. And
      3   right?                                                3   that's -- refers to the sensitivity of the
      4      A. That's right.                                   4   instrument and possibility of interference.
      5      Q. Would you look at the fourth page,              5   But caffeine is an example where, if we have a
      6   please.                                               6   positive at a certain level, we don't
      7      A. This -- this one.                               7   quantitate it because it's consistent with
      8      Q. Yes.                                            8   somebody drinking a cup of coffee.
      9      A. Sure.                                           9           People have overdosed on caffeine
     10      Q. It says "Cuyahoga County Overdose              10   though, and we've quantitated those.
     11   Deaths 2006 to 2014."                                11       Q. Okay.
     12          Do you see that?                              12       A. So some are qualitative, I guess,
     13      A. Yes, I do.                                     13   some of our results; some are quantitative.
     14      Q. And it says "Most Common Drugs,"               14       Q. So these are the most common, but
     15   correct?                                             15   it's certainly not a exhaustive list of all
     16      A. Yes.                                           16   the -- the -- the drugs that are found in -- in
     17      Q. And is that the most common drugs              17   decedents, fair?
     18   found in individuals who died from overdoses in      18       A. That would be fair, yes.
     19   the years 2006 to 2014?                              19       Q. And first let me just see if I -- if
     20      A. Yes, it is.                                    20   we're on the same page about this data. So for
     21      Q. And before I ask you specific                  21   illustrative purposes, would you follow me and
     22   questions about this, let me just ask you a few      22   look at the -- the 2012 data that's on the
     23   questions about how you make that                    23   bottom. And it says "310 cases."
     24   determination.                                       24           Do you see that?
     25          So when someone has an autopsy done           25       A. Yes. Okay.
                                                     Page 99                                               Page 101
      1   and there's a toxicology report, do you               1      Q. And that -- am I correct that that
      2   identify -- try to identify all drugs or just         2   means that there were 310 overdose deaths in
      3   look for certain drugs?                               3   the year 2012?
      4      A. We would try to identify all drugs.             4      A. Yes. That's right.
      5   And, you know, I think one of the challenges          5      Q. And then there are various numbers
      6   is -- isn't necessarily -- they can find              6   associated with the various drugs that are
      7   everything. So the assays are directed to             7   listed on this chart for each year, correct?
      8   certain drugs.                                        8      A. Yes. Okay.
      9           But it's a very broad class of drugs          9      Q. And -- and the -- in 2012 there's
     10   that we're looking for. And once we identify         10   161 next to the heroin point on the -- on the
     11   something, we follow through to identify it.         11   graph, right?
     12      Q. But in fairness, I mean you're not             12      A. That's right, yes.
     13   trying to find if somebody took an Aspirin that      13      Q. And that -- and heroin is the
     14   morning, are you?                                    14   highest -- or it's the most common drug in --
     15      A. Yeah. We are, actually.                        15   in 2012, right?
     16      Q. Okay. So is there any threshold?               16      A. That's right.
     17      A. Salicylates or acetaminophen or                17      Q. And then the second most common is
     18   things like that.                                    18   cocaine; that has 111, right?
     19      Q. Okay.                                          19      A. Yes.
     20      A. Caffeine will pick up too.                     20      Q. And then below that it says "All
     21      Q. Is there a threshold though?                   21   Opioids," and that's 85, right?
     22           So will -- will -- if -- if someone          22      A. That's right.
     23   had a cup of coffee that morning, will that          23      Q. And that's about half as much as
     24   trigger a threshold for caffeine reporting?          24   cocaine -- heroin, right?
     25      A. Any test would have a limit of                 25      A. Yes.
                                                                                             26 (Pages 98 - 101)
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                                                    Page 102                                                   Page 104
      1      Q. And it says "All Opioids Including              1   I would be concerned about fentanyl especially
      2   oxycodone and fentanyl."                              2   in 2014. Because that's the year that we
      3          Do you see that?                               3   started to see more illicitly manufactured
      4      A. Yes, I do.                                      4   fentanyl show up in our area. But the All
      5      Q. What else does "all opioids"                    5   Opioids would be drugs we would think of as
      6   include?                                              6   opioid pain relievers, the prescription
      7      A. Other drugs that have a similar                 7   opioids.
      8   effect to the opioids or just the ones that act       8      Q. So when it says 85, we're --
      9   on the mu receptor in the brain. So opioids           9   you're -- you're certain it's your testimony
     10   would include oxycodone, hydrocodone,                10   that all of these were prescriptions, and they
     11   oxymorphone, hydromorphone, methadone, any           11   weren't street drugs?
     12   number of drugs.                                     12      A. They may have been diverted to the
     13      Q. It would include methadone as well?            13   street. I'd -- if -- but as I understand this
     14      A. Yes.                                           14   number, it's the prescription opioids.
     15      Q. And -- and what is methadone                   15      Q. When you do a -- a -- a tox assay or
     16   typically used for?                                  16   screening and you find fentanyl, can you
     17      A. It was traditionally used as a drug            17   determine whether it's a prescription fentanyl
     18   for people who were tapering off of heroin           18   or an illicit fentanyl that was never
     19   addiction. And it also became used more              19   manufactured lawfully by a pharma company?
     20   recently as a medication for the treatment of        20      A. We have seen impurities in fentanyl
     21   chronic pain.                                        21   that don't usually show up in the manufacturing
     22      Q. And if we wanted to know and break             22   process, which suggests a illicit source. But
     23   out how many of those 85 in the All Opioid           23   I can't point to the fentanyl itself, that
     24   category were associated with methadone, I take      24   molecule, and say that's illicit or not.
     25   it you have records that would be able to do         25      Q. So then how is it that you can tell
                                                    Page 103                                                   Page 105
      1   that; is that right?                             1        us with certainty that all 85 of those are from
      2       A. Yes. We would be able to do that.         2        prescription opioids?
      3   We can't do it here as I sit here today, but we  3           A. I'm sorry if I said I -- I just said
      4   would be able to do that.                        4        I don't know. I'd have to go back and look at
      5       Q. As a general matter, you know, based      5        the actual data.
      6   on your expertise and experience, what           6           Q. No. I think you told me --
      7   percentage of the All Opioid number is           7           A. But --
      8   comprised of methadone?                          8           Q. -- that they were prescriptions.
      9           MR. BADALA: Objection to form.           9        That's what I was asking you.
     10           THE WITNESS: We looked at that over 10               A. They would be the prescription
     11   this time frame, and there were fluctuations. 11          narcotics. They -- that was how we were
     12   I couldn't give you a specific number though. 12          classifying them, that class of drugs.
     13   I don't know.                                   13           Q. Right.
     14           BY MR. CHEFFO:                          14               But you just told me ten seconds ago
     15       Q. Can you give me a ballpark?              15        that this could include fentanyl that was
     16       A. I wouldn't want to, no.                  16        synthetic that was never a prescription drug.
     17       Q. Is it, you know, 50 percent? 20          17           A. No. I said that about 2014. We
     18   percent?                                        18        really didn't see fentanyl as illicitly
     19       A. I don't remember.                        19        manufactured fentanyl in our laboratory -- in
     20       Q. Is there any way to determine from       20        our drug seize laboratory before 2014. And
     21   this chart whether these are -- at least unto   21        that was when the DEA made their report about a
     22   the opioids, whether they are prescription      22        rise in seizures of illicitly manufactured
     23   opioids or whether they are associated with     23        fentanyl.
     24   illicit opioids?                                24               So fentanyl in 2012, again, to the
     25       A. These would be prescription opioids. 25            best of my knowledge, would be some fentanyl

                                                                                              27 (Pages 102 - 105)
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                                                 Page 106                                                Page 108
      1   patch or fentanyl -- pharmaceutical fentanyl.      1   certainty.
      2   We didn't see it --                                2      Q. And could you tell that by going
      3     Q. So --                                         3   back to your files?
      4     A. -- clearly --                                 4      A. I think it would bolster my ability
      5     Q. -- your testimony is you're --                5   to be certain about that, yes.
      6   you're -- you're certain that all 85 are either    6      Q. And you would look for what?
      7   lawful or diverted prescriptions in the All        7          If we looked for each -- if we
      8   Opioid?                                            8   looked at the files for each of these 85
      9          That's your testimony?                      9   people, and we wanted to know whether or not
     10          MR. BADALA: Objection to form.             10   the opioids found in their system were from
     11          THE WITNESS: I -- I -- I'd have to         11   either lawful or -- or diverted prescriptions,
     12   see the data to be more certain. But that's my    12   what would you look for?
     13   understanding of what we were tracking under      13      A. It's a case specific. I'd -- you
     14   All Opioids.                                      14   know, we'd look for whether there were
     15          BY MR. CHEFFO:                             15   impurities that we had seen in the synthetic
     16     Q. What would you need to look at to            16   process later with fentanyl. But -- whether
     17   determine whether you were correct or not?        17   there was anything recovered at the scene in
     18     A. I'd like to look at the case files           18   terms of medications or illicit substances and
     19   on this and review before I made a statement      19   how they were tested. The OARRS report may be
     20   with certainty.                                   20   helpful to see if the person had access to
     21     Q. And what would you look for in the           21   these already, as they frequently would have in
     22   case files?                                       22   that time frame.
     23     A. What drugs were present; was there           23          Those would be some things I would
     24   any indication from scene investigation that      24   at least want to consider before I said with
     25   there may have been an illicit source. I          25   certainty that none of these are anything but
                                                 Page 107                                                Page 109
      1   think, you know, Thera-Mist for this would be 1        the prescriptions, either prescribed or
      2   just, you know, beneficial.                      2     diverted.
      3      Q. Right.                                     3        Q. So is it your testimony that --
      4      A. A good practice.                           4     well, let's start with today.
      5      Q. So you really couldn't make any            5            Can we do a tox study and look at
      6   statement or testimony with certainty without 6        fentanyl and determine whether it was
      7   looking at the case files to determine if, in    7     manufactured lawfully by a pharmaceutical
      8   fact, there were other indicia of illicit drugs  8     company or whether it was created in some
      9   or whether someone had a prescription bottle 9         warehouse in China?
     10   next to them when they expired, right?          10        A. Not that I'm aware of, no.
     11      A. I can say that these drugs are the        11        Q. You told me you'd look for
     12   ones that we would classify as opioid pain      12     impurities.
     13   relievers based on what drug is present.        13            How would you then -- how would you
     14      Q. Right. And that's a different             14     find those impurities if they wouldn't show up
     15   question.                                       15     in a tox study?
     16          What we've been talking about is         16        A. Oh, I'm -- I'm thinking can I tell
     17   whether all 85 are either opioids that were     17     this fentanyl from that fentanyl. The
     18   prescribed or whether they were diverted        18     impurities are part of the synthetic process,
     19   medicines from otherwise lawful prescriptions 19       how you make the drug. And they are usually
     20   or whether some of them could have been from 20        not present in the pharmaceutical-grade
     21   synthetic fentanyl that came in from China or 21       material, but they are present in the illicit
     22   Mexico.                                         22     manufacture.
     23          Can you tell that by looking at this     23            So one is a chemical called 4-ANPP.
     24   chart?                                          24     And we see that in our seized illicit
     25      A. I wouldn't want to say that with          25     manufactured fentanyl, but we don't see it in
                                                                                          28 (Pages 106 - 109)
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                                                  Page 110                                                   Page 112
      1   pharmaceutical-grade fentanyl.                      1   were to add up -- and you free feel to do this.
      2      Q. And you test for that?                        2          But if there -- there's -- if you
      3      A. What's that?                                  3   add 161, 111, 85, 33, 26 and 10, that adds up
      4      Q. You test for that as part of your             4   to more than 310, correct?
      5   tox study?                                          5      A. That's right, yes.
      6      A. Yeah. We absolutely do.                       6      Q. And why is that?
      7      Q. When did that start?                          7      A. The impact of mixed intoxications.
      8      A. When fentanyl became a problem, I             8   So we looked at this data, actually. And, as I
      9   think we were starting to invest in better          9   recall, about a third of our heroin overdoses
     10   instrumentation. And I think we started to         10   were only heroin. And then the other
     11   detect that I would say probably in 2016.          11   two-thirds were in combination with something
     12          We may have detected it earlier. I          12   else.
     13   don't know. It's not -- I just don't remember      13          So we don't count -- we count
     14   that.                                              14   everything as often as it shows up. So for the
     15      Q. Well --                                      15   total, we can't do that, obviously. But the
     16      A. But -- but certainly, with better            16   total reflects individual drugs as well as
     17   instrumentation, the availability to detected      17   drugs in combination for mortality.
     18   some of these impurities went up.                  18      Q. So -- so there's a -- an element of
     19      Q. Well, you said when fentanyl became          19   double counting in -- in this chart, right?
     20   a problem.                                         20      A. To reflect the mixtures we would
     21          It looks to me like there was a --          21   have seen in the drug overdose deaths, yes.
     22   there's a -- there's a high number in -- in --     22      Q. So if -- if you had somebody who had
     23   was there a problem in -- in 2011 with             23   died of an overdose with three substances, for
     24   fentanyl?                                          24   example, let's say cocaine, fentanyl and
     25      A. It's present, you know, for eight            25   heroin, that one overdose from a -- would be
                                                  Page 111                                                   Page 113
      1   overdoses. I don't think that number was            1   counted three times.
      2   changing much over the previous few years.          2      A. In this graph, it would be in the
      3      Q. Eight overdoses or -- or --                   3   heroin line, in the cocaine line and in the
      4      A. I see eight fentanyl overdoses in             4   fentanyl line. That's right.
      5   2011.                                               5      Q. Is it only in this graph, or do you
      6      Q. Okay. So -- and that's fentanyl --            6   do that typically when you report other
      7   so -- so let me just see if I understand.           7   statistics about heroin use or cocaine use?
      8          So the -- the -- the fentanyl line           8           MR. BADALA: Objection to form.
      9   is then -- those eight or whatever the number       9           THE WITNESS: These graphs are
     10   is there, that's recounted in the All Opioid       10   generated for each mention of those substances
     11   line?                                              11   on a death certificate. So we would count
     12      A. For this graph, yes, it is.                  12   mixtures more than once on these graphs to
     13      Q. Okay.                                        13   reflect the usage of the different substances.
     14      A. Subsequent to this, we generated             14           BY MR. CHEFFO:
     15   graphs where fentanyl was not calculated into      15      Q. Do you make a determination as to
     16   the opioid line. But this one it was.              16   how much of each substance was in someone's
     17      Q. And can you tell who manufactures a          17   system?
     18   particular opioid based on a tox study?            18      A. The toxicology laboratory will
     19      A. No.                                          19   quantitate these substances where possible,
     20      Q. So let's go back to the 2012 column,         20   yes.
     21   if you will, please.                               21      Q. Well, so let's assume, in my
     22          There was 310 cases of overdose             22   hypothetical, someone had three substances,
     23   deaths in that year in Cuyahoga, correct?          23   right? They had heroin, cocaine and fentanyl.
     24      A. Yes.                                         24           Do you make a determination -- and
     25      Q. And there's more -- if we -- if we           25   they're each listed, right, as -- from a
                                                                                            29 (Pages 110 - 113)
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                                                     Page 114                                                  Page 116
      1   statistics perspective in each of those.               1   hypoxic, I don't get as much oxygen because of
      2           Do you make a determination about              2   affects of fentanyl and heroin, it's going to
      3   whether they received a lethal dose of any of          3   make cocaine more lethal in that soup, if you
      4   those?                                                 4   will, of overdose.
      5           MR. BADALA: Objection to form.                 5          So you can't really tease them
      6           THE WITNESS: Obviously they died,              6   apart.
      7   so I would say they received a lethal dose of          7          BY MR. CHEFFO:
      8   the combination of them. It's not really               8      Q. Do you do any of that analysis?
      9   possible in forensic practice to start to tease        9          Do you try to quantify any of that?
     10   out this is 60 percent, this is 10 percent,           10          Or do you just do a tox study and
     11   this is 20 percent.                                   11   say, "This is what's in the system. It's going
     12           It's a combined effect. And that's            12   on the chart"?
     13   how our death certificates are worded.                13          MR. BADALA: Objection to form.
     14   Combined toxicity, combined effect. You can't         14          THE WITNESS: We interpret the
     15   really tease out --                                   15   toxicology with -- you know, in accordance with
     16           MR. CHEFFO: Well --                           16   forensic practice, which would be what I'm
     17           THE WITNESS: -- this contribution             17   describing.
     18   versus that one.                                      18          BY MR. CHEFFO:
     19           BY MR. CHEFFO:                                19      Q. Is there any -- is there -- is it
     20      Q. But it's not always combined, is it?            20   fair to say that, if -- if cocaine, for
     21           Well, let me give you an example,             21   example, or fentanyl show up in any amount on
     22   right? I'm sure you could think of a hundred          22   your assay, it's going to be listed as a cause
     23   of them.                                              23   or contributing factor?
     24           Where someone had a modest dose use           24      A. No.
     25   of cocaine, and then they had a modest                25      Q. So there are times when you've
                                                     Page 115                                                  Page 117
      1   nonlethal dose of fentanyl a day or two or             1   recorded it and it doesn't show up as a factor
      2   however long it might last in their system, and        2   in and overdose death?
      3   then they had a massive dose of heroin that,           3          MR. BADALA: Objection to form.
      4   irrespective of anything else, would have              4          THE WITNESS: That wasn't your
      5   killed them.                                           5   question, as I understood it.
      6           In that case, that's not a                     6          You know, toxicology is not a
      7   contribution, is it?                                   7   substitution for a death investigation. So
      8           MR. BADALA: Objection to form.                 8   there's other information that has to be
      9           THE WITNESS: Sure. It is. It                   9   factored into a death ruling. That could be
     10   certainly is, you know. And that's one of the         10   scene information. It could be circumstance
     11   discussions we've tried to have with, you know,       11   information. It could be a lot of other
     12   our prosecutor, especially our U.S. Attorney.         12   things.
     13   And we met with Carole Rendon about it.               13          And, you know, we may have a
     14           That becomes impossible for a                 14   positive toxicology that does not fit with the
     15   medical examiner to tease out this is the             15   clinical scenario of how a person died, in
     16   problem, and this isn't. And that becomes very        16   which case that would not be included in a
     17   important in the prosecutions because of this         17   death certificate.
     18   idea of but-for causation.                            18          BY MR. CHEFFO:
     19           So if I can pick up on your example,          19      Q. You're talking about like a gunshot
     20   if you have fentanyl, cocaine, heroin --              20   wound.
     21   fentanyl and heroin have similar actions, and         21          But I'm talking about --
     22   they will be expected to potentiate each other.       22      A. No, no. I --
     23   Cocaine has its own stimulant properties, but         23      Q. -- let's talk about overdose deaths.
     24   it's a cardiac irritant.                              24      A. -- I would talk -- let's say -- I'll
     25           So if I'm becoming more and more              25   give --
                                                                                              30 (Pages 114 - 117)
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                                                     Page 118                                                  Page 120
      1          MR. BADALA: Are you done with your 1                policy of your office, any measure, no matter
      2   answer?                                          2         how small or large, of an illicit substance,
      3          THE WITNESS: No. Go ahead. I --           3         that's going to automatically be deemed to be
      4          BY MR. CHEFFO:                            4         causing or contributing; isn't that right?
      5     Q. So are there situations where               5            A. No.
      6   someone has had cocaine in their system in an 6               Q. So can you tell me any time where
      7   overdose death, and it's not been listed as a    7         that's not happened?
      8   cause or contributing factor?                    8            A. I can't give you a specific
      9          Can you think of any?                     9         instance. But what you're saying is basically,
     10     A. I can't think of any right now.            10         whatever I see on a toxicology report, I put on
     11     Q. Are you aware of any?                      11         a death certificate. And that's really not
     12     A. I -- I don't know.                         12         good forensic practice.
     13     Q. Are you aware of any situations            13                A death investigation is a lot more
     14   where someone has had heroin in their system, 14           than an autopsy report. And I don't think what
     15   and it's not been listed as a cause or          15         you said really characterizes the professional
     16   contribution in and overdose death?             16         judgment of my staff or me.
     17     A. Yes.                                       17            Q. Can you tell me one situation in --
     18     Q. In what circumstances?                     18         in your practice in Cuyahoga County where you
     19     A. Well, if they have an older person         19         have not determined that an opioid was a cause
     20   who suddenly grabs their chest, says, "Boy, I'm 20         or contributing factor when it's been detected
     21   very short of breath, and I'm collapsing," you 21          in a tox assay --
     22   know, that's not the way people die from and 22               A. I cannot --
     23   overdose of heroin.                             23            Q. -- in an overdose death?
     24          They usually go to sleep; they stop      24            A. I cannot right now.
     25   breathing; they don't wake up. And there have 25              Q. Okay. Is there any standard
                                                     Page 119                                                  Page 121
      1   been instances in my own practice where, you           1   operating procedures or guidelines to determine
      2   know, I've not included heroin as a cause of           2   what is a lethal dose of a particular
      3   death in that and gone with the heart disease.         3   substance, let's say an illicit drug?
      4      Q. Yeah. But -- but I asked you,                    4      A. There are published tables that will
      5   Doctor, specifically overdose death. That's            5   talk about therapeutic levels; about, you know,
      6   what I've talked about.                                6   toxic levels; about lethal levels.
      7          Did -- would you have -- when                   7          I would have to caution again that,
      8   someone walks in and they're 90 years old and          8   you know, those tables are reference tables.
      9   they grab their heart, right, and they fall            9   They do not reflect the -- the practice of
     10   down, they, say, have a heart attack, you're          10   forensic medicine, which would include obvious
     11   going to say that's a cardiac event, right?           11   reference to that material but also clinical
     12      A. Right. Even if they saw heroin in               12   information.
     13   their system.                                         13          So we may, you know, have lower
     14      Q. Right.                                          14   levels of opiates with a very compelling story
     15          And my question is, in connection --           15   and certify that as an opiate death in
     16   I'm -- I'm -- I'm talking specifically for            16   accordance with, you know, stated forensic
     17   overdose deaths. Okay?                                17   practice.
     18          Is there a situation where you've              18      Q. Do you look at the -- do you
     19   ever had -- where you've ever seen or aware of        19   yourself look at those tables or charts?
     20   any level of an opioid in combination with            20      A. I have, you know, textbooks and
     21   other drugs where you have not characterized it       21   charts that I use, yeah.
     22   as causing or contributing to?                        22      Q. Do you know what a therapeutic dose
     23      A. Not that I remember.                            23   of opioids is and what's a lethal dose?
     24      Q. So the fact is, in and overdose                 24          MR. BADALA: Objection to form.
     25   death, if there's any measure -- it's the             25          THE WITNESS: There are studies and

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      1   tables that will have ranges there. They            1           My former chief toxicologist wrote a
      2   frequently overlap in my experience. And they       2   paper on this topic, and that was the number
      3   would be different for different opioids.           3   that we came. That's in keeping with the
      4          BY MR. CHEFFO:                               4   position paper from the National Association of
      5      Q. In the All Opioids, does that                 5   Medical Examiners on the certification of
      6   include morphine?                                   6   opioid deaths.
      7      A. That would be an opioid. I -- I               7           So we try to avoid lumping morphine
      8   don't know if -- again, I don't know what           8   deaths into here. Using those guidelines, I
      9   specific opioids are here. But it certainly         9   think, you know, there may just be morphine
     10   would be -- if it was present on a death           10   there. If we had a scene investigation, again,
     11   certificate, would have been included in that      11   with heroin in somebody who was transported to
     12   All Opioid portion of the graph.                   12   a hospital, and all we were able to recover at
     13      Q. And are you aware that, on some              13   that point was morphine, you know, we would
     14   or -- or -- or all tox screenings, heroin can      14   probably go on the side of saying that was
     15   show up or -- or often does show up as             15   still heroin.
     16   morphine?                                          16      Q. Is it fair to say that there are
     17      A. Heroin is metabolized to morphine,           17   processes that you attempt to look for after
     18   so it may show up as morphine on a screen.         18   the initial toxicology finding of morphine to
     19   Chemical structure is morphine, and then you       19   determine whether it's a derivative of heroin,
     20   put two chemical groups on it, I acetyl, 2         20   but sometimes that's complicated by various
     21   acetyl groups.                                     21   other factors, like body composition and time
     22          And as heroin is metabolized through        22   of death?
     23   the body, what we see is one of the groups         23      A. The opiates as a group are pretty
     24   comes off, and then we see a chemical called       24   stable after death. So I wouldn't think they
     25   6-monoacetylmorphine. And then the other one       25   would impact it.
                                                  Page 123                                                 Page 125
      1   comes off, and we may just see morphine.            1      Q. So I guess what I'm just trying to
      2      Q. So in this 85, does that include              2   find, Doctor, is -- is --
      3   morphine?                                           3          MR. BADALA: Were you done with your
      4          MR. BADALA: Objection to form.               4   answer?
      5          THE WITNESS: It could. Again, I              5          MR. CHEFFO: Well, I mean --
      6   don't know.                                         6          MR. BADALA: If you're not done, you
      7          BY MR. CHEFFO:                               7   can -- you can answer his question. I mean --
      8      Q. And if it -- if it does include               8          MR. CHEFFO: Go ahead. Go ahead.
      9   morphine, it could either be morphine, which is     9          MR. BADALA: If you're done, you're
     10   a prescribed medicine, or it could be a marker     10   done. But if you're not done, you can still
     11   for heroin, correct?                               11   answer your question.
     12      A. The morphine may have come from              12          THE WITNESS: Oh. I just wanted to
     13   either source. One of the things we rely on to     13   say that, you know, they remain stable after
     14   distinguish the two is finding that                14   death. So, you know, we see that 6-AM, that
     15   6-monoacetylmorphine. So that may be a marker.     15   intermediate between heroin and morphine --
     16   Yes, there's morphine there, but there's also      16          MR. CHEFFO: Okay.
     17   monoacetylmorphine. So we would certify that       17          THE WITNESS: -- an people are
     18   as a heroin death.                                 18   decomposed.
     19          The other thing that we can use is a        19          BY MR. CHEFFO:
     20   ratio of morphine to codeine. Because when         20      Q. So 85, does it include morphine that
     21   heroin is recovered from the poppy plant and       21   was the result of heroin or not?
     22   processed, the ratio of morphine to codeine is     22          MR. BADALA: Objection to form.
     23   usually substantially higher. We use, in our       23          THE WITNESS: Using best practices,
     24   laboratory, a ratio of five-to-one                 24   we have made every effort to avoid including
     25   concentration morphine to codeine.                 25   heroin deaths in the morphine deaths. And I

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      1   cannot say with certainty that those best             1          THE WITNESS: I don't know where
      2   practices cover everything, but I would expect        2   they go.
      3   them to cover most. That was why they were            3          BY MR. CHEFFO:
      4   promulgated.                                          4      Q. Where do you put them?
      5          BY MR. CHEFFO:                                 5      A. Most of the OARRS files I've looked
      6      Q. Okay. So they -- they may include               6   at I've looked at electronically. And I don't
      7   some heroin usage; you can't say with certainty       7   know that I've ever printed one myself.
      8   as you sit here, correct?                             8      Q. Okay. I think I just asked you
      9      A. That's -- again, you know, we've                9   that, did -- if you ever did.
     10   done everything we can to exclude it. But if         10          Did -- have you ever printed out an
     11   you ask me with a hundred percent certainty can      11   OARRS form?
     12   I exclude that, I can only follow best               12      A. I thought you said in -- has the
     13   practices to exclude it.                             13   office ever printed out --
     14      Q. Are you using the same practices to            14      Q. Have you ever printed one?
     15   determine whether it was heroin today as you         15      A. Personally, no, I have not. I don't
     16   were in 2012?                                        16   remember printing one.
     17      A. Yes.                                           17          Have I seen printed copies in the
     18      Q. You mentioned -- we talked about               18   office? Yes, I have.
     19   earlier about a -- a healthcare provider that        19      Q. And the reason why you don't print
     20   you made a referral to the Board of Pharmacy         20   them is why?
     21   because of a morphine equivalent dose that you       21          MR. BADALA: Objection to form.
     22   determined or at least questioned.                   22          THE WITNESS: Save trees. I -- I --
     23          Do you remember that?                         23          BY MR. CHEFFO:
     24      A. I remember the case we're talking              24      Q. Is that -- that's it?
     25   about. I don't remember if I said the                25      A. Well, I glean the information I need
                                                    Page 127                                               Page 129
      1   morphine-equivalent dose or the clinical              1   from the electronic review. And I try not to
      2   symptoms. But we looked at the OARRS report.          2   print things out if it's just going to be a
      3   And I -- I had the concern about                      3   redundant piece of information. So -- I mean I
      4   overprescribing.                                      4   --
      5      Q. Where are the OARRS report for each             5      Q. How -- how big are some of the files
      6   case maintained?                                      6   in the case?
      7          MR. BADALA: Objection to form.                 7           They're pretty voluminous, aren't
      8          THE WITNESS: We tend not to print              8   they?
      9   them out. Because the OARRS database is not a         9      A. Some of the OARRS files?
     10   public record. And the medical examiner's file       10      Q. No. Some of the files of decedents,
     11   in the -- in our office is accessible by             11   particularly if you have criminal
     12   statute to next of kin, the entire file. So we       12   investigations?
     13   don't print them out to keep them.                   13      A. Varies. I mean some of them can be
     14          I am not aware of whether there's,            14   very, very large, like the Shepherd case, which
     15   you know, a file of OARRS reports in the             15   still comes up and is a prominent case in this
     16   office. I don't know that. But I -- I haven't        16   part of the country. Those files are several
     17   seen it.                                             17   folders.
     18          BY MR. CHEFFO:                                18      Q. Okay. So your testimony is you've
     19      Q. So is it your testimony you've never           19   never presented out an -- an OARRS form, and
     20   printed one out?                                     20   the reason why you didn't do that is you didn't
     21      A. No.                                            21   want to waste paper, fair?
     22      Q. Under what circumstances do you --             22           MR. BADALA: Objection to form.
     23   do you do that, and where do they go when you        23           THE WITNESS: You know, I'd
     24   do?                                                  24   appreciate it if that wasn't my answer and you
     25          MR. BADALA: Objection to form.                25   would be fair about what I said, which is
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      1   that --                                               1      Q. Checking OARRS and the information
      2          BY MR. CHEFFO:                                 2   in OARRS is an important part of your
      3     Q.    To save trees.                                3   determination of cause of death in many cases;
      4          MR. BADALA: Objection to form.                 4   isn't that right?
      5          BY MR. CHEFFO:                                 5      A. Not in many, no. I wouldn't say
      6      Q. Didn't you?                                     6   that.
      7      A. And because I gleaned the                       7      Q. In what situations is it important
      8   information I needed from the OARRS report            8   to check the OARRS data?
      9   before I've decided that I did not need to            9      A. I think the OARRS data was very
     10   printed it.                                          10   important to check with our heroin overdose
     11      Q. Okay. And how -- but in order to               11   deaths because we were not -- you know, we had
     12   determine -- let's assume that case became a         12   no compelling data, other than anecdotal data,
     13   legal case or there was other -- some other          13   to say these people who were abusing heroin
     14   purpose.                                             14   potentially got their start back with opioid
     15          Wouldn't you want to know and -- and          15   pain medication.
     16   -- and wouldn't -- wouldn't someone -- wouldn't      16           So it was very important I think to
     17   someone want to be able to determine whether         17   go back and see how many of these individuals
     18   there was OARRS information in the file?             18   had an OARRS file, how many of them had opioid
     19          Isn't that a relevant piece of                19   prescribing, to document that, especially for
     20   information?                                         20   our public health interventions.
     21          MR. BADALA: Objection. Form.                  21           Because, of the opioid pain reliever
     22          THE WITNESS: They may.                        22   phase of the crisis and then the heroin phase,
     23          BY MR. CHEFFO:                                23   we, you know, wanted to link those back. And
     24      Q. Right.                                         24   the fentanyl phase as well.
     25          In order -- and then, if you wanted           25           So we continue to look at OARRS data
                                                    Page 131                                                  Page 133
      1   to know it, every time, according to you, you'd       1   on our drug overdose deaths. But in terms of
      2   have to go back and sit at your computer and          2   the certification of those deaths, I wouldn't
      3   look at it, right?                                    3   say we look at it that often to make a
      4          One way of avoiding that would be to           4   certification, if at all.
      5   print it out and determine if there was OARRS         5      Q. When you go back and look at it, do
      6   data, right?                                          6   you print them out, or do you just sit at the
      7      A. But you're misunderstanding our                 7   computer and -- and memorize that information?
      8   relationship with the Board of Pharmacy. They         8          MR. BADALA: Objection to form.
      9   do not want that data made public. That's the         9          THE WITNESS: I don't memorize it,
     10   way the statute's written. And the corner            10   but I don't print it either.
     11   statute makes anything in the corner's file a        11          BY MR. CHEFFO:
     12   public document, at least to next of kin.            12      Q. So you said you -- you went back and
     13          So we cannot print them out and               13   did a -- kind of a -- a back look, right, on
     14   maintain that pledge to the Board of Pharmacy        14   OARRS data.
     15   that these will not become public documents.         15          Did I get that right?
     16   So we do not print them, and we do not put them      16      A. The office has, yes.
     17   in our file.                                         17      Q. Okay. And when they --
     18      Q. So is it your testimony there's no             18      A. Me and other designees.
     19   mechanism to segregate that information from         19      Q. When they -- did they did -- did --
     20   the file?                                            20   when they did that, did they print it out, or
     21          MR. BADALA: Objection to form.                21   did they make records of the OARRS data in
     22          THE WITNESS: I don't know -- I mean           22   order to do that analysis?
     23   it seems to me like there would be, but I don't      23      A. I can only say what I did, which is
     24   know that we've done that.                           24   I looked at it and generated, you know, reports
     25          BY MR. CHEFFO:                                25   around that. But I did not print any of that

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      1   out.                                             1     didn't choose to look at that.
      2     Q.    So -- so tell me what you did.           2            And our crisis, as it was evolving,
      3          Like what -- did you look at each         3     was initially with heroin when we detected it
      4   case, and then you went back, and you            4     and subsequently fentanyl.
      5   determined if there was an OARRS report?         5            Cocaine hadn't really changed over
      6      A. We took the list of decedents --           6     this period of time. And its relationship to
      7   well, let's take 2013. We would take that list   7     previous prescribing opioid pain relievers
      8   of decedents and send that to the Board of       8     wouldn't imply creating an addicted population
      9   Pharmacy with our information -- identifying     9     of narcotics folks, opioid pain relieve or
     10   information and ask them, "Do you have an OARRS 10     opioid dependent people. So we didn't look at
     11   report on this individual?"                     11     it.
     12          And they would supply us with a          12         Q. What about methamphetamine; did you
     13   yes-or-no answer and then the OARRS data that   13     ask for OARRS data about people who overdosed
     14   we could then go back and analyze for           14     on meth?
     15   prescribing so that -- did they have an OARRS   15         A. No. For the same reason. It's a
     16   file, what was prescribed, was there evidence   16     stimulant. So we wouldn't know the relevance
     17   of doctor shopping.                             17     of OARRS data for the opioids with that regard.
     18          And we would not print those out, as     18            Amphetamine is a controlled
     19   I said. I didn't print them out myself.         19     substance that we could have gleaned from OARRS
     20      Q. Yeah. Okay, Doctor.                       20     data. But our methamphetamine deaths, as I
     21          So you didn't print them out, but        21     say, you know, have been somewhere in the 10 to
     22   somebody printed them out and sent them to you? 22     25 range for a long time. So that isn't, you
     23          Is that what you're telling us?          23     know, the crisis that was really glaring at us
     24      A. No. That's not what I'm saying at         24     in terms of solving that.
     25   all.                                            25         Q. Well, you said fentanyl was a
                                                 Page 135                                                  Page 137
      1      Q. You said you sent a list to the              1   crisis, right?
      2   Board of Pharmacy, right?                          2       A. Fentanyl became a crisis, yes.
      3      A. Right.                                       3       Q. Right.
      4      Q. And you asked them, "Are there" --           4           And --
      5   "Are there any OARRS reports for any of the        5       A. Not on this graph that you're
      6   people on the list," right?                        6   showing me.
      7      A. Right.                                       7       Q. At the graph I'm looking at, it --
      8      Q. And -- and the list included                 8   it looks like it's the lowest of the -- the
      9   everybody who had a drug overdose.                 9   five drugs.
     10      A. Right.                                      10           So when did fentanyl become a
     11      Q. And --                                      11   crisis?
     12      A. Well, we were looking at heroin             12       A. We become aware of fentanyl as a
     13   overdoses and fentanyl --                         13   crisis I would say 2015, 2016. But --
     14      Q. Okay.                                       14       Q. But when was it --
     15      A. -- overdoses.                               15       A. -- one of the things --
     16      Q. What about cocaine?                         16       Q. Sorry. Go ahead.
     17      A. Not an opioid, so it wasn't as              17       A. If I could finish.
     18   relevant to us to go back and look at the         18       Q. Yeah.
     19   controlled substance data.                        19       A. One of the things, you know, that
     20      Q. Why wasn't looking at control --            20   you have to understand is we're doing
     21   cocaine relevant to find out if they had an       21   retrospective looks. And this rise to 37 in
     22   OARRS report?                                     22   2014, we really, in retrospect, and I think
     23      A. The mechanism of cocaine is                 23   even at the time, were concerned that's the
     24   fundamentally different than the opioids, be      24   start of our fentanyl crisis. It's just it
     25   they heroin or the opioid pain relievers. We      25   hadn't really overwhelmed us to the same extent

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      1   that having 399 deaths in 2016 or 492 deaths in       1      A. 20 -- 2006 is a -- an unusual year
      2   2017 did.                                             2   for fentanyl. Because there was a distribution
      3      Q. Well, what about -- why wasn't the              3   of pharmaceutical fentanyl around the Great
      4   cocaine a crisis when it was probably in              4   Lakes. So we had a -- a unusually high number
      5   2013 -- I don't know. What's the number? --you        5   that year.
      6   know, 30 times more, 20 time -- 25 times more?        6      Q. But it was still less by orders of
      7          Was cocaine a crisis over fentanyl?            7   magnitude than cocaine and heroin, right?
      8          You had five case of fentanyl in               8      A. Right. It was just higher at that
      9   2013; you had 116 cases in -- in -- of cocaine,       9   number.
     10   right.                                               10      Q. Okay. So the crisis you believe was
     11          Was cocaine a crisis?                         11   identified and -- and occurred in 2 -- after
     12          MR. BADALA: Objection to form.                12   2015 for fentanyl?
     13          THE WITNESS: Again, cocaine hasn't            13      A. Fentanyl I would say the crisis was
     14   changed acutely.                                     14   identified in 2016, 2017.
     15          MR. CHEFFO: That's not --                     15      Q. Okay. Now, let's go back to your
     16          THE WITNESS: I think --                       16   request for OARRS data.
     17          MR. CHEFFO: -- my question.                   17          You looked at what year when you
     18          THE WITNESS: -- it's a problem, but           18   went to the Board of Pharmacy?
     19   I wouldn't necessarily say that the crisis here      19          Was it a single year?
     20   had overwhelmed our capacity to respond to it.       20      A. We collect on -- we're in an ongoing
     21          BY MR. CHEFFO:                                21   collection of OARRS data. We -- I should say
     22      Q. Did -- did the five cases of                   22   that we started getting data from Board of
     23   fentanyl overwhelm your ability?                     23   Pharmacy with regard to OARRS for 2012 year.
     24      A. No.                                            24   We continued to have access to OARRS as a
     25      Q. Did the --                                     25   coroner medical examiner, access. And just
                                                    Page 139                                                 Page 141
      1      A. And I -- I would say, you know, this            1   because we've had so many deaths, just --
      2   isn't really where we're looking at the               2      Q. I'm listening. Go ahead.
      3   fentanyl phase of the opioid crisis. So, you          3      A. Are you? Okay.
      4   know, the graph goes on beyond 2014 and rises         4          Just because we've had so many
      5   dramatically for fentanyl in '15, '16, '17, and       5   deaths, we have fallen behind in our ability to
      6   remains up in '18.                                    6   look at OARRS data. But we've made our efforts
      7      Q. So '15, '16, '17, that's when the --            7   to stay as current as we can.
      8   the fentanyl crisis was?                              8          It's just that personnel-wise we
      9      A. It's evolving over timing. So as I              9   don't have people. We just hired an
     10   look back, I say, you know, this 2014 data is        10   epidemiologist into our office to sort -- to
     11   probably where, you know, retrospectively I can      11   sort out some of these look-backs. Because our
     12   say that's starting the crisis here.                 12   existing staff has really just been dedicated
     13           Because the bulk of these 37 deaths          13   to our primary mission. And our ability to
     14   were actually in the last two months of that         14   keep up with some of these things just really
     15   year. And it rose -- nearly tripled in 2015,         15   wasn't --
     16   nearly tripled again in 2016.                        16      Q. Okay.
     17      Q. Okay.                                          17      A. -- possible.
     18      A. And that's where our resource get              18      Q. I want to ask some very just basic
     19   overwhelmed.                                         19   document questions. Okay?
     20           But, you know, if you're telling me          20          That's where I'm --
     21   in 2013 five deaths is a fentanyl crisis, I          21      A. Okay.
     22   would say that wasn't really our thinking at         22      Q. -- I'm going.
     23   the time.                                            23          Am I right that, since 2012, you
     24      Q. And that would be true for any year            24   have sent the Board of Pharmacy a list of all
     25   prior to that, right?                                25   overdose deaths and asked them to provide

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      1   information about whether there is or was an          1          So when that wasn't clear -- I think
      2   OARRS report?                                         2   over time they realized that this was
      3      A. Yes.                                            3   potentially very useful information -- they
      4      Q. Did it occur prior to 2012?                     4   give us a body of deidentified data
      5      A. Or I'm sorry. You know, I -- I -- I             5   electronically for the 2012 overdoses.
      6   misspoke there.                                       6      Q. Do -- do some people in your office
      7          In 2012 we asked about an OARRS file           7   print out OARRS reports as part of their
      8   specifically on our heroin overdose deaths.           8   investigation or autopsies?
      9   And that would continue to now.                       9      A. I don't know.
     10          And then I don't remember when, but           10      Q. Okay.
     11   we have access to OARRS, and the intention is        11      A. I -- I've seen printed OARRS
     12   to be able to look at our overdose deaths with       12   reports, I can say. But whether that's a
     13   fentanyl as well as heroin.                          13   routine, I don't know.
     14      Q. Okay. And I want to talk about                 14      Q. Do you know the circumstances about
     15   documents now, Doc. Just -- I'm just talking         15   whether they are printed?
     16   about the documents, what the requests are made      16      A. No.
     17   and -- and where they are.                           17      Q. Do you know if they're kept in any
     18          So from -- when the requests were             18   uniform way?
     19   made for OARRS information from the Board of         19      A. I'm not aware --
     20   Pharmacy, and they -- certain information was        20          MR. BADALA: Objection to form.
     21   sent back from the Board of Pharmacy to your         21          THE WITNESS: -- of any OARRS file
     22   office, correct?                                     22   that we have on our decedents.
     23      A. For a period of time. I mean now we            23          BY MR. CHEFFO:
     24   have our list of decedents; we have access to        24      Q. If somebody has only cocaine as part
     25   OARRS; and we can go and do our own searches.        25   of their toxicological assay, and it's listed
                                                    Page 143                                               Page 145
      1   We don't have to have the intermediate step of        1   as the cause of death, is an OARRS report or
      2   having --                                             2   query done?
      3      Q. Right?                                          3      A. If it was just a straight overdose
      4      A. -- pharmacy approve.                            4   with cocaine, we would not do an OARRS check on
      5          In fact, you know, as I sit here,              5   that. We started with the heroin overdoses,
      6   the only year I really remember us having that        6   and then we added the fentanyl overdoses when
      7   need to have pharmacy provide the data us to          7   they became more significant.
      8   was 2012. And we got access in 2013 because           8           We do send a list of our
      9   there was a lot of back and forth about why we        9   prescription opioid deaths where they appear on
     10   needed access.                                       10   the death certificate to the Department of
     11      Q. Uh-huh.                                        11   Health. But I don't know, beyond that, what
     12      A. And that was transmitted                       12   they do in terms of looking into OARRS data or
     13   electronically from pharmacy to us. It was           13   not.
     14   deidentified in some regards.                        14      Q. And why is it that you don't do an
     15          Beyond that, 2013, we get access to           15   OARRS report in connection with a -- a cocaine
     16   OARRS. And it's a database; it's a web site.         16   death?
     17   We can go and look up our own cases.                 17      A. For the reasons that I mentioned
     18          So I don't know, as I sit here                18   before. Our cocaine deaths have been stable
     19   today, whether they were actually sending            19   over a period of time. So we're trying to
     20   electronic files after 2013. They did for 2012       20   respond to the crisis to design public health
     21   because there was the issue about whether, as        21   interventions to reduce deaths related to
     22   an office, the medical examiner, because I           22   initially heroin and then fentanyl.
     23   don't have a prescription -- pardon me -- a DEA      23           The relationship pharmacologically
     24   number to prescribe narcotics, whether I was         24   between opioid pain relievers, heroin and
     25   going to get access to OARRS.                        25   fentanyl, is clear. They act on the same

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                                                  Page 146                                                 Page 148
      1   receptor in the brain. Cocaine does not.            1   certification.
      2          So seeing whether somebody with              2          BY MR. CHEFFO:
      3   cocaine had an opioid pain reliever                 3      Q. So is it your testimony that your
      4   prescription before, I don't know how that          4   investigators don't check OARRS reports as a
      5   would inform a public health initiative in          5   matter of course with respect to fentanyl or
      6   terms of drug drop boxes or trying to get           6   heroin or other opioid overdoses?
      7   people to have less access to the opioid pain       7          MR. BADALA: Objection.
      8   relievers.                                          8          THE WITNESS: My scene
      9      Q. So, Doctor, putting aside what other          9   investigators?
     10   uses, there -- OARRS -- in your -- when you're     10          BY MR. CHEFFO:
     11   doing an individual autopsy -- let's just talk     11      Q. Yeah.
     12   about you as a forensic doctor doing an            12          Anyone who is involved in the
     13   autopsy.                                           13   autopsy and the report, is it part of their
     14          There is a reason why you do an             14   standard practice and procedures or not?
     15   OARRS query in some cases in order to determine    15          MR. BADALA: Same objection.
     16   or help you assist in your investigation and       16          THE WITNESS: I think you're
     17   preparing your report; is that fair?               17   confusing me.
     18      A. That would be very rare, if -- I             18          The autopsy is kind of what I do at
     19   can't remember ever doing it to finish a death     19   the autopsy table. The investigation is the
     20   investigation, which -- by "finish" I would        20   sum --
     21   say, you know, write a cause of death, death       21          MR. CHEFFO: Okay.
     22   certificate, issue a final of report. These        22          THE WITNESS: -- of things to get to
     23   were more retrospective looks after we had         23   that point where I write a death certificate.
     24   certified deaths.                                  24          And we are not checking OARRS
     25      Q. What about as part of the                    25   reports at that time usually. There may be
                                                  Page 147                                                 Page 149
      1   investigation?                                      1   exceptions where we do, like the case I
      2          So, for example, let's assume                2   mentioned.
      3   someone had an overdose of fentanyl.                3          Most of the checks that we've done
      4          Would it be kind of standard                 4   on OARRS have been done retrospectively after
      5   practice for -- you were the investigator, and      5   deaths were certified. And that's just the way
      6   there was no indicia, you know, at the -- the       6   our staff is, you know, able to do that.
      7   site of death --                                    7          Those checks, you know, are done by
      8      A. Right.                                        8   delegates. And I believe one of my delegates
      9      Q. -- to determine whether this person           9   is a senior investigator. But most the
     10   had a prescription for fentanyl or whether         10   investigators do not do that. And they
     11   there was no prescription so that the              11   certainly wouldn't be doing it at the time of a
     12   assumption might be that it was a synthetic.       12   scene investigation.
     13          Is that part of your investigation?         13          Or, you know, just the work flow in
     14          MR. BADALA: Objection to form.              14   our office, to go from scene investigation,
     15          THE WITNESS: I have to say, you             15   usually autopsy is the next day or within a day
     16   know, when we're on scene at a death, it may       16   or two of that. We wouldn't be checking OARRS
     17   look like an overdose. We don't have that          17   in that time frame.
     18   degree of specificity what might be involved       18          BY MR. CHEFFO:
     19   there. You know, I don't know if it's opioids,     19      Q. So let -- let me see if I
     20   cocaine. It may be just powder there.              20   understand. I think I do.
     21          And, you know, checking an OARRS            21          What you're saying to us is that
     22   report at that time would be really premature      22   OARRS reports may be queried, and it's
     23   and just -- you know, we're already strained on    23   primarily for retrospective public health
     24   resources. I -- I think we have to kind of         24   reasons, but they're typically not queried --
     25   make our best use, which is after                  25   or the OARRS database is not queried in

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                                                   Page 150                                                 Page 152
      1   connection with a death investigation or             1          MR. CHEFFO: Both.
      2   creation of an autopsy report.                       2          THE WITNESS: In term of
      3           Is that fair?                                3   certification of death, I -- I don't think it
      4      A. It would be the rare instance where            4   would be very relevant. In terms of public
      5   we would do that. It's more retrospective            5   health interventions, yeah, doctor shopping is
      6   look. And again, the targeted purpose of that        6   something we should be trying to monitor and
      7   is to design interventions to try to address         7   pick up.
      8   the number of people who are dying.                  8          BY MR. CHEFFO:
      9      Q. So in order to determine, for                  9      Q. And if you -- if you did an OARRS --
     10   example -- is checking the OARRS database one       10   someone spent the five minutes or so doing an
     11   way that you would determine whether someone        11   OARRS check in connection with overdoses
     12   was doctor shopping?                                12   involving heroin or fentanyl or other opioids,
     13      A. Yes.                                          13   and you identified doctor shopping, you would
     14      Q. And -- and that's not typically done          14   presumably refer that to the appropriate
     15   at the time of death or when you're doing your      15   authorities?
     16   investigation or autopsy report; is that right?     16      A. Right. As I mentioned before, when
     17      A. That's right.                                 17   we identify doctor shopping, we don't refer the
     18      Q. And can you see a benefit of doing            18   prescribers, we refer the decedent to the Board
     19   it at that time?                                    19   of Pharmacy for further investigation.
     20      A. I mean the sooner you identify it,            20      Q. You would agree that not every
     21   the better. But it comes down again to              21   person who has overdosed on heroin has ever
     22   resources in our office. I don't have -- you        22   taken a -- in Cuyahoga County has taken a
     23   know, we're overwhelmed with everything that's      23   prescription medicine, right?
     24   going on in a lot of ways.                          24      A. I don't know for certain, but I
     25           So, you know, asking people to do           25   suspect that's true.
                                                   Page 151                                                 Page 153
      1   that at the time of investigation would result   1          Q. If you wanted to -- to know that,
      2   in us doing a lot of OARRS checks on people who 2        you would look at the OARRS database?
      3   don't have heroin or fentanyl in their system.   3              That would be one way?
      4   We would be guessing, you know, what drug was    4          A. The ideal way is actually to ask the
      5   potentially involved.                            5       person, but obviously we can't do that. So one
      6       Q. Not my question though.                   6       of the things that we try to do is to go back
      7           So let's -- let's talk about heroin      7       and look at the OARRS database to see if they
      8   or fentanyl or an overdose involving an opioid.  8       had been prescribed. It's the best data we
      9   Okay?                                            9       could get.
     10       A. Sure.                                    10              Family might be another source of
     11       Q. How long does it take to do an -- to     11       information that we may be able to tap into as
     12   -- a -- a check for OARRS?                      12       well.
     13           MR. BADALA: Objection to form.          13          Q. Do you have any mechanism to look
     14           THE WITNESS: To check the system?       14       for whether someone was receiving drugs, opioid
     15           MR. CHEFFO: Uh-huh. Yes.                15       medicines from a -- a pill mill?
     16           THE WITNESS: I haven't done it in a     16              MR. BADALA: Objection to form.
     17   little while. It usually -- you know, minutes.  17              THE WITNESS: Within the Medical
     18           BY MR. CHEFFO:                          18       Examiner's Office, not directly. That would be
     19       Q. And if -- if you determined that --      19       more of a law enforcement function.
     20   if it was done and you determined that that     20              BY MR. CHEFFO:
     21   person had been doctor shopping, would that be  21          Q. Well, wouldn't OARRS tell you?
     22   important information to have?                  22          A. I would have prescriber names. But
     23           MR. BADALA: Objection to form.          23       whether those individuals were running a pill
     24           THE WITNESS: In the death               24       mill, I wouldn't be able to necessarily tell
     25   investigation or just in general?               25       that from the OARRS data.

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                                                Page 154                                                  Page 156
      1      Q. Wouldn't there be anything that           1              MR. BADALA: Objection to form.
      2   would raise a suspicion?                        2            THE WITNESS: I -- I believe so.
      3           MR. BADALA: Objection to form.          3     And I think, you know, the entry of fentanyl
      4           THE WITNESS: Again, the criteria        4     into the African-American population coincided
      5   that we used for our reporting I think were     5     with seeing more mixtures of fentanyl and
      6   things that we identified as potentially        6     cocaine. And cocaine was a drug that we
      7   suspicious.                                     7     traditionally saw more in the African-American
      8           BY MR. CHEFFO:                          8     population.
      9      Q. Well, if you were to look at OARRS        9            So again, I can't -- can't talk to
     10   data, and you were to see prescriptions being 10      the guy after they've passed away. But, you
     11   filled from the same doctor or facility, pill  11     know, that certainly suggested to us that the
     12   mill, and you saw, you know, every -- every 12        infiltration of fentanyl into the cocaine
     13   week new prescriptions that appeared to you to 13     market was pushing mortality and may have been
     14   be well beyond customary doses or frequency, 14       something that these folks were not expecting.
     15   isn't that how you might identify a pill mill? 15            We did issue an alert to that effect
     16           MR. BADALA: Objection to form.         16     from our office.
     17           THE WITNESS: I don't know. I...        17            BY MR. CHEFFO:
     18           BY MR. CHEFFO:                         18        Q. And in that situation, if that did
     19      Q. Do you have any idea how you might 19           occur, that would be listed as both a cocaine
     20   identify pill mill activity?                   20     and fentanyl death?
     21      A. As I say, it's more of a law             21        A. Again, you know, I'd have to see the
     22   enforcement function, I would think.           22     sum of the investigation. But we have
     23      Q. So the answer is no, that's not in       23     certified deaths like that as a combined
     24   your expertise?                                24     cocaine and fentanyl overdose.
     25      A. No. I wouldn't say so.                   25        Q. And -- and if someone takes their
                                                Page 155                                                  Page 157
      1       Q. Do you think that detection of             1   life and commits suicide by overdose, is --
      2   illicit fentanyl is -- is undercounted and        2   is -- is -- is that counted as a opioid death
      3   underreported?                                    3   if it involved, in whole or part, opioids?
      4       A. I don't know. It may be.                   4       A. We would count it as a -- an opioid
      5       Q. Are you aware of situations where          5   death. For this data we tried to I think look
      6   there have been decedents who purchased or --     6   at our accidental deaths, as I understand it.
      7   or used what they believed was cocaine and it     7   We didn't use the suicide designations.
      8   was laced with another chemical, like             8       Q. Are you -- are your -- you're aware
      9   carfentanil or fentanyl?                          9   of how your office counts and treats suicide
     10           MR. BADALA: Objection to form.           10   deaths from -- from overdose, correct?
     11           THE WITNESS: We -- we can only           11       A. Yes.
     12   infer that. But short of asking them what they   12       Q. Is it consistent with what the --
     13   were intending to use, I can't say that with     13   the state Department of -- of Health does, or
     14   certainty.                                       14   do you vary in how you count suicides?
     15           BY MR. CHEFFO:                           15       A. I don't know what the state
     16       Q. Well, I mean even anecdotically, is       16   Department of Health does. Our practice is in
     17   that something in your work that -- that's in    17   keeping with, you know, our professional
     18   your conversations with law enforcement and      18   organization and standards, that they are
     19   family and investigation reports?                19   recommendations they make.
     20           You know, someone says, "I talked to     20           And I'm not aware of the state
     21   Johnny, who was there. We thought we were        21   promulgating standards about suicide and
     22   using cocaine. We had no idea we were using      22   determination of suicide.
     23   fentanyl."                                       23       Q. What -- what professional
     24           Has anything like that come up in        24   organizations do you follow with respect to how
     25   Cuyahoga County?                                 25   you treat an account for suicides?

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                                                   Page 158                                                  Page 160
      1      A. There are guidelines from the                  1          THE VIDEOGRAPHER: We are back on
      2   National Association of Medical Examiners with       2   the record.
      3   regard to death certification. And I think,          3          This is the beginning of Media Unit
      4   you know, we're all familiar with those in the       4   No. 3.
      5   office, myself and the other certifiers.             5          The time is 12:11.
      6      Q. Any other promulgating entities or             6          You may proceed, Counsel.
      7   rules?                                               7          BY MR. CHEFFO:
      8      A. That's probably the guiding one, I'd           8      Q. Now, Doctor, earlier you -- you
      9   say, on a lot of things. There's papers              9   mentioned -- you brought up a person by the
     10   written about, you know, death certification.       10   name of Carole Rendon.
     11   And I would say, you know, some of that can be,     11          Do you remember that?
     12   you know, in the common knowledge.                  12      A. Yes, I do.
     13          But I think, as a document, the              13      Q. Who is she?
     14   classification of manners of death is probably      14      A. She is our U.S. Attorney. She was
     15   the one that's most often used.                     15   the deputy -- or sorry -- the first deputy when
     16      Q. Do you know in -- whether you                 16   I met her. Then she became U.S. Attorney.
     17   account for, from a statistics perspective,         17          And now Justin Hurdman is our
     18   overdose deaths by suicide in the same way that     18   attorney. So I -- I've had three since I got
     19   Summit County does?                                 19   here.
     20          MR. BADALA: Objection to form.               20      Q. And how many times did you meet with
     21          THE WITNESS: I don't know.                   21   her?
     22          BY MR. CHEFFO:                               22      A. Oh, any number of times. I mean she
     23      Q. Do you know -- do you have any                23   would be chairing the task force. I -- yeah.
     24   visibility or insight into how Summit, Akron or     24   We'd chat with her.
     25   Cleveland operates their medical examiner           25          MR. PORTER: Excuse me. The phone
                                                   Page 159                                                  Page 161
      1   offices?                                             1   are still muted.
      2           MR. BADALA: Objection to form.               2          MR. CHEFFO: Sorry. Thank -- thanks
      3           THE WITNESS: Cleveland does not              3   for that. We apologize.
      4   have a Medical Examiner's Office. That's             4          BY MR. CHEFFO:
      5   Cuyahoga County. So their practice would be          5      Q. And what about in connection with --
      6   the same as the county. They don't maintain a        6   did -- did you -- did you testify or indicate
      7   separate agency.                                     7   that you -- you -- you met with her and -- and
      8           Summit County, I speak to Dr.                8   other federal prosecutors in connection with
      9   Koehler, but I don't know the details of that        9   strategies for drug prosecutions?
     10   part of her practice.                               10      A. We did meet. Yes, we did.
     11           MR. BADALA: Mark, if you think it's         11      Q. How many times?
     12   a good time. About an hour and a half. We're        12      A. With Carole, specifically around
     13   a little over noon. I --                            13   that topic, I remember meeting a first time,
     14           MR. CHEFFO: Yeah.                           14   and we discussed those issues. We subsequently
     15           MR. BADALA: I don't know if lunch           15   wrote a paper with another one of the U.S.
     16   is here and we can maybe break for lunch now        16   Attorneys for my professional journal about
     17           MR. CHEFFO: We can do -- I --               17   prosecutions.
     18           MR. BADALA: If that makes sense.            18          So we could talk about, you know,
     19           MR. CHEFFO: So yeah. I'm fine with          19   the strategy behind what -- it came to kind
     20   that. I actually -- let's go off the record.        20   of -- you know, my understanding changed, you
     21           THE VIDEOGRAPHER: We -- we are              21   know, as to what their standards were. And I
     22   going off the record.                               22   think their understanding about what the
     23           This is the end of Media Unit No. 2.        23   medical examiner could and could not say in a
     24           The time is 12:03.                          24   death specification overdose case also changed.
     25           (A short recess was taken.)                 25          So we -- we -- I -- I decided it

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                                                    Page 162                                                   Page 164
      1   would be a good thing to put out for my               1      A. I just -- I heard "other U.S.
      2   professional community. And Carole and -- the         2   Attorneys" too.
      3   other fellow's name was Joe Pinjuh -- were very       3      Q. Where -- when you discussed the
      4   helpful in --                                         4   prosecutions, were they for specific pending
      5      Q. Okay.                                           5   cases, or did you speak in general terms?
      6      A. -- that part of the process.                    6          MR. BADALA: Objection to form.
      7      Q. Doctor, I'm going to ask that you               7          THE WITNESS: Both.
      8   listen to my questions.                               8          BY MR. CHEFFO:
      9          I asked you specifically how many              9      Q. Okay. And were they against
     10   times did you meet with Ms. Rendon in                10   individuals?
     11   connection with the prosecution. And I think         11      A. I don't remember the details of the
     12   you told me you remembered one, and then there       12   case we discussed. But there was upcoming
     13   were subsequent --                                   13   prosecution.
     14      A. Well, I -- I'm sorry.                          14      Q. Were they any of the defendants in
     15      Q. No.                                            15   this case?
     16      A. Finish your question.                          16      A. No. No, they were not. That's my
     17      Q. Is it one?                                     17   understanding, I should say. I don't know for
     18      A. In answering your question, what I'm           18   certain who we were talking about. But I
     19   saying is we met once, I remember specifically,      19   didn't have the understanding they were the
     20   to discuss --                                        20   defendants in this case.
     21      Q. Okay.                                          21      Q. And how many times did you meet with
     22      A. -- you know, prosecutions. We met              22   Ms. Rendon and other members of the U.S.
     23   subsequently to talk about the publication of        23   Attorney's Office outside of the context of the
     24   that article, which is very much related to          24   Heroin and Opioid Task Force?
     25   prosecutions.                                        25      A. I don't remember.
                                                    Page 163                                                   Page 165
      1           And in terms of other U.S.                    1      Q. Is it more than one?
      2   Attorneys --                                          2      A. Yes.
      3      Q. That's --                                       3      Q. Is it more than five?
      4      A. -- I've met with a handful of them              4      A. I don't remember.
      5   about drug prosecutions, not Carole at that           5      Q. What -- what specifically do you
      6   time.                                                 6   remember?
      7      Q. That -- that -- I mean I'm -- this              7      A. I remember our meeting, which was at
      8   line of questioning I'm asking you just about         8   the Medical Examiner's Office, to talk about
      9   Ms. Rendon because I want to try and get              9   the prosecution of opioid deaths. I remember
     10   that --                                              10   meeting with U.S. Attorney's Office, including
     11           MR. BADALA: Just to be clear, Mark,          11   Carole, I believe, to talk about a custody
     12   you didn't say that.                                 12   death. It wasn't related to opioids. I don't
     13           MR. CHEFFO: I did.                           13   remember other meetings. I just -- I can't
     14           MR. BADALA: No, you didn't. You              14   remember them.
     15   said Carole and other attorneys.                     15      Q. Do you remember having a meeting
     16           MR. CHEFFO: Okay.                            16   about the Supreme Court's decision in the
     17           MR. BADALA: You said that. Just to           17   Burrage versus United States case?
     18   be clear.                                            18      A. Yes.
     19           BY MR. CHEFFO:                               19      Q. What was that about, the case?
     20      Q. I'm going to ask you questions about           20      A. We were talking about the
     21   Ms. Rendon, if you need to answer in any other       21   prosecution of opioid-related deaths as they
     22   way. But that's what I'm going to focus on so        22   would refer back to a distributor or dealer and
     23   we can kind of get through this and -- and --        23   the -- the burden of proof that they were
     24      A. Sure.                                          24   required to meet in those kind of prosecution.
     25      Q. -- to --                                       25          And from my side, I was talking to
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                                                    Page 166                                                 Page 168
      1   them about the interpretation of toxicology           1   the room. The discussions I had subsequent
      2   findings that would potentially have an impact        2   with Carole Rendon with regard to our
      3   on meeting that burden of proof.                      3   publication, Joe Pinjuh would have been
      4      Q. And -- and is it your recollection              4   involved in them as a coauthor. But who was in
      5   that, during that meeting, the U.S. Attorney's        5   that room I honestly do not remember.
      6   Office and -- and the lawyers there provided          6      Q. Was it just her, or do you remember
      7   your office with information about that case,         7   there being other people there?
      8   Burrage versus the United States?                     8      A. I seem to remember other people were
      9      A. They discussed it. They would have              9   there. It wasn't just Carole and I sitting
     10   mentioned it. I don't know that they handed me       10   there.
     11   a -- pardon me -- a decision. I did                  11      Q. Was Mr. Shannon there?
     12   subsequently get a copy of that and read it,         12      A. I don't remember who was actually
     13   but I don't remember if it was around that time      13   there.
     14   or not.                                              14      Q. And after that meeting, is that when
     15      Q. I mean it's fair to say you weren't            15   you decided to coauthor an article with Ms.
     16   providing them information about a legal case,       16   Rendon and Mr. Pinjuh?
     17   were you?                                            17      A. No.
     18          MR. BADALA: Objection to form.                18      Q. You had decided to talk -- to write
     19          THE WITNESS: Boy, that would be               19   an article about the -- the Burrage decision
     20   scary. No, it was not.                               20   prior to that?
     21          BY MR. CHEFFO:                                21      A. Oh, oh, I'm sorry. I thought you
     22      Q. And -- and have you ever heard of              22   meant like right after that meeting did we
     23   Craig Tame?                                          23   decide to --
     24      A. Yes, I have.                                   24      Q. Well, at some point after it, right?
     25      Q. Who is he?                                     25      A. At some time after that, yes. It
                                                    Page 167                                                 Page 169
      1      A. He is one of the U.S. Attorneys.                1   wasn't right afterwards though. I'm sorry. I
      2   And I've interacted with him in his capacity on       2   misunderstood you.
      3   the task force, especially the U.S. Attorney's        3       Q. And it was published in a -- a
      4   task force.                                           4   journal that's available to the public?
      5      Q. And what about Mike Tobin; have you             5       A. Yes.
      6   heard of him?                                         6       Q. That's the -- the Journal of
      7      A. Yes, I have.                                    7   Forensic Examiners, right?
      8      Q. And who is he?                                  8       A. It's the journal called Academic
      9      A. Mike is another one of the U.S.                 9   Forensic Pathology.
     10   Attorneys. I know he does a lot of the kind of       10       Q. And -- and it's for forensic
     11   media outreach and things. I don't know              11   examiners though, right?
     12   exactly what his role is in the office.              12       A. It's for death investigators.
     13          I don't really know what Craig's is           13   It's -- at the time it was the official journal
     14   either. Just I know them to be in the U.S.           14   of the National Association of Medical
     15   Attorneys office. But I do know both of them.        15   Examiners.
     16      Q. And do you know who Joe Pinge --               16       Q. And the purpose of -- of that
     17   Pinjuh is?                                           17   article was to share to the public the
     18      A. Yes, I do. He was actually the guy             18   information that the members of the attorneys
     19   I mentioned as the third author on the paper         19   generals' office had provided to you in
     20   that Carole Rendon and I wrote for my                20   connection with the -- the Burrage case; is
     21   professional journal.                                21   that right?
     22      Q. And were Mr. Tame, Mr. Tobin and Mr.           22           MR. BADALA: Objection to form.
     23   Pinjuh present when you met with Ms. Rendon          23           THE WITNESS: I -- I think it was to
     24   during your discussion of the Burrage case?          24   address, you know, what we found was an
     25      A. I don't remember who was present in            25   interesting discussion in that the burden of
                                                                                             43 (Pages 166 - 169)
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                                                    Page 170                                               Page 172
      1   proof for a death specification prosecution on        1   and I've been pretty good.
      2   the federal level wasn't something I was aware        2      Q. The -- the task included doctors,
      3   of.                                                   3   right?
      4          And I thought that my colleagues               4      A. There were some doctors there.
      5   would be interested in knowing that burden of         5   Representative of the major hospitals would be
      6   proof and how it would relate to our                  6   there.
      7   interactions.                                         7      Q. Elected officials?
      8          Because at this time, you know, our            8      A. Doctors. I would say, you know,
      9   county is becoming, in a lot of ways, a model         9   Ph.D.-level people level as well.
     10   for a lot of responses to the opioid crisis.         10          I've -- are you talking about
     11   And, you know, other U.S. Attorney's offices I       11   physicians?
     12   think were looking at the prospect of doing          12      Q. Either way.
     13   these prosecutions.                                  13          I mean tell me if this is fair: The
     14          And I felt my colleagues would                14   task force included doctors, elected officials,
     15   probably be interacting with them as well, and       15   educators, individuals in recovery, and other
     16   it would be a useful article to kind of              16   private citizens.
     17   acquaint them with, you know, here's what's          17          MR. BADALA: Objection to form.
     18   kind of driving the strategy behind those            18          THE WITNESS: I didn't know that
     19   prosecutions.                                        19   there were specific people present as private
     20      Q. Right.                                         20   citizens. But obviously we -- the majority of
     21          So the sum and substance was there            21   us are citizens within Cuyahoga County.
     22   was this Supreme Court case, and the -- the          22          BY MR. CHEFFO:
     23   prosecutors came in and -- and shared                23      Q. And did you regularly share
     24   information to you; you found that interesting       24   information -- you or your office share
     25   and thought that that would be interesting,          25   information with the task force regarding
                                                    Page 171                                               Page 173
      1   that others in your position might find               1   opioid abuse issues and statistic?
      2   interesting and useful; and that's why you then       2      A. We have a designated time in most of
      3   decided as a group to coauthor a piece.               3   the task force meetings to present data like
      4          Isn't that the sum and substance of            4   this kind of graph that I have in front of me
      5   what happened?                                        5   and what we're seeing.
      6          MR. BADALA: Objection to form.                 6          There may be other information from
      7          THE WITNESS: I think that's a fair             7   the crime laboratory that we also oversee that
      8   statement on my end, that I wanted to kind of         8   might get presented there as well.
      9   bring that message to my colleagues who might         9      Q. Would that include trends and other
     10   not be familiar with it, as I wasn't familiar        10   information that you were seeing?
     11   really before we had discussed strategies, in        11      A. Sure. Yes, it would.
     12   terms of their needs for prosecution.                12      Q. And that would be presented to the
     13          BY MR. CHEFFO:                                13   entire group, right?
     14      Q. And the goal was to publicize this             14      A. Yes, it would.
     15   information because you thought it was               15      Q. And if you saw things about an
     16   interesting from a public perspective to have        16   advent or an increase in carfentanil or
     17   that and useful, right?                              17   adulterated drugs or things that you were
     18      A. A potential useful thing for                   18   seeing that you thought would be informative
     19   somebody in my shoes in another jurisdiction.        19   for the public and others to know, that would
     20      Q. Did you and Mr. Shannon routinely              20   be the type of thing that you would report on,
     21   attend meetings of U.S. Attorney's Heroin and        21   correct?
     22   Opioid Task Force?                                   22      A. As it impacted mortality data, yes.
     23      A. He's a better attendee. By that I              23      Q. Uh-huh.
     24   mean Hugh Shannon. I attend as many as I can.        24          And -- and -- and much of this
     25   He's been very consistent in his attendance,         25   information was also being shared in press
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                                                     Page 174                                                  Page 176
      1   releases or publications that you were putting         1          THE WITNESS: The department has
      2   out or putting on your -- your web site in             2   been, yes.
      3   terms of statistics and other data; is that            3          BY MR. CHEFFO:
      4   light?                                                 4      Q. And -- and have you or the
      5      A. Yeah. The press releases I think                 5   department ever retained Ms. Rendon to
      6   would usually be used to address things that we        6   represent you as a lawyer?
      7   had in desire to inform the public about               7          MR. BADALA: Objection to form.
      8   something that was a significant trend.                8          THE WITNESS: I have not. I don't
      9          We have a monthly bulletin, if you              9   -- the department has not.
     10   will, about what we're seeing in the office in        10          BY MR. CHEFFO:
     11   trends. That forms frequently the basis of the        11      Q. And were there multifaceted efforts
     12   presentation at the U.S. attorney's task force.       12   to combat the opioid crisis?
     13   We've discussed it at the Board of Health task        13          MR. BADALA: Objection to form.
     14   force as well. The data is the data.                  14          THE WITNESS: I think, you know, we
     15          But I think we put a lot of                    15   have a lot of people in the county working to
     16   information out. And just -- some of it, you          16   address, you know, what is just a public health
     17   know, targeted towards the public; some of it         17   emergency. So multifaceted. I would look at
     18   targeted to other audiences.                          18   law enforcement, our medical communities, our
     19      Q. But -- but -- but this information              19   medical examiner's office, treatment folks.
     20   was largely available in various forms; either        20   Yeah. Yes.
     21   you had given testimony or press releases or it       21          BY MR. CHEFFO:
     22   was on your web site, right?                          22      Q. And are they still ongoing?
     23          There was no -- this wasn't super              23      A. Yes. Because the crisis is not
     24   secret information, was it?                           24   over.
     25      A. Not this information, no.                       25      Q. And when did they begin?
                                                     Page 175                                                  Page 177
      1      Q. The medical examiner's budget,             1                MR. BADALA: Objection to form.
      2   that's, I take it, a public record?              2                THE WITNESS: When did --
      3      A. Yes. I believe so.                         3                BY MR. CHEFFO:
      4      Q. And -- and as for the Cuyahoga             4            Q. The multifaceted efforts to combat
      5   County medical examine -- examiner, do you know 5          the opioid situation, the crisis, is that
      6   whether you were represented by the law          6         something that's been ongoing for a long time?
      7   department or law director, members of the law   7         a short time?
      8   department?                                      8                When did start?
      9           MR. BADALA: Objection to form.           9                MR. BADALA: Objection to form.
     10           THE WITNESS: The law department         10                THE WITNESS: With my involvement, I
     11   started under the charter. And they have        11         would say, you know, we start when we
     12   represented the office on some issues, which is 12         identified the heroin crisis. And then
     13   a more traditional thing. We've used the        13         activities are, you know, added to that. And,
     14   county prosecutor as our legal representation   14         you know, that continues up to this day.
     15   as well.                                        15                BY MR. CHEFFO:
     16           And that's -- I say -- by say --        16            Q. Can you give me a time frame?
     17   when I say "more traditional," that's the more  17                MR. BADALA: Objection to form.
     18   characteristic relationship in the other        18                BY MR. CHEFFO:
     19   counties in Ohio which don't have a charter     19            Q. Time frame?
     20   reform. But in Cuyahoga County, we have been    20            A. For?
     21   represented by both.                            21            Q. When it started, these multifaceted
     22           BY MR. CHEFFO:                          22         activities.
     23      Q. So -- but you are represented by the      23            A. Well, they've been ongoing with the
     24   law director and members of the law department? 24         different task forces. So, you know, we could
     25           MR. BADALA: Objection to form.          25         go back to 2013 when we would have the poison

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                                                   Page 178                                                  Page 180
      1   death review committee with lots of different        1   that's a risk they are taking.
      2   representation. You know, since then the             2          BY MR. CHEFFO:
      3   summits, both of them, with the U.S. Attorney's      3      Q. Is all of the information in your
      4   office.                                              4   file available to the public?
      5          I'd be reluctant to say, you know,            5          MR. BADALA: Objection to form.
      6   this was the absolute date we started to             6          BY MR. CHEFFO:
      7   address the heroin crisis or the heroin phase        7      Q. When you do a -- an autopsy and --
      8   of the opioid crisis.                                8   report and investigation of a -- of a death?
      9          I don't know firsthand, you know, if          9      A. The autopsy report is a public
     10   there were efforts going on beforehand in the       10   document in Ohio. There's also a verdict that
     11   county. But I'm just not familiar with -- I         11   we generate as a statutory piece. And the
     12   wasn't aware of them particularly.                  12   toxicology report is available at my
     13          Yeah. Best I -- best I could deal            13   discretion. We usually release that.
     14   with that.                                          14          The investigative report is not
     15          MR. CHEFFO: Okay. Break?                     15   considered a public document. But the way the
     16          MR. BADALA: Yeah.                            16   statute is written, in Ohio, next of kin can
     17          MR. CHEFFO: Okay.                            17   have access to any document in our file. So
     18          THE VIDEOGRAPHER: We are going off           18   what they do with that and if they disseminate
     19   the record.                                         19   that publicly, we can't stop.
     20          The time is 12:28.                           20          But the law spells out like
     21          (A lunch recess was taken.)                  21   journalists can't see everything in our file
     22          THE VIDEOGRAPHER: We are back on             22   necessarily. And -- yeah. I think -- hope I
     23   the record.                                         23   answered your question.
     24          The time is 1:14.                            24      Q. You did.
     25          You may proceed, Counsel.                    25          So as a general matter, let's say a
                                                   Page 179                                                  Page 181
      1          BY MR. CHEFFO:                                1   journalist was interested in a particular
      2      Q. Dr. Gilson, you would agree with me            2   death, and they sent a letter -- either just a
      3   that trying to understand or determine the           3   cordial letter under some kind of FOIA, Freedom
      4   intent or reasoning or motivations of someone        4   of Information, saying "We'd like all materials
      5   who was using an opioid who overdosed is             5   in connection with your investigation or review
      6   challenged by the fact that they're -- they've       6   or determination of death for Mr. Smith."
      7   expired, just like you testified earlier with        7          What would they -- what would they
      8   someone who died of a cocaine overdose?              8   typically get?
      9      A. I mean they're intending to use                9          What types of information would they
     10   drugs, for the most part, if I understand your      10   get from your office?
     11   question. I wouldn't think that they were --        11       A. You know, I've worked in different
     12   I'm not sure I understand exactly what you're       12   jurisdictions. And Ohio is a little bit
     13   asking.                                             13   different in that there's a specific journalist
     14      Q. Understanding the questions about             14   exception. So they can view a file, as long as
     15   whether they intend to harm themselves, whether     15   it's not like an open homicide investigation.
     16   they intend to get some type of high, those are     16   They're not permitted to take notes while
     17   questions that are, if not impossible,              17   they're viewing the file.
     18   extremely difficult to determine because they       18          But it's called the journalist
     19   have expired, right?                                19   exception. So they can see nonpublic parts of
     20          MR. BADALA: Objection to form.               20   the file and look at them but not take any
     21          THE WITNESS: As -- as I would say,           21   notes. They can take away what they can
     22   you know, I think they are not intending to use     22   remember.
     23   drugs, I don't think. Based on what I've read       23          We usually, in response to media
     24   and people I've talked to, they're intending to     24   requests, release the public part of the file.
     25   harm themselves. But unfortunately, I think         25   And it's kind of the exception where we've had

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                                                 Page 182                                                Page 184
      1   journalist exception.                              1   the state Board of Health?
      2          But that's my understanding of it.          2      A. Which --
      3   They get to see more things, including like my     3      Q. You -- you mentioned the Board of
      4   investigator's report, as long as it doesn't       4   Health task force -- heroin task force.
      5   impact a criminal investigation.                   5      A. Right. That's the Cuyahoga County
      6      Q. And that's just what I'm trying to           6   Board of Health.
      7   understand. I mean you're -- you're the expert     7      Q. Okay.
      8   in this. And I have a, you know, general           8      A. That was through their injury
      9   understanding of the files, and I've looked        9   prevention program.
     10   through them.                                     10      Q. And in 2011 there were 107 instances
     11          But is the only thing that is              11   where someone who overdosed had heroin in their
     12   different, nonpublic, is that the                 12   system and 98 where they had cocaine, is that
     13   investigator's report in the file and maybe the   13   right, based on the --
     14   tox studies or anything else that would be not    14      A. If I can just take a look quickly.
     15   available to the public but either available to   15          Yes.
     16   a journalist or next of kin?                      16      Q. Now --
     17      A. Again, as I say, everything's               17      A. 2011. I'm sorry. That was the
     18   available to next of kin. But things like         18   year?
     19   hospital records, police reports and things       19      Q. Right. That's what I said.
     20   like that we usually don't share because it's     20      A. I just wanted to make sure.
     21   not our primary work product.                     21      Q. And if you just look at for a minute
     22          We don't share investigative report        22   the -- the cocaine deaths in Exhibit 1 on -- on
     23   because it's a preliminary investigative          23   Page 4 in the red line.
     24   report. So that's not a public document.          24          You with me, right?
     25          You know, some files have other            25      A. Uh-huh. Yes, I am.
                                                 Page 183                                                Page 185
      1   things in them that -- I can't be exhaustive on    1      Q. Now, you mention that in I believe
      2   what's public, what's not.                         2   2016 there was an increase above baseline in
      3           But certainly the law is written in        3   cocaine-related overdose deaths that you
      4   Ohio, next of kin, if they want to see what's      4   attributed to fentanyl.
      5   in the medical examiner or coroner's file, they    5          Is that accurate?
      6   can see what's in there.                           6      A. Yes.
      7      Q. Okay. Can you turn back to Exhibit           7      Q. And is it then fair to say that the
      8   1 for a minute.                                    8   baseline of cocaine deaths prior to that point
      9           Let me just you ask this: First of         9   were not associated with opioids or fentanyl?
     10   all, is there a -- is there currently a cocaine   10      A. I don't think I could say that.
     11   task force?                                       11   Because I know that, the way this graph is
     12           MR. BADALA: Objection to form.            12   generated, if cocaine appears on the death
     13           THE WITNESS: Not that I'm aware of.       13   certificate, it would be in that red line.
     14           BY MR. CHEFFO:                            14   Whether it was mixed with opioid pain
     15      Q. Has there ever been one in Cuyahoga?        15   relievers, heroin, fentanyl, I wouldn't know --
     16      A. Not since I've been here.                   16      Q. Okay.
     17      Q. When was the heroin task force              17      A. -- based on looking at this. And I
     18   initiated?                                        18   don't know that answer either right now.
     19      A. Well, there's the two. So the Board         19      Q. Well, based on your -- your -- your
     20   of Health I -- I think it's 2011 or 2010. The     20   time at the department, are -- are you -- is it
     21   U.S. Attorney's task force I believe started      21   your view that, prior to the 2016 spike in the
     22   after the Summit, which would have been in        22   cocaine deaths, the -- the driver or the
     23   November 2013.                                    23   baseline of cocaine use and overdose had
     24      Q. So 2011, when you say the Board of          24   nothing to do with opioids?
     25   Health, that's the county Board of Health or      25          MR. BADALA: Objection to form.
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                                                    Page 186                                                 Page 188
      1          THE WITNESS: I don't know that I          1           Q. What do you mean by that?
      2   could say that.                                  2           A. In terms of looking at the opioid
      3          BY MR. CHEFFO:                            3        crisis now from kind of a public health
      4      Q. Can you say that it did have               4        perspective, CDC has written about the phases
      5   anything to do with opioids?                     5        of the heroin -- or not the heroin -- the
      6      A. No. I could not say either way. I          6        opioid crisis.
      7   haven't really looked at that. We focused more 7                  And those phases are kind of in an
      8   on it when we saw the rise that we saw in 2016 8          initial phase with opioid pain relievers, our
      9   and compared it to the baseline again when we 9           heroin phase, and a fentanyl and fentanyl
     10   factored out the contribution of the mixtures 10          analog phase. And the heroin phase is kind of
     11   with fentanyl. And then the baseline kind of 11           what I see when I land in Cuyahoga County when
     12   stayed about the same.                          12        I got here in 2011.
     13          But whether that baseline -- it          13           Q. So -- I'm sorry. Tell me that
     14   certainly wasn't tide in with fentanyl.         14        again.
     15   Whether it was tied in with heroin and been, 15                   It was the first one -- how did you
     16   that I can't say with certainty.                16        characterize it?
     17      Q. And prior to 2016, there were costs       17           A. Opioid pain relievers.
     18   associated to your department for investigating 18           Q. Okay. Opioid pain relievers, then
     19   and doing autopsies for cocaine-related deaths; 19        heroin, then fentanyl and fentanyl analogs?
     20   is that right?                                  20           A. Right. That's based on our
     21          MR. BADALA: Objection to form.           21        understanding now as to how the opioid crisis
     22          THE WITNESS: Costs in terms of just 22             has evolved.
     23   doing investigations.                           23           Q. And is it your view that every
     24          BY MR. CHEFFO:                           24        overdose that -- where someone used heroin is,
     25      Q. Right.                                    25        in whole or part, related to the conduct of the
                                                    Page 187                                                 Page 189
      1          I mean looking at these numbers, you           1   defendants in this lawsuit?
      2   had -- other than 2011, you had over a hundred        2          MR. BADALA: Objection to form.
      3   deaths a year that were related to -- to              3          THE WITNESS: Not opioid overdoses.
      4   cocaine, right?                                       4   But I think many of them.
      5      A. Right.                                          5          BY MR. CHEFFO:
      6      Q. And there were significant resources            6      Q. What -- what -- what are the
      7   expended on investigating those overdose              7   differentiation points?
      8   deaths.                                               8      A. Well, if you go back into Cuyahoga
      9          MR. BADALA: Objection to form.                 9   County death records, people overdosed on
     10          THE WITNESS: We would routinely               10   heroin in the 1970s. There was a heroin crisis
     11   have, you know, a death investigator respond to      11   in the country. I don't know Cuyahoga County
     12   a scene of an overdose death, be it cocaine or       12   specifically.
     13   any of the other drugs.                              13          And that population could still
     14          We would, unless there had been an            14   exist in 2012, 2013, '14, '15, when we're
     15   interval of survival, conduct an autopsy,            15   seeing this elevation in deaths. But what
     16   which, you know, does factor into cost. And          16   we're able to do is say, "There's an elevation
     17   then the toxicology piece of that would also         17   here, and that's related to the conduct of the
     18   be, you know, expenses that would be kind of         18   defendants."
     19   marginally added on top of them.                     19          But whether, you know, that baseline
     20          BY MR. CHEFFO:                                20   goes away, I don't think that that would be a
     21      Q. You mentioned something before our             21   very honest thing to say.
     22   break. You said, "the heroin phase of the drug       22      Q. What is the baseline? What
     23   crisis."                                             23   percentage?
     24          Do you remember that?                         24      A. I couldn't say with certainty.
     25      A. Yes.                                           25      Q. Well, in order to know if there is
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                                                     Page 190                                               Page 192
      1   an increased, don't you have to know the               1          BY MR. CHEFFO:
      2   baseline?                                              2      Q. Is there -- you would agree with me
      3      A. No. I think, you know, you can look              3   that there's a baseline of people in Cuyahoga
      4   at this data and see there's substantial               4   County and the county who have addictive
      5   increase in mortality. And as we look at this          5   personalities and abuse drugs or substances,
      6   and go back and look at its relationship to            6   whether they be alcohol, cocaine, cough syrup,
      7   opioid practices and prescribing -- pardon             7   and various other things, including fentanyl,
      8   me -- opioid prescribing, these folk are               8   heroin and carfentanil, right?
      9   overrepresented from the general population in         9          MR. BADALA: Objection to form.
     10   having access to opioid pain relievers.               10          THE WITNESS: I mean drug addiction
     11          And then, you know, when we finally            11   didn't start with the actions of the
     12   get 2012 data, we see some part of that               12   defendants.
     13   picture, but it's incomplete because of the           13          BY MR. CHEFFO:
     14   deidentified data.                                    14      Q. Right.
     15          I think, as we get better data in              15          So if somebody took illicit fentanyl
     16   2013 and 2014 to analyze, then I think that's         16   from a drug cartel and never took an opioid --
     17   when we start to really have an appreciation of       17   a prescription opioid, in fact, never saw a
     18   the opioid crisis as an evolutionary thing from       18   doctor for any legitimate pain issue, do the
     19   opioid pain relievers to heroin and then              19   defendants in this case have any responsibility
     20   ultimately to fentanyl.                               20   for that?
     21      Q. Let's -- let's -- we can talk some              21          MR. BADALA: Objection to form.
     22   individual just, you know, examples.                  22          THE WITNESS: Yes, they do.
     23          If somebody was, let's say,                    23          BY MR. CHEFFO:
     24   unfortunately, 21 years old, never had used an        24      Q. How?
     25   opioid, and in 2012 or '13 overdosed on heroin,       25      A. The drug cartels don't operate in a
                                                     Page 191                                               Page 193
      1   is that, in whole or part, related to the              1   vacuum. They're responding to an opportunity
      2   conduct of the defendants in this lawsuit?             2   with an increase in demand for opioids in
      3           MR. BADALA: Objection to form.                 3   general.
      4           THE WITNESS: Obviously, if they                4          So in the creation of an
      5   haven't taken an opioid pain reliever, I would         5   opioid-addicted population by overprescribing,
      6   say, you know, they can't directly tie it.             6   overdistribution, we create a group of people
      7           The prevalence of heroin in this               7   who are opioid addicted.
      8   community was created by a demand that came            8          From there, you know, we evolve into
      9   from this opioid-addicted population, who did          9   the heroin phase, the fentanyl phase --
     10   make transitions into heroin so that heroin           10      Q. I --
     11   coming into this county at a higher rate than         11      A. No, no. Please let me finish.
     12   it had been seen before is referable back to          12      Q. Well --
     13   the actions of the defendants, I think.               13      A. Because it's complicated, I think.
     14           BY MR. CHEFFO:                                14      Q. You've answered this.
     15      Q. But what about -- there -- there's              15          MR. BADALA: But you --
     16   been problems with drugs like crack and -- and        16          MR. CHEFFO: Go ahead.
     17   -- and cocaine and other drugs, right, and PCP        17          MR. BADALA: Finish your --
     18   and -- and -- and marijuana.                          18          MR. CHEFFO: Go ahead.
     19           Those are not attributable to                 19          THE WITNESS: And, you know, if we
     20   opioids, are they?                                    20   looked at the heroin epidemic in the '70s, for
     21           MR. BADALA: Objection to form.                21   example, there wasn't a large-scale, you know,
     22           THE WITNESS: I wouldn't think so.             22   prescribing of pain medication right before
     23   Because the -- again, the action of the opioid        23   that. So those individuals largely were
     24   pain relievers isn't similar to those drugs           24   recruited by active other users.
     25   like it is to the heroin and to the fentanyl.         25          But that recruitment population that
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                                                    Page 194                                                  Page 196
      1   we see in Cuyahoga County, who may be grabbing        1   think, you know, they're very astute business
      2   that 21-year-old and saying, "This is great.          2   people.
      3   You should try this, even though you haven't          3      Q. Capitalism?
      4   had the prescription pain medication," that           4      A. Well, I don't know. But I think
      5   group, in large measure, was created by the           5   they see an opportunity in an addicted
      6   defendants.                                           6   population to start to infiltrate --
      7          MR. CHEFFO: Okay.                              7      Q. Okay.
      8          THE WITNESS: And it is referable               8      A. Heroin and fentanyl, illicitly
      9   back to --                                            9   manufactured fentanyl. And I do think that
     10          BY MR. CHEFFO:                                10   gets referable back to the creation of an
     11      Q. So --                                          11   addicted --
     12      A. -- those actions.                              12      Q. Okay.
     13      Q. So -- so that's your connection?               13      A. -- population.
     14          If somebody was -- but even within            14      Q. But how much -- and I asked you
     15   that group, do you know whether that -- do you       15   though something different.
     16   have to know whether the person who is the           16          What percentage?
     17   recruiter actually ever took a -- a lawful           17          Tell me what percentage you put on
     18   opioid?                                              18   the cartels who are actually making hundreds of
     19          So if a 23-year-old person who never          19   millions or billions who ship it here
     20   took a lawful opioid started using heroin            20   illegally, and a 21-year-old buys a laced
     21   because he was introduced to it through some         21   fentanyl?
     22   other street drug and then introduced the            22          In the entire picture -- we
     23   21-year-old person, that's -- that's related to      23   understand you've said everything's ultimately
     24   the defendant's conduct?                             24   related to the defendants in the lawsuit.
     25      A. As I say, you know, there's going to           25          But tell me what percentage are from
                                                    Page 195                                                  Page 197
      1   be a baseline of addicts before opioid pain           1   the cartels.
      2   relievers. And I would say though that that           2          MR. BADALA: Objection to form.
      3   baseline, that population of addicts, increased       3          THE WITNESS: I don't think I could
      4   substantially in this county in the wake of           4   do that.
      5   opioid pain prescribing practices and                 5          BY MR. CHEFFO:
      6   distribution practices by the defendants.             6      Q. Is it zero?
      7           So do I say that guy didn't use, and          7      A. No. It's --
      8   that guy didn't use, and I can't refer that           8          MR. BADALA: Objection to form.
      9   back? That is possibly true for some of these         9          THE WITNESS: -- definitely not --
     10   folks. But I think, in large measure, this           10          BY MR. CHEFFO:
     11   crisis is referable back to the actions of the       11      Q. Definitely not zero, right?
     12   defendants.                                          12      A. No.
     13      Q. How much blame do you put on the               13      Q. Not a hundred percent though, right?
     14   drug cartels who are actually bringing it into       14      A. I don't think so. Because we have
     15   Cuyahoga and selling it and making the money?        15   that baseline population who, you know, came
     16           What percentage of the crisis                16   from -- you know, came to drug addiction
     17   belongs on -- on their responsibility?               17   through things before there was a problem with
     18           MR. BADALA: Objection to form.               18   overprescribing and overdistribution.
     19           THE WITNESS: I'd have to say I               19      Q. But they're certainly as culpable as
     20   don't like these people, but the drug cartel is      20   the defendants in this lawsuit, right?
     21   responding to a market where they think they         21          MR. BADALA: Objection to form.
     22   can make money.                                      22          BY MR. CHEFFO:
     23           BY MR. CHEFFO:                               23      Q. In your view?
     24      Q. They're business people?                       24          MR. BADALA: Objection to form.
     25      A. And the market -- in some ways I               25          THE WITNESS: Who are we talking

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                                                    Page 198                                                  Page 200
      1   about now that's culpable?                            1   in million or hundred of millions of dollars
      2          BY MR. CHEFFO:                                 2   into this community, and then people are dying,
      3      Q. The -- the manufacturers,                       3   right?
      4   distributors.                                         4          We can agree on that.
      5          I'm saying basically you've told us            5          MR. BADALA: Objection to form.
      6   there's culpability for the actual drug cartels       6          BY MR. CHEFFO:
      7   who are, you know, essentially murdering folks,       7      Q. Can we?
      8   shipping in drugs that are being used on the          8      A. Everybody reasonable would agree
      9   streets of Cuyahoga, right?                           9   with that I think.
     10          There's some culpability.                     10      Q. Right.
     11            MR. BADALA: Objection to form.              11          And so what I'm just trying to find
     12          THE WITNESS: They bear a                      12   out is you've told us in some way -- and in
     13   responsibility --                                    13   some way it's removed, right -- to conduct and
     14          MR. CHEFFO: Right.                            14   -- and people having addiction and introducing
     15          THE WITNESS: -- for what --                   15   others.
     16          BY MR. CHEFFO:                                16          And I just want to understand what
     17      Q. And -- and --                                  17   -- what percentage and how culpable.
     18      A. -- they're doing --                            18          And -- and if you can't give me
     19      Q. -- it's --                                     19   percentages, are the drug cartels more culpable
     20      A. -- criminal activity.                          20   than a distributor or manufacturer?
     21      Q. It's not zero percent, and it's not            21          MR. BADALA: Objection to form.
     22   a hundred percent, right?                            22          THE WITNESS: I -- I can't give you
     23      A. For the --                                     23   percentages. I feel the crisis, as we looked
     24      Q. The responsibility.                            24   retrospectively, falls back to the defendants.
     25      A. -- drug cartel or for the --                   25   And the drug cartels are part of the sequence
                                                    Page 199                                                  Page 201
      1       Q. Yes.                                           1   of events, if you will. But the crisis is
      2       A. -- defendants?                                 2   started with the distributors and --
      3       Q. The -- let's talk about the drug               3          BY MR. CHEFFO:
      4   cartels.                                              4      Q. Would we have a crisis --
      5       A. Again, I'd have to go back to why              5      A. -- the manufacturers.
      6   are the drug cartels bringing drugs into              6      Q. -- if we didn't have drug cartels?
      7   Cuyahoga County. And it's because we have a           7          MR. BADALA: Objection to form.
      8   drug-addicted population.                             8          BY MR. CHEFFO:
      9       Q. I understand.                                  9      Q. Where -- where is the illicit heroin
     10          But they're not -- they're not --             10   and fentanyl coming from, Doctor?
     11   it's not right for them to do this.                  11      A. This --
     12          You would agree with me on that,              12          MR. BADALA: Which question are you
     13   right?                                               13   asking? You just asked two questions.
     14          MR. BADALA: Objection to form.                14          MR. CHEFFO: That's okay.
     15          THE WITNESS: Sure. I mean.                    15          MR. BADALA: Okay. Objection to
     16          MR. CHEFFO: Right.                            16   form.
     17          THE WITNESS: -- nobody wants to see           17          THE WITNESS: Which one would you
     18   that.                                                18   like me to answer, sir?
     19          BY MR. CHEFFO:                                19          BY MR. CHEFFO:
     20       Q. What -- what --                               20      Q. Where is it coming from?
     21       A. But --                                        21          MR. BADALA: Objection to form.
     22       Q. What they're doing is engaging in --          22          THE WITNESS: Based on my
     23   I mean we're -- you're really not going to           23   discussions with law enforcement, a lot of the
     24   argue with me that -- that a drug cartel from        24   heroin that entered the county came from
     25   Mexico is not doing something wrong by bringing      25   Mexico. A lot of fentanyl was manufactured in

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                                                   Page 202                                               Page 204
      1   China. It may have passed through drug cartels       1     Q.    Is it more than 1 percent?
      2   in other parts of the world, including Mexico,       2          MR. BADALA: Objection to form.
      3   or it may have been directly accessed over the       3          THE WITNESS: -- I I'm not going to
      4   Internet by individuals in Cuyahoga County with      4   play a game. I can't give you a number.
      5   no intermediary.                                     5          BY MR. CHEFFO:
      6          BY MR. CHEFFO:                                6      Q. Why not?
      7      Q. If -- if none of that was -- was               7      A. Because I don't know.
      8   sent in from Mexico or China or any other            8      Q. Well, I'm asking for your own
      9   country that may have done it, would we have a       9   personal opinion.
     10   fentanyl or heroin crisis today?                    10          MR. BADALA: Same objections.
     11          MR. BADALA: Objection to form.               11          THE WITNESS: Same answer too. I
     12          THE WITNESS: If the drugs aren't             12   mean I don't know what percentage. I can't
     13   here, the people can't overdose on them.            13   give you that.
     14   But --                                              14          BY MR. CHEFFO:
     15          BY MR. CHEFFO:                               15      Q. What percentage are attributable to
     16      Q. Right.                                        16   the defendants in this lawsuit?
     17          Is that --                                   17      A. What's that then?
     18      A. -- I think, you know, that's a very           18      Q. What percentage are attributable to
     19   abstract question. Because the drugs are here,      19   the defendants in this lawsuit?
     20   and we lose hundreds of people every year to        20          MR. BADALA: Objection to form.
     21   drug overdoses.                                     21          THE WITNESS: There's literature
     22      Q. Who -- who's -- who's bringing the            22   that describes what percentage of the
     23   drugs in?                                           23   heroin-addicted population initiated with
     24          MR. BADALA: Objection to form.               24   opioid pain medication. As I say --
     25          BY MR. CHEFFO:                               25          BY MR. CHEFFO:
                                                   Page 203                                               Page 205
      1     Q.    The cartels, right?                          1       Q. We'll talk about that.
      2          MR. BADALA: Same objection.                   2       A. Pardon me?
      3          THE WITNESS: As I say, you know,              3       Q. We'll talk about that.
      4   cartels are responsible for some. Internet           4           But I was asking you a different --
      5   sales over the dark web and things like that         5   I was asking for your opinion.
      6   are responsible for others. I don't know that        6           Do you have an opinion as to what
      7   general --                                           7   percentage of the opioid crisis in Cuyahoga is
      8          BY MR. CHEFFO:                                8   attributable to the defendants in this
      9      Q. Are any of the --                              9   litigation?
     10      A. -- distribution.                              10       A. No, I do not.
     11      Q. -- defendants in this case bringing           11       Q. What percentage are the doctors who
     12   in illegal drugs into Cuyahoga County?              12   were engaging in illegal conduct; are they
     13          MR. BADALA: Objection to form.               13   responsible in any way?
     14          THE WITNESS: Not that I know of.             14           MR. BADALA: Objection to form.
     15          BY MR. CHEFFO:                               15           THE WITNESS: I think that, again,
     16      Q. And so for all of those people who            16   they're in the chain. But ultimately their
     17   are engaging in illegal conduct and selling         17   actions stem from the opioid crisis created by
     18   unlawfully dangerous illegal drugs, what            18   the actions of the defendants.
     19   percentage of -- of -- of fault do you              19           BY MR. CHEFFO:
     20   attribute to them?                                  20       Q. So then they shouldn't go to jail,
     21          MR. BADALA: Objection to form.               21   right, if they had no culpability?
     22   Asked and answered.                                 22       A. Oh, we didn't say that at all.
     23          THE WITNESS: Again, I can't give             23           MR. BADALA: Objection to form.
     24   you a specific percentage.                          24           BY MR. CHEFFO:
     25          BY MR. CHEFFO:                               25       Q. So why should they go to jail?
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                                                     Page 206                                                   Page 208
      1      A. Because they're conducting illegal               1   as I understand it.
      2   activities. They're a part of the problem.             2          BY MR. CHEFFO:
      3      Q. Okay.                                            3      Q. How many doctors who engage in
      4      A. But their actions -- again, the pill             4   illegal conduct are in this lawsuit?
      5   mill, that person should go to jail. I don't           5      A. In this --
      6   think any of us would go agree with that.              6          MR. BADALA: Objection to form.
      7          But why does a pill mill exist?                 7          THE WITNESS: Pardon me.
      8   Because there's an addicted population who are         8          In this lawsuit I -- I don't see
      9   going to pay cash money to that unscrupulous           9   any -- there have been prosecutions of those
     10   provider to get medication they are addicted          10   individuals, both the cartels and the pill mill
     11   to.                                                   11   doctors, in separate criminal proceedings. But
     12      Q. Well, but what if they were selling             12   they're --
     13   amphetamines?                                         13          MR. CHEFFO: Okay.
     14          Does that have anything to do with             14          THE WITNESS: -- not mention in this
     15   the opioid crisis?                                    15   lawsuit.
     16      A. Amphetamines aren't opioids. So I               16          BY MR. CHEFFO:
     17   could say they may, you know, have a business         17      Q. How many pill mills are in this
     18   model that they're using to sell whatever             18   lawsuit?
     19   somebody comes in and asks for. And I wouldn't        19      A. What I would consider the pill mill,
     20   say that the amphetamines are referable back to       20   none.
     21   the practices of the defendants. But the              21      Q. How many street dealers of drugs are
     22   opioids I would say are.                              22   in this lawsuit?
     23      Q. So let -- let's just see if we can              23      A. I'd say none.
     24   go through them.                                      24      Q. Do any of those four categories you
     25          Cartels have some responsibility,              25   would agree with -- strike that.
                                                     Page 207                                                   Page 209
      1   but you can't tell me -- you can't quantify it,        1           You would agree with me that, of
      2   fair?                                                  2   those four categories, they have some
      3          MR. BADALA: Objection to form.                  3   culpability, but you can't quantify it, right?
      4          THE WITNESS: Right. I can't give                4           MR. BADALA: Objection to form.
      5   you a percentage what responsibility.                  5           THE WITNESS: They're a part of this
      6          BY MR. CHEFFO:                                  6   process of an opioid crisis. But again, you
      7      Q. Doctors who engage in illegal                    7   know, overprescribing, overdistributing in this
      8   prescribing have some responsibility, but you          8   area creates that crisis. And they are, you
      9   can't quantify it, fair?                               9   know, degrees of separation away from that
     10      A. Fair. I mean they're all kind of                10   process. But ultimately it's that process that
     11   referable back to the actions of the                  11   I think sets us in to this result.
     12   defendants, as I said. But, you know,                 12           BY MR. CHEFFO:
     13   obviously we're not blessing the cartels and          13      Q. You -- let me ask you.
     14   saying they're nice people or that people who         14           Has any expert ever told you that
     15   ran pill mills didn't do their damage. I just         15   that's the case that, there is a kind of -- and
     16   --                                                    16   everything that happens today with a drug
     17      Q. Are you suing them?                             17   cartel or a street dealer or a criminal doctor
     18      A. -- think it was referable back to               18   somehow is related to something that happened
     19   the actions of the defendants creating that           19   with the defendants in this lawsuit?
     20   drug-addicted population.                             20           Have you heard an expert tell you
     21      Q. How many -- how many cartels are in             21   that?
     22   this lawsuit?                                         22           MR. BADALA: Objection to form.
     23          MR. BADALA: Objection to form.                 23           THE WITNESS: I've had discussions
     24          THE WITNESS: It's just the                     24   with a lot of people. And I think there's a
     25   pharmaceutical companies and the distributors,        25   consensus that, when we talk about the opioid

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                                                   Page 210                                                   Page 212
      1   crisis, the genesis is back with the -- looking      1      Q. -- illegally for opioids that are
      2   retrospectively, is back at the prescribing and      2   then abused or diverted, is there any
      3   distribution practices of the defendants; and        3   relationship or any culpability from the
      4   that these cartels and things, when I discuss        4   defendants?
      5   them with law enforcement, you know, is a            5          MR. BADALA: Objection to form.
      6   population again that we're kind of seeing           6          THE WITNESS: I don't think so.
      7   addicted to opioids and changing substances.         7          BY MR. CHEFFO:
      8           But if I understood your question            8      Q. So you would want to know at least
      9   correctly, the interpretation would be that the      9   whether the person who was writing the
     10   crisis, as we understand it, starts back with       10   prescriptions had any influence from any of the
     11   prescribing and distribution and evolves into       11   defendants, right, before you would make a
     12   other more criminal activities.                     12   determination that they had some culpability
     13           BY MR. CHEFFO:                              13   based on defendant's conduct, right?
     14      Q. Do -- do -- do pharmaceuticals                14          MR. BADALA: Objection to form.
     15   companies prescribe anything?                       15          THE WITNESS: I would want to know
     16           You said that three times.                  16   the role of the defendants in terms of
     17           Do -- do -- are you aware of whether        17   influencing prescribing practices.
     18   pharmaceutical companies, as a doctor,              18          BY MR. CHEFFO:
     19   prescribe medicines; or is that something           19      Q. Right.
     20   doctors do?                                         20          And -- why?
     21      A. Doctors do. But there --                      21      A. Because it's relevant to the
     22      Q. Right.                                        22   overprescribing --
     23      A. -- were influences of the prescribe           23      Q. And --
     24   -- of the manufacturers --                          24      A. -- that we saw.
     25      Q. So --                                         25      Q. Okay. And if -- if there was no
                                                   Page 211                                                   Page 213
      1      A. -- on those prescribing practices.             1   role -- let's assume a doctor never worked at
      2      Q. -- if somebody comes out of medical            2   an institution where there was never any
      3   school and never saw a pharmaceutical rep today      3   detailing or never any role.
      4   and improperly and illegally prescribes              4          That would change your view as to
      5   opioids, it's your testimony under oath that         5   whether the company had any -- or the
      6   that somehow is related to the defendant of          6   defendants had any culpability, right?
      7   this -- the defendant's conduct; is that right?      7          MR. BADALA: Objection to form.
      8           MR. BADALA: Objection to form.               8          THE WITNESS: There may be other
      9           THE WITNESS: No. I wouldn't say              9   ways that they would influence prescribing
     10   that.                                               10   practices.
     11           BY MR. CHEFFO:                              11          BY MR. CHEFFO:
     12      Q. Okay. So -- so if that person wrote           12      Q. But -- but you'd at least want to
     13   the prescriptions, and they had never had any       13   understand what -- what the influences and
     14   influence from any pharmaceutical company or        14   their prescribing practices were before you
     15   any distributor, you would agree with me that       15   made a determination that there was
     16   none of their conduct or none of those              16   culpability, right?
     17   prescriptions have anything to do with the          17          So in other words, if there was
     18   defendants, right?                                  18   influencing that you thought was improper from
     19           MR. BADALA: Objection to form.              19   a defendant that influenced a doctor, you would
     20           THE WITNESS: I'm trying to follow           20   assess some liability or culpability, right?
     21   you. If someone comes out of medical school --      21      A. Yes. I think, in creating that
     22           BY MR. CHEFFO:                              22   culture of undertreatment of pain, the safety
     23      Q. Uh-huh. And -- and writes                     23   of opioid pain relievers influencing, you know,
     24   prescriptions --                                    24   legislation and practice guidelines, that is
     25      A. Writes a prescription for --                  25   referable back to the defendants.

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                                                    Page 214                                              Page 216
      1      Q. And if there was no influence on a              1   more time.
      2   prescriber's prescribing based on any conduct         2           MR. BADALA: So, Mark, are you
      3   of any defendant, then you would not assess           3   willing to stipulate that your client can't
      4   culpability, right?                                   4   read documents when --
      5      A. You're -- you're -- I'm not                     5           MR. CHEFFO: No. They can read it,
      6   following you exactly. I mean if -- if you            6   but not -- not -- I first would like to ask
      7   influence like the way a medical board says you       7   some basic questions about whether he's seen
      8   have to treat pain or you're going to be              8   it, heard it, refreshed his recollection. And
      9   disciplined, there's not a direct influence           9   then we can figure out if he needs --
     10   again, but there's a very indirect influence         10           MR. BADALA: Well --
     11   that you're going to have do, you know, be           11           MR. CHEFFO: -- to read it.
     12   cognizant of, that that practice came from, you      12           MR. BADALA: -- he's allowed to look
     13   know, lobbying efforts and things like that          13   at a document. He didn't spend five minutes.
     14   before that person wrote that prescription.          14   We can go back.
     15      Q. You'd want to know though whether              15           MR. CHEFFO: I think it was pretty
     16   the doctor was influenced, right?                    16   close to that.
     17      A. I mean --                                      17           MR. BADALA: He can look at it.
     18          MR. BADALA: Objection.                        18   It's a long -- it's a long e-mail.
     19          BY MR. CHEFFO:                                19           MR. CHEFFO: He wrote it.
     20      Q. Right?                                         20           MR. BADALA: Okay? It's a chain.
     21          MR. BADALA: Objection to form.                21           MR. CHEFFO: He wrote it.
     22          THE WITNESS: Well, I don't see how            22           MR. BADALA: This was -- this was
     23   you could say they weren't influenced if these       23   back --
     24   are, you know, the laws they're bound to             24           MR. CHEFFO: Okay. Let's not argue.
     25   follow.                                              25           MR. BADALA: -- in 2013.
                                                    Page 215                                              Page 217
      1          BY MR. CHEFFO:                                 1          MR. CHEFFO: It's fine.
      2      Q. Do you think doctors use their                  2          MR. BADALA: I'm just saying.
      3   independent judgment when they prescribe              3          BY MR. CHEFFO:
      4   medicines?                                            4      Q. Have you seen this --
      5          MR. BADALA: Objection to form.                 5          MR. BADALA: Put that on the record.
      6          THE WITNESS: I think they're                   6          BY MR. CHEFFO:
      7   responsible for what they prescribe.                  7      Q. -- before today?
      8          MR. CHEFFO: Okay. Can we mark                  8      A. I don't remember. But I -- it's
      9   this, please.                                         9   from my account, so...
     10          (Deposition Exhibit 2 was marked for          10      Q. You -- your name's on it, right?
     11   identification.)                                     11          You wrote --
     12          BY MR. CHEFFO:                                12      A. Right. I just -- I'm assuming I saw
     13      Q. So you with me, Doctor?                        13   it before, yeah.
     14      A. Could -- could I just read this,               14      Q. Do you also use your personal
     15   please.                                              15   account sometimes?
     16      Q. Okay. Just as a ground rule, I let             16          Do you have a personal e-mail
     17   you read that. But we're never going to finish       17   account?
     18   this deposition if you read every single             18      A. I do have a personal e-mail account.
     19   document.                                            19      Q. Are those ever used for professional
     20          I need to ask you some preliminary            20   purposes?
     21   questions. So some it will be if you've seen         21      A. No. Not usually.
     22   it. And others -- so I just want to give you         22      Q. Is there any reason why you would
     23   -- I'm -- I'm fine with you reading that. But        23   ever use a personal e-mail address in -- in
     24   to take five minutes to read every document,         24   your professional work?
     25   we're going to have to, you know, kind of get        25      A. Not that I can think of.
                                                                                           55 (Pages 214 - 217)
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                                                  Page 218                                                Page 220
      1      Q. So it would surprise you if                1      files, as I recall, on individuals who had an
      2   documents were produced that came from your 2           OARRS file. We had furnished them the names of
      3   personal e-mail?                                 3      our decedents, and I believe they sent files
      4      A. I haven't really been consciously          4      back to us with those names.
      5   using it. But I -- I don't know. But I first     5              I don't remember exactly on the --
      6   would say I -- it's my practice not to use it    6      but that's my best recollection. But we did
      7   for work-related information.                    7      not know anything about prescribing.
      8      Q. Okay. Let's go back to this                8         Q. Was it deidentified in the OARRS
      9   document. It's Exhibit 2. It relates to          9      system or was just what you received
     10   initials OAR -- the initial OAR -- OARRS        10      deidentified, if you know?
     11   analysis you did back in 2013, right?           11              MR. BADALA: Objection to form.
     12      A. Right.                                    12              THE WITNESS: As I understood it, it
     13      Q. And this is based on 2012 OARRS           13      was deidentified what was shared with us.
     14   data, right?                                    14      Because we did not have access to the OARRS
     15      A. This was the deidentified data that       15      system.
     16   we received from Board of Pharmacy as an        16              But I would have -- based on what I
     17   aggregate electronic file.                      17      know of the OARRS system, that information
     18      Q. And this e-mail correspondence is         18      would have been available if someone had access
     19   from Ed Fitzgerald and Matt Carroll, who were 19        to it.
     20   the count exec -- county executive and chief of 20              BY MR. CHEFFO:
     21   staff, right?                                   21         Q. Okay. And you state that 64 percent
     22      A. Right. At that time they were those       22      of heroin overdose deaths had an OARRS record?
     23   positions.                                      23         A. Yes.
     24      Q. And was it routine for you to be          24         Q. And in order to have an OARRS
     25   communicating with them about this type of 25           record, that means that there's a record
                                                  Page 219                                                Page 221
      1   information?                                        1   that -- of a -- of a prescription for a control
      2          MR. BADALA: Objection to form.               2   substance, right?
      3          THE WITNESS: They would be my chain          3           It's not just limited to opioids.
      4   of command. So I would be communicating with        4      A. That's correct.
      5   them.                                               5      Q. It could include opioids, but it's
      6          BY MR. CHEFFO:                               6   not necessarily one to one, right?
      7      Q. Did they ask you to put this                  7      A. Right. And if you read the
      8   together; do you know?                              8   parentheses, they had a legal prescription for
      9      A. I don't remember what prompted this           9   a controlled substance. And then they go into
     10   e-mail. I had spoken, it says, at cabinet the      10   the look-back period that we had, which was
     11   day before. And our cabinet meetings would be      11   relatively short, before they died of a heroin
     12   most all of the department directors. So it        12   overdose.
     13   may have been a very short time that I had to      13      Q. Right.
     14   speak.                                             14           And then you say that 48 percent had
     15          I don't know if they specifically           15   a prescription for benzodiazepines, right?
     16   asked me to follow up or if I felt a desire to     16      A. Yes.
     17   follow up based on kind of providing more          17      Q. And 85 percent had a prescription
     18   information.                                       18   for an opioid.
     19      Q. And it -- it was deidentified data,          19      A. That's correct, yes.
     20   right?                                             20      Q. And -- and what we're talking about
     21      A. The information we received from             21   is -- is -- and I -- I probably garbled this,
     22   OARRS was deidentified to some extent.             22   so I apologize.
     23      Q. What toes that mean?                         23           It's -- you state that 64 percent of
     24      A. We had no information in that data,          24   heroin overdose deaths had an OARRS record,
     25   as I recall, about prescribers. And we got         25   correct?
                                                                                          56 (Pages 218 - 221)
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                                                  Page 222                                                  Page 224
      1       A. That's right.                                1   think was another one.
      2       Q. And then you basically said that 48          2      Q. Okay.
      3   percent of those had a prescription for             3      A. But I mentioned it further down in
      4   benzodiazepines, right?                             4   the paragraph.
      5       A. That's right.                                5      Q. And -- and at -- and in -- in
      6       Q. And 85 had a prescription for an             6   determining and looking at those 54 percent of
      7   opioid, right?                                      7   individuals who had a prescription for a lawful
      8       A. That's right.                                8   opioid of some type, could you tell whether
      9       Q. So what this is saying is, of the 64         9   they were using heroin before their opioid
     10   percent of heroin overdoses with an OARRS          10   prescription?
     11   record, 85 percent of the 64 percent had an        11      A. Not on this data, no.
     12   opioid prescription in OARRS.                      12      Q. Did you make any judgments or
     13       A. That right.                                 13   determination about how far in the past they
     14       Q. So it's not 80 or 85 percent of the         14   had had an opioid prescription prior to their
     15   heroin users had a prescription for opioids;       15   heroin overdose?
     16   it's 85 of 64.                                     16      A. When we obtained the deidentified
     17       A. Right. So more than half but not            17   data, the OARRS system had a two-year
     18   80 -- not the 85 percent.                          18   look-back. And because we didn't get access to
     19       Q. Right.                                      19   the data, we had short look-backs as short as
     20           In fact, so I did some math, and you       20   six months and no more than 18 months.
     21   can check me on it.                                21          So I don't have a full picture of
     22           But so, of the 160 heroin overdoses        22   their prescription history. This is the opioid
     23   in 2012, 87 of them were -- had an OARRS record    23   prescription history for the limited look-back
     24   for an opioid prescription, right?                 24   that we had.
     25       A. That's right.                               25      Q. So you don't -- if it was for six
                                                  Page 223                                                  Page 225
      1      Q. And that's about 54 percent by my          1      months, if someone had been abusing heroin for
      2   calculations?                                    2      five years and then got a lawful opioid
      3      A. Sounds right.                              3      prescription, that certainly -- you couldn't
      4      Q. And of the heroin overdoses in 2012,       4      differentiate, could you?
      5   54 percent had a record in OARRS of having       5         A. I couldn't tell how long they had
      6   received some type of opioid prescription,       6      been using heroin, no.
      7   right?                                           7         Q. Could you tell whether they were
      8      A. That's what you just said before.          8      ever addicted or treated for addiction prior to
      9   Yes. Okay.                                       9      using heroin?
     10      Q. And what would that include in terms      10         A. Whether they had been in a treatment
     11   -- what would be encompassed within opioids?    11      facility? That may have come from scene
     12          So would that include a prescription     12      investigation data. I don't know specifically
     13   for fentanyl?                                   13      any one of these 160. But we may have been
     14      A. Fentanyl would be one. Oxycodone,         14      aware of some of that. And we tried to go back
     15   hydrocodone, oxymorphone, hydromorphone, the -- 15      and look at that information, looking through
     16      Q. What about morphine?                      16      our case files.
     17      A. Pardon me?                                17             One of the shortcomings of that
     18      Q. Morphine?                                 18      approach I think is that, whoever is there to
     19      A. Morphine is an opioid, yes.               19      provide information at the time of death, you
     20      Q. What about methadone?                     20      know, it's based on what they knew. When we
     21      A. Methadone is an opioid, yeah. Sure.       21      convened the formal reviews of poison death
     22      Q. Any -- anything else?                     22      reviews in 2013, that was why we wanted the
     23      A. I don't want to say that's the            23      medical director of the alcohol and drug
     24   exhaustive list of opioids. They're certainly   24      addiction mental health services on the panel.
     25   the ones that we saw most commonly. Tramadol I 25       Because she could access that data, and we

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                                                    Page 226                                                Page 228
      1   would have better information.                        1     Q.    Yeah.
      2         We could get the public treatments,             2          Just -- I think I asked you whether
      3   and then we could also still have my                  3   they were different opioids.
      4   investigators gleaning information about              4      A. My anecdotal memory is yes, but I
      5   private treatment facilities. So get a clearer        5   can't give you a percentage as I sit here
      6   picture.                                              6   today.
      7      Q. Okay. And you couldn't tell, from               7      Q. And did you make any determinations
      8   any of these prescriptions that showed up on          8   of doctor shopping based on this data?
      9   OARRS, whether they were written by a doctor          9      A. We couldn't.
     10   who was engaging in unlawful conduct, could          10      Q. And at this time, was a doctor
     11   you?                                                 11   required to check OARRS before he or she wrote
     12      A. I could not, no.                               12   a prescription?
     13      Q. You couldn't tell if it came from a            13          MR. BADALA: Objection to form.
     14   pill mill?                                           14          THE WITNESS: As I understand the
     15      A. No, I don't.                                   15   OARRS system, the requirement for checking
     16      Q. You didn't go back and look, did               16   prior to prescribing a narcotic was started in
     17   you?                                                 17   April of 2015. So this would have preceded
     18      A. I did not go further than to just              18   that.
     19   analyze the data that you see here.                  19          BY MR. CHEFFO:
     20      Q. And you state that the opioid                  20      Q. But certainly a doctor could have if
     21   prescriptions in OARRS that you identified, 71       21   he or she wanted to; it just wasn't mandatory,
     22   percent -- and I think this is a quote -- of         22   right?
     23   the narcotics were prescribed to the victim          23          MR. BADALA: Objection to form.
     24   more than once.                                      24          THE WITNESS: Wasn't mandatory. I
     25         Do you see that?                               25   think, if they had access, they could have
                                                    Page 227                                                Page 229
      1     A.    Yes.                                          1   checked.
      2     Q.    What does that mean?                          2          BY MR. CHEFFO:
      3     A.    Let me just refresh myself on that.           3      Q. I mean there's no prohibition.
      4          So when I get the prescription                 4   Provided a doctor otherwise had -- had access,
      5   profile, in all there are 169 prescriptions for       5   he or she could have checked the OARRS database
      6   these individuals who have an OARRS file with         6   prior to 2015.
      7   the opiates. And then, of that, 71 percent of         7      A. As long as they were prescribing to
      8   that 87, that 85 percent, had been prescribed         8   that patient, yes.
      9   an opiate more than one time.                         9      Q. Right.
     10          OARRS is just going to tell me did            10          That's what we're talking about is
     11   they ever get one. But the majority, almost          11   people who are prescribing, right?
     12   three out of four, were getting multiple             12      A. Right. Yes. I mean they can't do
     13   prescriptions for opioids, more than one.            13   searches around --
     14      Q. Well, could that have been a refill?           14      Q. Oh, sure. We're talking --
     15      A. I don't remember the data to that              15      A. -- other prescribers or things like
     16   degree.                                              16   that for the doctor shopping piece.
     17      Q. Were -- were they different                    17      Q. And you say: "This confirms that
     18   prescriptions for different opioids from             18   the majority of eventual heroin overdose
     19   different doctors?                                   19   victims are in the medical system being treated
     20      A. As it says in the next sentence: "I            20   for pain anxiety. Whether the medical system
     21   don't have the data on whether this involved         21   created their addiction or these numbers
     22   different doctors or not." And, you know, I          22   reflect addicts trying to get whatever they
     23   don't -- not able to comment on the doctors.         23   could to treat their addiction is unclear."
     24          There was a first part to your                24          Do you see that?
     25   question I feel I'm missing though.                  25      A. Let's see. On the -- I did see it

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                                                     Page 230                                                  Page 232
      1   when I read before. And I don't want to take           1      A. Right. And then I go on to say
      2   up more of your time. Oh, here we are. Yes.            2   anecdotally and this is what we're trying to
      3      Q. And so you were saying it's                      3   get better data on. The addicts were created
      4   impossible to tell from OARRS whether the              4   with the legal pain medicine.
      5   decedent's abuse started with prescriptions or         5           But you can't use this data, I
      6   before or after, right?                                6   think, to say that -- what they're trying to do
      7      A. That's right. We could not use this              7   as they obtain these prescriptions, whether
      8   data to try to characterize the overdose -- the        8   they're taking advantage of whatever they can
      9   heroin overdose population better than to say          9   get their hands on or whether they're, you
     10   they have had prescriptions for these drugs.          10   know, being created by the medical system.
     11   Whether they're interchangeably going in and          11      Q. Are you aware of any mandate from
     12   out of the medical system to obtain them or           12   the state medical board requiring the
     13   they started with them and then became addicted       13   prescription of opioids?
     14   and transferred over to heroin, that we could         14      A. I am more aware of -- and again, I
     15   do with --                                            15   -- as I don't treat these -- there were
     16      Q. Well --                                         16   guidelines that were put out that talked about
     17      A. -- this data.                                   17   the treatment of pain and the undertreatment of
     18      Q. But also you couldn't -- it could be            18   pain.
     19   something else that wouldn't necessarily be the       19           I didn't specifically, as I
     20   responsibility of -- of the defendants.               20   remember, discuss opioids. So I -- I don't
     21          It could be that someone was using             21   prescribe medications, obviously. And I don't
     22   heroin and then was abusing prescription              22   know that I can characterize it any better than
     23   medicines, right?                                     23   that.
     24          MR. BADALA: Objection to form.                 24      Q. And -- and of the -- the drug
     25          BY MR. CHEFFO:                                 25   dealers, street dealers, are -- are you -- is
                                                     Page 231                                                  Page 233
      1      Q. That's possible, wasn't it?                      1   it your testimony that, because they are
      2      A. It's possible. And, you know, this               2   opportunistic criminals who are taking
      3   was where we needed to kind of wait for more           3   advantage of people in need, that they somehow
      4   information to come out from those interviews          4   have no culpability to their conduct?
      5   that were done with actively using heroin              5          MR. BADALA: Objection to form.
      6   addicts. We couldn't query these people how            6          THE WITNESS: No. I think I've
      7   did you get started on this.                           7   answered that before. You know, there are a
      8          So this was kind of our first stab              8   cast of unsavory characters here.
      9   into the data to try to understand the                 9          But I would say that that addicted
     10   relationship. But I couldn't clarify, like I          10   population is referable back to the defendants.
     11   say here, oh, all of these people who have a          11   And then there are chains of people. Some of
     12   prescription for opioid pain relievers are            12   them are very unsavory. You know, the street
     13   taking them, getting addicted, and                    13   drug dealers, the cartels, et cetera, who have
     14   transitioning to heroin. That doesn't come            14   been prosecuted, and I think appropriately so.
     15   from this.                                            15          BY MR. CHEFFO:
     16      Q. And in the second part of your                  16      Q. Do you think they bear some
     17   statement you're suggesting, I -- I believe --        17   responsibility for -- if someone were to be a
     18   tell me if you disagree -- that some drug             18   street dealer and sell carfentanil to a opioid
     19   abusers will abuse whatever's available to            19   naive teenager without any medical need, would
     20   them?                                                 20   they have capability?
     21      A. Where are you at, sir? I'm sorry.               21          MR. BADALA: Objection to form.
     22      Q. Where you say: "Whether the medical             22          THE WITNESS: I think they would be,
     23   system created their addiction or these numbers       23   you know, appropriately entered into the
     24   reflect addicts trying to get whatever they           24   criminal system for their action.
     25   could to treat their addiction is unclear."           25          BY MR. CHEFFO:

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                                                   Page 234                                               Page 236
      1       Q. Do they have culpability for the              1          BY MR. CHEFFO:
      2   opioid crisis?                                       2      Q. It's called a lawsuit.
      3           MR. BADALA: Objection to form.               3          How about that?
      4           THE WITNESS: They are a part of              4          MR. BADALA: Objection to form.
      5   making the crisis worse. But I think that the        5          THE WITNESS: I don't know if you
      6   crisis itself is referable back to the               6   could find the cartel to file the lawsuit,
      7   defendants, not to these individuals.                7   but --
      8       Q. They make it worse how?                       8          BY MR. CHEFFO:
      9       A. By killing all these people with,             9      Q. Well, if you could --
     10   you know, heroin and fentanyl and carfentanil,      10      A. I don't know those things.
     11   illicit fentanyl. They're a part of that, you       11      Q. -- would you support that?
     12   know, chain of events that ultimately is, you       12          MR. BADALA: Objection to form.
     13   know, resulting in the deaths of, you know,         13          THE WITNESS: As I say, I would like
     14   thousands of people in this community.              14   to see funding for more treatment. Because
     15       Q. And -- and -- and what -- what               15   that's something that was overwhelmed in our
     16   percentage of culpability do they have?             16   county.
     17           MR. BADALA: Objection to form.              17          Where those dollars come from, I
     18           THE WITNESS: I -- I can't answer            18   think the county should just take whatever they
     19   with percentages. You know, they're a part of       19   can get.
     20   the process that has gone on. But ultimately I      20          BY MR. CHEFFO:
     21   think that their existence is referable back to     21      Q. All right. Would you support a
     22   the actions of the defendants.                      22   lawsuit against the doctors who potentially
     23           BY MR. CHEFFO:                              23   made millions of dollars or the pill mills who
     24       Q. Do you think they should -- they             24   made lots of money or the cartels or drug
     25   should pay for drug treatment?                      25   dealers in order to pay for some of the costs
                                                   Page 235                                               Page 237
      1           MR. BADALA: Objection to form.               1   for treatment?
      2           THE WITNESS: Honestly, I'd love if           2          Would that be something that you
      3   anybody who, you know, stepped up to offer drug      3   think would be appropriate?
      4   treatment would pay for it. Defendants, these        4          MR. BADALA: Objection to form.
      5   folks.                                               5   Asked and answered.
      6           You know, it's a terrible crisis.            6          THE WITNESS: Again, you know,
      7   And we've certainly gone through phases where        7   anybody who would, you know, fund this would be
      8   we haven't had enough treatment or treatment's       8   a positive development to me. I think those
      9   been very difficult to obtain for people             9   individuals, you know, are appropriately kind
     10   because our system was overwhelmed.                 10   of put in the criminal system for, you know,
     11           That my feeling is, you know, if            11   running a pill mill, an illegal operation like
     12   anybody stepped up to pay for treatment, yeah,      12   that and I think making the actions of the
     13   I -- I would welcome it.                            13   defendants worse with their actions.
     14           BY MR. CHEFFO:                              14          MR. BADALA: Is this a good time for
     15      Q. Well, putting aside stepped up.               15   a five-minute break?
     16           But should -- should -- should the          16          MR. CHEFFO: Sure.
     17   county seek to make the cartels and the drug        17          THE VIDEOGRAPHER: We are going off
     18   dealers and the pill mills and the doctors          18   the record.
     19   contribute in any way toward the damages that       19          This is the end of Media Unit 3.
     20   they -- they say that they sustained?               20          The time is 2:13.
     21           MR. BADALA: Objection to form.              21          (A short recess was taken.)
     22   Asked and answered.                                 22          THE VIDEOGRAPHER: We are going back
     23           THE WITNESS: I don't know, you              23   on the record.
     24   know, how they would do that. But if there was      24          This is the start of Media Unit No.
     25   some mechanism --                                   25   4.

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                                                   Page 238                                                Page 240
      1          The time is 2:30.                         1              MR. BADALA: Objection to form.
      2          You may proceed, Counsel.                 2              THE WITNESS: I don't know.
      3          BY MR. CHEFFO:                            3              BY MR. CHEFFO:
      4      Q. Doctor, I think I asked you earlier        4          Q. Well, why would the county want it,
      5   if you were an expert on ARCOS, and I believe 5          potentially?
      6   you told me that you were not; is that correct? 6               MR. BADALA: Objection to form.
      7      A. No. We didn't have access to the           7              MR. CHEFFO: Strike that. It was a
      8   data, and I don't know the data.                 8       bad question.
      9      Q. When you -- when you were deposed          9              BY MR. CHEFFO:
     10   last week, I asked you if you had access to the 10          Q. Why would the county want it, and --
     11   data, and I think you told me you didn't think 11        and for what potential uses could it -- it use
     12   you did, right?                                 12       the ARCOS data?
     13      A. No. I -- I said we did not. The           13              MR. BADALA: Objection to form.
     14   county did not. I did not.                      14              THE WITNESS: You know, I don't
     15      Q. And it's something you would have         15       really know that I know enough about the ARCOS
     16   like to have reviewed if you -- if you had      16       data to say. As I understand it, it's about
     17   access to it, right?                            17       distribution of drugs into Cuyahoga County and
     18          MR. BADALA: Objection to form.           18       what drugs are coming here. I know potentially
     19          THE WITNESS: I mean we just didn't 19             it could be useful for developing public health
     20   have access to it. It could have been           20       strategies.
     21   potentially informative. But we did not get     21              But as I say, having never seen the
     22   access to the ARCOS data.                       22       data, I have a very rudimentary knowledge of
     23          BY MR. CHEFFO:                           23       it. And, you know, it's through the DEA. And
     24      Q. And in -- in the last week, did you       24       we have a DEA office here for -- with -- as I
     25   learn that, in fact, the ARCOS data was         25       understand, it has a diversion unit.
                                                   Page 239                                                Page 241
      1   provided to the county and your lawyers months       1           So yeah. Not -- not -- not having
      2   ago?                                                 2   seen it, I don't know how it could be helpful.
      3          MR. BADALA: Objection to form.                3   But if we knew how much drug was in the county,
      4          THE WITNESS: I became aware that              4   that may be potentially useful information.
      5   the data was furnished to lawyers. But it            5           BY MR. CHEFFO:
      6   wasn't available to us at the county, is my          6      Q. Do you know what -- when I use the
      7   understanding of that.                               7   term "indication for prescription medicine," do
      8          BY MR. CHEFFO:                                8   you know what that means?
      9       Q. So you understood that the lawyers            9      A. Maybe I can tell you what I think
     10   had it, but the county and law enforcement and      10   you are saying. And the indication would be
     11   the other county agencies didn't have any           11   the reason that a prescription was being given.
     12   access to it, right?                                12      Q. The approved use, right?
     13          MR. BADALA: Objection to form.               13           Is that -- would you agree with me
     14          THE WITNESS: That's my                       14   or -- is that a -- is that a -- is that a
     15   understanding of that.                              15   definition we can -- we can agree on?
     16          BY MR. CHEFFO:                               16      A. I know there are, you know, some
     17       Q. Does that seem right to you?                 17   medications that have off-label uses. So the
     18          MR. BADALA: Objection to form.               18   indication I think -- you know, I don't know
     19          THE WITNESS: That's the way they're          19   that it would be something -- necessarily an
     20   going to use their data. I can't tell them how      20   approved use.
     21   to use it otherwise.                                21      Q. Okay. We'll -- we'll adopt your --
     22          BY MR. CHEFFO:                               22   your -- so your definition would be an
     23       Q. But you think it would be well used          23   indication means whatever it's prescribed for
     24   if the county had access to it or law               24   by a doctor; yes?
     25   enforcement, right?                                 25      A. The reason for the prescription.

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                                                   Page 242                                                 Page 244
      1      Q.   The reason for it. Okay.                     1   underprescribed or prescribed inconsistent with
      2          What are the typical indications for          2   appropriate standard of care, would you?
      3   opioids?                                             3          MR. BADALA: Objection to form.
      4          MR. BADALA: Objection to form.                4          THE WITNESS: I don't know standards
      5          THE WITNESS: As I say, it's been a            5   of care with that. I think there are instances
      6   very long time since I've prescribed anything.       6   of people who are prescribing opioids that are
      7   As I remember, they were intended to treat           7   done in an illegal fashion that I would say I
      8   pain.                                                8   would offer a judgment that that wasn't
      9          BY MR. CHEFFO:                                9   appropriate prescribing.
     10      Q. What kind of pain?                            10          BY MR. CHEFFO:
     11      A. I'm not sure I understand your                11      Q. What would -- how would you make
     12   question.                                           12   that determination?
     13      Q. Are you aware of different types of           13      A. I mean the pill mill scenario is
     14   pain, or do you categorize them all under the       14   what came to mind when you asked your question.
     15   same rubric?                                        15   You know, not establishing a patient doctor
     16      A. I -- pain.                                    16   relationship, prescribing opioids at that
     17      Q. Okay. I mean are you aware of                 17   point; and, you know, not really having a clear
     18   whether there's any more -- more clarity or         18   reason to be doing that.
     19   specificity with respect to the approved uses       19      Q. Do you believe that some patients
     20   for opioids, or is it just for pain?                20   can benefit from opioid therapy if it's
     21      A. My basic understanding is they're             21   properly prescribed by their doctor and they're
     22   used to treat pain. Some of the opiates are         22   monitored?
     23   used for diarrhea and things like that as well,     23      A. Yes.
     24   like paregoric.                                     24      Q. And do you believe it's an
     25          But I'm not sure what -- I'm not             25   appropriate therapy, to the extent a doctor
                                                   Page 243                                                 Page 245
      1   sure I understand your question as to what           1   determines it's -- it's a -- it's the right
      2   different types of pain.                             2   medicine, for someone who's suffering from
      3       Q. Okay. And is it your understanding            3   cancer pain?
      4   that they have been -- opioids have been             4      A. Again, you know, I don't treat
      5   approved by the FDA for the treatment of pain?       5   people with cancer pain or postoperative pain
      6            MR. BADALA: Objection to form.              6   or chronic pain. So how appropriate those
      7            THE WITNESS: I believe that's what          7   decisions are I really don't feel qualified to
      8   their indication is, yes.                            8   give you an answer on.
      9            BY MR. CHEFFO:                              9      Q. Do you -- are you -- are you
     10       Q. And it's lawful for doctors to               10   qualified to make an assessment as to how a
     11   prescribe opioids for treating pain?                11   doctor should evaluate a patient before
     12       A. That's my understanding of that.             12   prescribing an opioid to his or her patient?
     13       Q. And it's your understanding that             13      A. I wouldn't say that that's, you
     14   it's -- it's common for doctors treating            14   know, something I practice in. And I probably
     15   patients in chronic pain to prescribe opioids,      15   would not feel comfortable making that
     16   amongst other medicines, to try and help their      16   assessment.
     17   patients?                                           17      Q. So whether somebody was -- strike
     18       A. I don't treat chronic pain. I'm              18   that.
     19   aware that that's something that opioids have       19          You're not of the view that opioids
     20   been used for. I don't profess to really know       20   should be removed from the market, are you?
     21   decision making on that, you know, line of          21          MR. BADALA: Objection to form.
     22   treatment. It's outside of the really scope of      22          THE WITNESS: I mean we've used
     23   practice that I do.                                 23   opioids for a long time for pain. And I think
     24       Q. So you wouldn't be the person to             24   the -- you know, this is again just, you know,
     25   talk about whether somebody overprescribed or       25   my rudimentary knowledge -- they have a place

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                                                    Page 246                                                  Page 248
      1   in medicine. I don't know that I would be able 1          understanding of the -- the study and the --
      2   to expound at length about what that role is.    2        the takeaway from it.
      3          But I wouldn't say that, you know,        3           A. What they were doing in the study
      4   they're to be kind of thrown out with the        4        was looking at opioids, both narcotics and
      5   dishwater. Throw the baby out with the bath      5        opioid pain relievers, and trying to establish
      6   water, if you would.                             6        some, you know, data with regard to their
      7          BY MR. CHEFFO:                            7        interrelation.
      8      Q. And -- and -- and you would be --          8               And what they did with the heroin
      9   you would not support any prohibition on         9        users was asked them about, you know, whether
     10   doctors prescribing patients who have a         10        they had used or abused opioids for nonmedical
     11   legitimate need for opioids -- preventing those 11        purposes, as I recall, within the last year.
     12   doctors from doing so, would you?               12        Or they did a ten-year look-back as well.
     13          MR. BADALA: Objection to form.           13               And adding those two together, they
     14          THE WITNESS: I mean a doctor             14        saw that -- I think it was 79.5 percent of the
     15   prescribing a legitimate medication             15        people who were using heroin had a previous
     16   appropriately, I -- I don't see how I would     16        history of using opioid pain relievers, and
     17   object to that.                                 17        very few of the people who were using the
     18          BY MR. CHEFFO:                           18        opioid pain relievers or abusing them had
     19      Q. Have you advocated, either                19        initiated with heroin, is the takeaways we took
     20   personally or professionally, for any           20        from that.
     21   limitations on opioid prescriptions?            21           Q. Okay. So of the heroin users, they
     22      A. Not that I -- I -- and I mean our         22        asked them whether they had used an opioid in
     23   data has been used in a lot of different ways   23        the last five years?
     24   about prescribing. And I don't know the long 24              A. I thought the look-back window they
     25   ranging impacts. My direct lobbying for those, 25         used was ten years.
                                                    Page 247                                                  Page 249
      1   I don't remember any instances of that.               1      Q. Ten years?
      2      Q. We'll just have some examples.                  2      A. And they said, beyond that, they
      3          Have you said a -- you -- a doctor             3   didn't want to rely on recall at that point.
      4   shouldn't be able to prescribe for more than          4      Q. And this was for -- this was for
      5   seven days an initial prescription?                   5   a -- a nonmedical purpose?
      6      A. That's a rule that our governor                 6      A. The opioid pain relievers, yes.
      7   instituted here. And through our Opiate Task          7      Q. So what does that mean?
      8   Forces and things like that data our is used.         8      A. That it wasn't being used for proper
      9   But I'm not directly influencing that decision.       9   use for a therapeutic intervention. I don't
     10          So I would have to say I don't know           10   know how they defined the term in their paper
     11   to what extent, you know, data that we used has      11   though.
     12   influenced any of that. But I have not               12      Q. And so --
     13   personally done so.                                  13      A. That's kind of what I took from it.
     14      Q. Correct me if I'm wrong. I'm sure              14      Q. Right.
     15   you will, which is what you should. But I -- I       15          So it was -- there -- they were
     16   think you had referenced ANAMSA --                   16   nonmedical pain prescriptions, so they were not
     17      A. SAMHSA?                                        17   prescribed -- they were not being used in
     18      Q. -- SAMHSA study last time, maybe               18   accordance with a proper prescription from a
     19   earlier today.                                       19   doctor who prescribed it for pain, right?
     20      A. Both times, yes.                               20          Is that your takeaway?
     21      Q. Okay. And -- and you're familiar               21      A. They may have obtained them from a
     22   with that study?                                     22   doctor for pain. But if it was a doctor
     23      A. In general, yeah.                              23   shopping scenario or something like that, then
     24      Q. Okay. And what -- tell me what --              24   they were using it in a nonmedical way.
     25   you know, give me a summary of your                  25      Q. Okay. So let's -- let's just make

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                                                    Page 250                                                 Page 252
      1   sure --                                               1   medication -- it's a nontherapeutic use of
      2      A. I don't know that they specified,               2   their medication.
      3   you know, more beyond how they defined the            3          Your question's a little confusing
      4   term, as I -- I don't remember that they --           4   to me though.
      5      Q. It was people who were using opioids            5      Q. Right.
      6   or had used opioids in the -- in ten years            6          They -- these were not people who
      7   before in a way that wasn't legitimately              7   were prescribed pain medicines by a doctor,
      8   appropriate based on a doctor's prescription or       8   used it as directed and as prescribed, and then
      9   recommendation.                                       9   went on to use heroin, right?
     10          Is that your takeaway?                        10          That was not this population or this
     11      A. They were using them in a                      11   study.
     12   nonmedical, nontherapeutic way.                      12      A. As I understand it, that's not this
     13      Q. So it could have --                            13   population.
     14      A. That was my takeaway.                          14      Q. And of that 80 percent of the heroin
     15      Q. -- been someone who bought a handful           15   users who had used nonmedical prescription pain
     16   of pills off the street, right, and used them        16   relievers, about 3.6 percent of those
     17   in the last ten years?                               17   progressed to heroin use, right?
     18      A. That would have been my                        18      A. I thought the heroin users
     19   understanding of, you know, a group -- they          19   progressed to -- at -- at that low level, to
     20   group that they would have included in their         20   the nontherapeutic use of medications, the
     21   nonmedical therapeutic use.                          21   opioid pain relievers. It was kind of a -- not
     22      Q. Could have been a -- a -- a pill               22   a initiating drug for the --
     23   mill, right?                                         23          MR. CHEFFO: Well, I want to -- when
     24      A. Right. Sure.                                   24   I think -- I'm going to show you the -- the
     25      Q. It could have been something that              25   article again. I -- hopefully -- and I think
                                                    Page 251                                                 Page 253
      1   they got from a drug cartel and -- from a             1   -- you need to -- read the entire thing, but I
      2   street drug, right?                                   2   want you to -- to be clear on this.
      3       A. I am not aware of the drug cartels             3          Can we just mark this. Because
      4   selling the pills that much. But I don't know,        4   that's not my understanding, but I could be
      5   you know, that I could speak more to the              5   wrong.
      6   source.                                               6          (Deposition Exhibit 3 was marked for
      7           May have been people -- you know,             7   identification.)
      8   other examples I can think of that were               8          MR. BADALA: And just for the
      9   discussed in different papers would be like           9   record, you're allowed to read the document if
     10   taking medications from a medicine cabinet that      10   you'd like. You don't have to listen to his
     11   were intended for somebody else but diverted to      11   instruction.
     12   somebody. And that would be an abuse,                12          MR. CHEFFO: I don't think I
     13   obviously, that wasn't intended for them.            13   instructed him to do anything.
     14           Or, you know, not using your                 14          BY MR. CHEFFO:
     15   medications appropriately as they were               15      Q. I think in the last -- and I'm
     16   prescribed could also be in that group too.          16   looking at the abstract, Doc. I mean, again,
     17           I don't remember how they defined            17   you can look at -- but I -- I'd -- I'd ask you
     18   it, to be honest with you.                           18   to just look at the abstract first on the front
     19       Q. Would the -- is it fair to say one            19   page. And then, if you need to look at more,
     20   of the key takeaways, these weren't people that      20   you can.
     21   went to their doctors for pain, were prescribed      21      A. Not a good way to read medical
     22   appropriately a pain medication, and then 80         22   literature. But I -- I see what you're saying
     23   percent of the people went on to heroin, right?      23   here.
     24           That's not what the study showed.            24      Q. I -- I understand. But --
     25       A. They're not using their                       25      A. I just want to go into --
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                                                  Page 254                                                  Page 256
      1      Q. -- I -- I -- it's a very specific             1   in -- in the prior ten years, right?
      2   question. But again, you -- you --                  2      A. That's my understanding of the
      3      A. I -- I don't want to take up your             3   paper, yes.
      4   time. I'll -- I'll try to do it with the            4      Q. The paper also says that only 3.6
      5   understanding I can --                              5   percent of the people who actually used
      6      Q. And again, I'm not going to stop              6   nonmedical opioid or pain relievers went on to
      7   you, Doctor. I really want -- but I -- I mean       7   use heroin within five years.
      8   I -- I think -- look at -- look at the -- the       8           Is that what that says?
      9   second-to-last sentence in the abstract.            9      A. Yes.
     10      A. Okay.                                        10      Q. And that was a significant finding
     11      Q. It starts with "Only 3.6 percent."           11   both to you and people in your community,
     12           Do you see that?                           12   right?
     13      A. Right.                                       13           MR. BADALA: Objection to form.
     14      Q. So does that refresh your                    14           THE WITNESS: Which finding are you
     15   recollection on this argue -- on this article      15   talking about, sir?
     16   that only 3.6 percent of nonmedical use pain       16           BY MR. CHEFFO:
     17   relief initiates had initiated heroin use          17      Q. Those two findings, the -- the 80
     18   within the five-year period following their use    18   percent and the 3.6 percent finding.
     19   of the nonmedical pain reliever use?               19      A. I certainly, you know, quoted this
     20           MR. BADALA: Objection to form. I           20   paper and the research paper I wrote and
     21   think you read that incorrectly.                   21   thought it was a well done study.
     22           THE WITNESS: I'm sorry. I was              22      Q. And it also illustrated that a very
     23   looking back to the data part of it, which is      23   small percentage of people who actually used
     24   on Page 14.                                        24   even improperly obtained opioids actually went
     25           Right. It says here only 3.6               25   on to use heroin, right?
                                                  Page 255                                                  Page 257
      1   percent of nonmedical pain reliever initiates       1      A. This is the 3 percent that they talk
      2   had initiated heroin use within five-year           2   about here, 3 and a half percent.
      3   period following their first nonmedical pain --     3      Q. You -- it's a small percentage,
      4   pain reliever use.                                  4   wouldn't you agree?
      5          BY MR. CHEFFO:                               5      A. But a very large population who are
      6      Q. Right.                                        6   doing that. But a small percentage of them go
      7          So what does that mean?                      7   on to heroin use, as they mention.
      8          MR. BADALA: Objection to form.               8      Q. Right.
      9          THE WITNESS: That of the people who          9          So --
     10   were initiates with nonmedical pain reliever       10      A. And that's really what forms the
     11   use, 3.6 of them had initiated heroin use in       11   basis of our population here.
     12   five years following their first time using the    12      Q. So 96.5 percent don't, according to
     13   pain relievers in a nonmedical way.                13   that study, right?
     14          Think I confused this with another          14      A. According to that study.
     15   paper where the number of people who were using    15      Q. And how do we differentiate the 3.6
     16   prescription pain medication had a very low        16   in that study with the 96.4 percent when we
     17   incidence of having transitioned over from         17   look at the population of Cuyahoga?
     18   heroin. So sorry I misinterpreted that.            18      A. I don't know how you would --
     19          BY MR. CHEFFO:                              19          (Telephone interruption.)
     20      Q. No. That's okay. That's why I                20          (Discussion held off the
     21   showed you.                                        21   stenographic record.)
     22          So -- so just tell me then -- so we         22          THE VIDEOGRAPHER: We are going off
     23   had a situation where heroin users were asked      23   the record.
     24   about their use of nonmedical opioid drugs, and    24          The time is 2:54.
     25   approximately 80 percent said they had done so     25          (A short recess was taken.)

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                                                  Page 258                                                  Page 260
      1          THE VIDEOGRAPHER: We going back on           1   of the people who used nonmedical pain
      2   the record.                                         2   relievers never, within the last five years,
      3          The time is 2:56.                            3   went on to -- to use heroin, right?
      4          You may proceed, Counsel.                    4      A. That's their finding, yeah. And
      5          MR. CHEFFO: Thank you.                       5   then, when they look at the heroin initiates,
      6          BY MR. CHEFFO:                               6   that's the ones who they point to the 80
      7      Q. Just before we finish with this               7   percent who did have a nonmedical pain reliever
      8   document, I just want to ask you just a -- a        8   use.
      9   question. Then we'll tie it in, Doctor.             9      Q. Right.
     10          So is -- is it your view that some          10           It was 80 percent who used
     11   percentage of the people who use heroin in         11   nonmedical within the last ten years, right?
     12   Cuyahoga County today began using                  12      A. That's my understanding. As I say,
     13   nonprescription pain relievers, including          13   I don't want to keep taking up time because I
     14   opioids, prior to their use of -- of heroin?       14   know -- but -- the proportion of M -- N -- MPR
     15      A. Yes. I would say that's true.                15   initiates who progressed to heroin initiation
     16      Q. And based on this article, would you         16   expressed as a percentage of a hundred percent
     17   characterize that at approximately 3.6 percent?    17   has remained fairly steady.
     18      A. I don't know that we've, you know,           18           And that's the numbers. This is --
     19   looked at that. As I understand, you know, the     19   I'm reading in the middle of page 14. .71, 71
     20   number of people who are -- if you're asking me    20   percent, 87 percent, 86 percent. And I think
     21   who use the prescription opioids in a              21   that's where the number comes 79.5 percent.
     22   nonmedical way progressing to heroin abuse --      22      Q. And -- and in that study, does it
     23      Q. Uh-huh.                                      23   articulate what percentage of people who were
     24      A. -- this is, you know, what they say,         24   prescribed lawful or appropriate opioid therapy
     25   a nationally representative study.                 25   went on to use heroin?
                                                  Page 259                                                  Page 261
      1          I don't know the data specifically        1         A. That's not what I think this study
      2   in Cuyahoga County to say what percentage would 2       is addressing.
      3   advance to that. I don't know.                   3         Q. Are you aware of a study that looks
      4      Q. Well, you -- have you -- have you          4      at that question.
      5   done anything to either validate or -- or        5             Well, let me ask you this: Are you
      6   challenge it?                                    6      aware of any data with respect to Cuyahoga
      7      A. I really don't have the capacity           7      County?
      8   with our folks actually to go back to do this    8             MR. BADALA: Objection to form.
      9   kind of a study.                                 9             THE WITNESS: I think, and
     10      Q. My question is have you?                  10      understand your question, am I aware of any
     11      A. No. I -- because I don't know how I       11      data of people who have a lawful prescription
     12   would do that, I guess is what I'm trying to    12      for opioids who went on to develop a heroin
     13   say.                                            13      addiction?
     14      Q. Are -- are you aware of any reason        14             BY MR. CHEFFO:
     15   as to why this information would not apply to   15         Q. Yes. Within a -- within some period
     16   Cuyahoga County?                                16      of time.
     17      A. It's a national sample. And               17         A. I'm not aware of that data.
     18   Cuyahoga County, in terms of the drug epidemic, 18         Q. Have you ever tried to look at any
     19   has higher prescribing rates than other parts   19      type of correlation or relationship or
     20   of the county -- part -- pardon me -- other     20      percentage of people who were what I'll call
     21   parts of the country.                           21      lawfully or appropriately prescribed an opioid
     22          So I can't say for sure is it            22      medicine who later went on to became heroin or
     23   applicable, is it not applicable. I don't       23      fentanyl addicts?
     24   know.                                           24         A. We didn't -- I, again, you know,
     25      Q. And this also says that 96.4 percent      25      don't have access to all of that prescribing

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                                                    Page 262                                                  Page 264
      1   data myself. So I don't know.                         1           How to identify, you know, the
      2          The other caveat I might say, too,             2   illicit users of drugs, I don't know that we
      3   is that, you know, of those people potentially        3   could do that with certainty nationally or in
      4   who were kind of stealing out of grandma's            4   Cuyahoga County.
      5   medicine cabinet, they could go on to develop a       5           And then, you know, as we talked
      6   prescription -- or pardon me -- go on to              6   about, you know, those people who kind of take
      7   develop an addiction to those substances based        7   a -- or you're not asking me that about, you
      8   on, you know, somebody who lawfully did have          8   know, people who kind of access legally
      9   that prescription. So --                              9   prescribed, appropriately used medications with
     10      Q. Okay.                                          10   their leftovers.
     11      A. -- little hard to capture all the              11       Q. Yeah.
     12   data --                                              12       A. That's not a population we're
     13      Q. Well --                                        13   discussing.
     14      A. -- but --                                      14           So to -- to answer your question,
     15      Q. Okay. I'll be even more precise. I             15   I -- I don't know that I could figure out how
     16   thought you understand what I was talking            16   to get that estimate.
     17   about.                                               17       Q. What would be the variables you --
     18          I was trying to differentiate what            18   you'd want to know if you had -- you know,
     19   this study talks about, right, which is people       19   if -- if you had the resources to answer that
     20   who are using it for nonmedical purposes,            20   question and you have the inclination to answer
     21   right?                                               21   it?
     22          And I was trying to ask you someone           22       A. The most obvious one -- and I think
     23   individually who was prescribed an opioid for a      23   it's the one that, you know, would be the
     24   legitimate purpose, and he or she took that          24   easiest to obtain, is who are all these people
     25   medicine --                                          25   who've received opioid pain relievers.
                                                    Page 263                                                  Page 265
      1      A. Okay.                                           1      Q.   Can I stop you there.
      2      Q. -- as prescribed by a doctor, if you            2          So that -- that would -- isn't that
      3   have looked at or are aware of any data in            3   -- couldn't you search OARRS to at least start
      4   Cuyahoga County that would tell us what               4   there?
      5   percentage of those people went on to become          5      A. I can't search OARRS like that. I
      6   abusers of heroin or fentanyl.                        6   don't know that's it searchable --
      7          MR. BADALA: Objection to form.                 7      Q. Okay.
      8          THE WITNESS: I am not aware of the             8      A. -- for that.
      9   data --                                               9      Q. So first is you'd want to know who
     10          BY MR. CHEFFO:                                10   received the -- the prescription opioid pain
     11      Q. Are you aware of --                            11   relievers for a medically appropriate purpose,
     12      A. -- that it exists.                             12   right?
     13      Q. Are you aware of it nationally?                13      A. That's what we're looking for.
     14      A. I don't know.                                  14   Would OARRS capture everything that was
     15      Q. How would you -- how would you                 15   medically appropriate. It may do that and
     16   determine the answer to that question?               16   capture some additional things too. The, you
     17      A. What percentage of people who use              17   know, medically inappropriate prescribers.
     18   their drug appropriately --                          18          And, you know, when I remember
     19      Q. Yes, sir.                                      19   talking to the prosecutor about pill mills, he
     20      A. -- go on to develop an addiction to            20   said, yeah, some people who go in there have a
     21   heroin.                                              21   very legitimate reason to; be there and are
     22          A lot of moving parts on that                 22   getting, you know, a prescription for that.
     23   question. I don't -- I don't know that I could       23          So even I think going back to
     24   say. I mean we could probably go back and            24   prescriber-level data might make that a hard
     25   identify who got the prescriptions.                  25   thing to say was this legitimate, even with the
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      1   person who is subsequently arrested and, you        1   individual case, right?
      2   know, like we say, that that person was             2           MR. BADALA: Objection to form.
      3   running, you know, an illegal pill mill             3           THE WITNESS: I don't know think I
      4   operation. There may be legitimate people in        4   could do that. Whether there's expertise like
      5   that data set who, you know, are kind of lumped     5   that, that I don't know. I cannot do it
      6   with the bad practitioner. So whether they go       6   myself.
      7   on and develop addiction, I don't know.             7           BY MR. CHEFFO:
      8          And as I say, you know, the end              8      Q. If it was out there, it'd be helpful
      9   result, these, you know, folks who are addicted     9   to you in your practice in making public health
     10   to heroin, there are models and, you know,         10   policy, wouldn't it?
     11   estimates how many people in a community would     11           MR. BADALA: Objection to form.
     12   be, you know, addicted or abusing things.          12           THE WITNESS: Which -- it would be
     13          I don't know how they were generated        13   helpful to know --
     14   exactly. So I can't personally kind of go back     14           BY MR. CHEFFO:
     15   and tell you what, you know, is the number of      15      Q. If you --
     16   addicted people here or how to get a reasonable    16      A. -- what percentage of people would
     17   estimate of that and.                              17   go from prescription opioids to the addicted
     18          Not knowing those individuals, I            18   population.
     19   don't think you could go back and                  19      Q. Right.
     20   cross-reference OARRS easily on our state          20      A. It would be, you know, a piece of
     21   level. Or it would become even more                21   information that I -- I think would be, you
     22   challenging I think on a national level, just      22   know, helpful to know I think for our purpose
     23   given the difference in prescription drug          23   in terms of the opioid crisis kind of -- we had
     24   monitoring programs and how efficacious they       24   to work backwards from when we identified the
     25   were.                                              25   crisis, which was the heroin crisis, and then
                                                  Page 267                                                  Page 269
      1           And, you know, our OARRS data           1       try to get to the opioid pain reliever piece of
      2   initially included the pharmacies prescribing   2       that. And that's where this study was more
      3   narcotics. But it did not include people who    3       helpful to me.
      4   were dispensing narcotic, samples they had,     4               But, you know, I firmly believed
      5   prescribers from their office, until years      5       that all information has some value if it's
      6   after OARRS was started.                        6       true. And that is, you know, information that
      7           So I don't mean to give a               7       stays valuable. As I say, I can't do it. It's
      8   wishy-washy answer. I don't usually like them. 8        kind of like, if a tree falls on my car, I
      9   But there's a lot of moving parts to that. And 9        can't estimate how much damage, but somebody's
     10   I -- I -- I wouldn't feel that would be a very 10       going to give me money for it. How they do
     11   easy task to do, if it's even possible. But    11       that, I don't know though.
     12   not by me, I guess.                            12               MR. CHEFFO: Okay. Mark this,
     13      Q. So to summarize what I think you're      13       please.
     14   saying is that there -- I think you said       14               (Deposition Exhibit 4 was marked for
     15   there's a lot of moving parts.                 15       identification.)
     16           Is that fair?                          16               THE WITNESS: I remember the paper.
     17      A. Yeah. Direct quote.                      17       So I'm just going to read the message.
     18      Q. And it is something that you can't       18               BY MR. CHEFFO:
     19   kind of draw broad conclusions from            19          Q. I didn't say anything. It's a
     20   population-type statistics or data in order to 20       relatively short e-mail. So I'm happy for you
     21   determine whether people were -- ultimately 21          to read it so I can ask you questions about it.
     22   became addicted to heroin or fentanyl or other 22          A. Let me just read his results.
     23   opioids based on initial prescriptions of      23               Okay. Ready.
     24   lawful opioids without knowing a lot of the    24          Q. Thanks, Doctor.
     25   different underlying specifics of that         25               So you wrote this to who?

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                                                  Page 270                                                 Page 272
      1       A. The recipients of the message are            1   our first study I have seen that provides data
      2   Vince Caraffi, who is the injury prevention         2   to back up that belief."
      3   program coordinator at the Cuyahoga County          3      Q. So you -- you thought this was
      4   Board of Health. Jenna Suholdonic is the            4   accurate when you sent it, I take it?
      5   person at the United States Attorney's Office       5      A. Yes.
      6   who coordinates a lot of the information that       6      Q. And you still believe it's accurate,
      7   gets distributed, the minutes and things like       7   right?
      8   that. And Hugh Shannon is my in-house               8      A. Yes, I do.
      9   administrator. And he's been another person         9      Q. And it says: "What the authors are
     10   I've worked with very closely with our data        10   saying is that there's a large segment of the
     11   generation.                                        11   drug-addicted population who are not" -- and
     12       Q. And you -- you say the minutes.             12   that's all caps, right?
     13           Is this in connection with a               13      A. Yes.
     14   committee?                                         14      Q. -- "getting addicted as a result of
     15       A. I was sending this to Vince Caraffi         15   the overprescribing of pain medications."
     16   in association with the Cuyahoga County Board      16          What did you mean by that?
     17   of Health task force. He would be my point of      17      A. That they --
     18   dissemination there. And I sent it to Jenna        18          MR. BADALA: Objection to form.
     19   Suholdonic -- I boot her name periodically.        19          THE WITNESS: Oh, pardon me.
     20   I'll just say Jenna.                               20          And I -- I guess I would qualify
     21           I sent it to her because she does          21   this with the overprescribing pain medication
     22   the distribution list for the U.S. Attorney's      22   to them.
     23   task force.                                        23          What Cicero, et al., are saying in
     24       Q. Okay. And you expected them to pass         24   this paper is that they've noticed a transition
     25   it on to the other participants in the task        25   in opioid initiators starting with heroin
                                                  Page 271                                                 Page 273
      1   force?                                              1   rising from 2005 to 2015.
      2       A. Right. Yeah. They were going to be           2          So there's still the majority who
      3   points of distribution for me.                      3   are being introduced to opioid addiction
      4       Q. And this is dated October 9th, 2017,         4   through oxycodone and hydrocodone, but there
      5   right?                                              5   are drops in those. And what I would say is
      6       A. Right. That's correct.                       6   that these folk aren't receiving the opioid
      7       Q. Could you read just your note for            7   pain medication. But this is an entirely
      8   the record.                                         8   unexpected, given that we're prescribing fewer
      9       A. Sure.                                        9   opioid pain medications in Ohio.
     10           "Hi all. Would you please forward          10          And what I stressed to the folks
     11   this citation to your distribution lists. I        11   when I eventually spoke to them is that, you
     12   just became aware of it, and it's a critically     12   know, when we look back at these previous, you
     13   important piece of information. What the           13   know, heroin epidemics that we've had, they
     14   authors are saying is that" a large segment of     14   didn't start with opioid pain relievers.
     15   the drug-addicted population is -- I'm sorry --    15          So what we're seeing potentially is
     16   "is that there is a large segment of the           16   a reversion to a model that's more traditional
     17   drug-addicted population who are not getting       17   in that we have an opioid-addicted population,
     18   addicted as a result of overprescribing of pain    18   again who are, you know, related to the
     19   medications. This is not to say that the           19   overprescribing of medication, but their
     20   prescribing guidelines are without merit, but      20   initiates, their contacts who subsequently
     21   it is to say that, if they are our sole or         21   initiate are bypassing that root of having
     22   major focus in preventing emergence of new         22   opioid pain relievers prescribed to them.
     23   addicts, then we are going to be missing a         23          And the public health significance
     24   significance emerging trend. I believe we          24   of that is that, especially at this time
     25   suspected that this was the case, but this is      25   around, the CDC's guidelines being promulgated,

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                                                    Page 274                                                  Page 276
      1   what I wanted to say is, you know, it's not the       1   to go down and find heroin."
      2   whole story anymore if we're going to                 2      Q. Really?
      3   intervention efforts with, you know, trying to        3           How do you know that?
      4   reduce our fentanyl deaths or our heroin              4      A. Not my experience talking to people
      5   deaths.                                               5   in recovery as to how they get started. In
      6          Because overprescribing still has              6   fact, I've never heard anybody say that.
      7   merit. It's still important because it is a           7      Q. Are you an expert in addiction or --
      8   big initiator. But we have to start thinking          8   or heroin usage?
      9   about interdiction just of illicit substances         9           MR. BADALA: Objection to form.
     10   as well. Because that's potentially what some        10           THE WITNESS: No.
     11   of these folks are getting started with.             11           BY MR. CHEFFO:
     12          BY MR. CHEFFO:                                12      Q. Okay. So --
     13      Q. So Cicero said, from 2005 to 2015,             13      A. I would say that would be a very
     14   there was a significant increase in people who       14   unusual story, based on my experience talking
     15   started using heroin who never used opioids,         15   to people --
     16   right?                                               16      Q. You've not --
     17      A. Right. The initiates of heroin.                17      A. -- who have had this issue.
     18      Q. And heroin is not marketed or sold             18      Q. Right.
     19   by any drug company, is it?                          19           You -- you've not published this
     20      A. I don't know the overseas. There               20   or -- or -- or hold yourself out as an expert
     21   are some countries like England where heroin is      21   on addiction, do you?
     22   legal.                                               22      A. I know things about addiction. I
     23      Q. United States.                                 23   wouldn't say that, you know, I would hold
     24      A. I don't know --                                24   myself out as an expert.
     25      Q. It's not in the --                             25      Q. Right.
                                                    Page 275                                                  Page 277
      1     A.     In the --                                    1          So do the people who actually abuse
      2     Q.     -- United States, is it?                     2   heroin, do they have any responsibility?
      3     A.     -- United States, no.                        3      A. Again, you know, I think that they
      4          No. We're not in England.                      4   have responsibilities for their behavior.
      5      Q. Okay.                                           5   Addiction is, you know, a very hard thing to
      6      A. No.                                             6   treat, has high relapse rates and, you know,
      7      Q. And it's not distributed by anybody,            7   those things.
      8   right, lawfully?                                      8          But the climate that creates the
      9      A. It's not lawfully distributed. It's             9   addict I think is again referable back to the
     10   --                                                   10   defendants. And while I don't necessarily, you
     11      Q. Right.                                         11   know, like the behaviors of the addicts -- I
     12      A. -- distributed by plenty of people,            12   don't feel like, you know, these are people
     13   unfortunately.                                       13   who, you know, promote good behavior in a lot
     14      Q. Are any of them defendants in this             14   of good communities because of things like
     15   lawsuit?                                             15   property crime that they might do to support
     16      A. Distributors of heroin, no.                    16   their behaviors, I -- I think a lot of the
     17      Q. And -- and with respect to all of              17   issue with addiction does refer back to the
     18   those people that Cicero identified that never       18   defendants.
     19   used opioids but started on heroin, do you           19      Q. So -- so let's assume someone is
     20   attribute the cause of -- of those initiations       20   addicted on heroin, and they go out and break
     21   of heroin to the conduct of the defendants?          21   into someone's car and steal something.
     22      A. At least in large part, yes.                   22          Is that the defendant's
     23      Q. Okay. Why?                                     23   responsibility too?
     24      A. Because the population, they're not            24          MR. BADALA: Objection to form.
     25   people who wake up one day and say, "I'm going       25          THE WITNESS: In an indirect way, I

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                                                   Page 278                                                  Page 280
      1   would say that you've created an addicted       1               THE WITNESS: In some of those
      2   population. They're, you know, conducting       2        instances. Obviously we had heroin addicts
      3   illegal activities to support an addiction.     3        before an opioid pain reliever crisis. And
      4   And, you know, I can't talk to percentages      4        some of those folks -- you know, I couldn't go
      5   again, like we mentioned before. But, you       5        back in 1970 and say, you know, "That guy has,
      6   know, that individual has some referral back to 6        you know, an opioid pain reliever problem."
      7   the defendants.                                 7               But in bulk, a lot of our population
      8           BY MR. CHEFFO:                          8        who are addicted to heroin have, you know,
      9      Q. So -- and let's -- let's keep going.      9        records of using opioid pain relievers.
     10           So they are addicted. They --          10           Q. Okay. But you're -- you're
     11   this -- this is a person who never took an     11        changing -- you're changing the -- the story
     12   opioid. Okay? Let's give you a hypothetical. 12          here, Doctor. This I'm -- you know, that's --
     13   Never took an opioid, was -- and never saw a 13             A. I --
     14   doctor for pain but starts to use heroin.      14           Q. Look, this is -- this is -- hold on
     15           And you've told us that the            15        a second.
     16   defendants are substantially responsible for   16               This is -- this is a lawsuit that
     17   that, right?                                   17        the county has brought. So I'm asking you some
     18      A. By degrees of separation in Cuyahoga 18            questions, right?
     19   County.                                        19               Seems -- you're -- you're saying
     20      Q. And then they go and they break into 20            that these seem absurd or hypothetical. And --
     21   someone's car and steal their radio, and the   21        and, you know, to some extent I would agree
     22   defendants are responsible for that, too,      22        with you.
     23   right?                                         23               But the question is, to the extent
     24           MR. BADALA: Objection to form.         24        that -- and that's why I very carefully said in
     25           THE WITNESS: By degrees of             25        your -- you were changing it -- if someone
                                                   Page 279                                                  Page 281
      1   separation again.                                    1   never saw a doctor and was prescribed opioids,
      2          BY MR. CHEFFO:                                2   they never took an opioid medicine, they never
      3      Q. And then they take the radio, and              3   saw an ad or any information about opioids, but
      4   they get into their own car, and they're             4   through some channel, whether it's initially
      5   speeding away from the police, and they hit          5   starting on heroin or they initially started on
      6   somebody and injure them.                            6   illicit fentanyl or methamphetamine or crack
      7          The defendants are responsible for            7   cocaine or something, they found their way
      8   that too?                                            8   taking heroin, never having had a prescription
      9      A. You know, we can track things back,            9   or a doctor who said, "You should take an
     10   you know, to ridiculous levels. I think --          10   opioid."
     11      Q. Are we doing that?                            11           Okay? That's -- that's -- that's my
     12      A. I kind of feel like we are.                   12   population.
     13      Q. I think so too.                               13       A. Okay.
     14      A. But I think, you know, if you're              14       Q. Okay.
     15   telling me is, you know, an addicted population     15           MR. BADALA: Objection to form.
     16   in this county referable back to the                16           BY MR. CHEFFO:
     17   defendants, I would say my answer to that is        17       Q. Now, my question is do you believe
     18   yes.                                                18   that the defendants are substantially
     19      Q. For heroin?                                   19   responsible for that person's overdose or
     20      A. For heroin.                                   20   addiction?
     21      Q. Even if they never were -- had an             21           MR. BADALA: Objection to form.
     22   addiction disorder with any product made by any     22           THE WITNESS: I think they could be;
     23   of the defendants?                                  23   yes.
     24          MR. BADALA: Objection to form.               24           BY MR. CHEFFO:
     25   Asked and answered.                                 25       Q. Are they?

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      1     A.    They could be.                          1        Q. So all of those people started -- or
      2          MR. BADALA: Objection to form.           2     many of them started with some other pathway,
      3          THE WITNESS: I can't tell you,           3     right?
      4   again, there was ever heroin abuse before       4            MR. BADALA: Objection to form.
      5   opioid pain relievers. But the initiation, I    5            THE WITNESS: Okay.
      6   don't know to what extent that follows the      6            BY MR. CHEFFO:
      7   chain of people back to someone who did get 7            Q. Alcohol, right?
      8   addicted because of opioid pain relievers.      8            Marijuana perhaps. Then maybe
      9          The glut of heroin in our area is        9     cocaine. Then maybe methamphetamines.
     10   largely created by the addicted population who 10            MR. BADALA: Objection.
     11   are referable back to the defendants.          11            BY MR. CHEFFO:
     12          And to me, that isn't a big stretch,    12        Q. Some -- some percentage of the
     13   like trying to go from a car accident to       13     population wound up getting there through other
     14   something. That has a pretty clear link going 14      addictive behaviors; isn't that fair?
     15   back, to my opinion.                           15            MR. BADALA: Objection to form.
     16          BY MR. CHEFFO:                          16            THE WITNESS: I -- I don't know that
     17      Q. But you'd want to know at least what 17         I could say that.
     18   the link was, right?                           18            BY MR. CHEFFO:
     19          MR. BADALA: Objection to form.          19        Q. Well, if you don't know that you can
     20          THE WITNESS: The link being how do 20          say that, how can you then trace anybody to a
     21   we go back to that?                            21     prescription opioid?
     22          BY MR. CHEFFO:                          22            MR. BADALA: Objection to form.
     23      Q. Yeah.                                    23            THE WITNESS: Because people get
     24          How -- how do you --                    24     addicted to prescription opioids when they're
     25      A. I don't know that you could do that      25     prescribed to them. And if that supply gets
                                                Page 283                                                  Page 285
      1   on every individual case. But I'd say, you        1   taken off, then, you know, they may start to
      2   know, in general, we have, you know, more         2   transition into things either because they're
      3   heroin in this area; we have more addicts in      3   less expensive, like heroin was, or more
      4   this area; and that's a result of, you know,      4   available.
      5   overprescribing, overdistribution.                5          BY MR. CHEFFO:
      6          So it does refer back to the               6      Q. But I've asked you a number of
      7   defendants.                                       7   times, Doctor. You can't tell me how -- what
      8      Q. So do -- you said you -- you don't          8   percentage of those.
      9   think people wake up one day and say, "I want     9          I mean are all of the heroin users,
     10   to go use heroin."                               10   are they people who started on prescription
     11          Is that your testimony?                   11   opioids?
     12          MR. BADALA: Objection to form.            12          MR. BADALA: Objection to form.
     13          THE WITNESS: I, you know, have            13          THE WITNESS: I think I've answered
     14   interacted with individuals who were heroin      14   that question multiple times. And my answer to
     15   addicts through the task force. And I have       15   that is no.
     16   never heard that story.                          16          MR. CHEFFO: Right.
     17          BY MR. CHEFFO:                            17          THE WITNESS: I mean there were
     18      Q. Have you ever heard someone wake up        18   people who were addicted to heroin, came back
     19   one day and say, "I've never used opioids, but   19   from Vietnam, and didn't have prescription
     20   I want to go and buy carfentanil or fentanyl"?   20   opioids as their pathway to that.
     21      A. No.                                        21          MR. CHEFFO: Okay. Let's take a
     22      Q. Have you ever heard someone wake up        22   two-minute break, please.
     23   and say, "I've never used or abused any other    23          THE VIDEOGRAPHER: We are going off
     24   drugs. I want to go and use OxyContin"?          24   the record.
     25      A. Not something I'm familiar with, no.       25          This is the end of Media Unit No. 4.

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                                                    Page 286                                               Page 288
      1          The time is 3:36.                              1   be as accurate if we were just wanting to talk
      2          (A short recess was taken.)                    2   about accidental deaths if we had inadvertently
      3          THE VIDEOGRAPHER: We are going back            3   caught the suicides in there.
      4   on the record.                                        4       Q. How many -- approximately how many
      5          This is the start of Media Unit No.            5   suicides per year are in Cuyahoga related to
      6   5.                                                    6   ingestion of drugs?
      7          The time is 3:35.                              7          MR. BADALA: Objection to form.
      8          You may proceed, Counsel.                      8          THE WITNESS: How many suicides --
      9          MR. CHEFFO: Thank you.                         9          BY MR. CHEFFO:
     10          BY MR. CHEFFO:                                10       Q. How many people kill themselves or
     11      Q. Sir, would you look at Exhibit 1,              11   commit suicide by ingesting lawful or illegal
     12   please, and turn to that chart on Page 4.            12   drugs?
     13      A. This one, right?                               13       A. I don't know that. We had 215
     14      Q. Yes. Thank you.                                14   individuals last year who took their life. And
     15      A. Okay. Yes.                                     15   that was a rise over other years, which would
     16      Q. I -- I'm not sure if I misheard, but           16   be about 180 or so. I know firearms account
     17   I just want the ask you a question or two about      17   for over half of that. And hanging would be
     18   the case numbers on the bottom.                      18   another percentage.
     19          Do you see that?                              19          So the drug overdoses, while not
     20          They're -- for each year there's a            20   zero, I -- I don't know the exact number. But
     21   number of cases listed?                              21   those are sort of the bigger ones. And drug
     22      A. Oh, like 2006, 250?                            22   overdose I think is third in that list. But
     23      Q. Yes, sir.                                      23   it's substantially behind firearms.
     24      A. Yes. Yeah. Okay.                               24       Q. And has the -- has Cuyahoga brought
     25      Q. Do those numbers include suicides?             25   a lawsuit against the manufacturers of
                                                    Page 287                                               Page 289
      1      A. I don't think so, but I honestly                1   firearms?
      2   don't know that for certain.                          2          MR. BADALA: Objection to form.
      3      Q. They shouldn't though, right?                   3          THE WITNESS: Not that I'm aware of.
      4      A. I don't think they do.                          4          BY MR. CHEFFO:
      5      Q. Okay. And why would you want to                 5      Q. Have you -- are you aware of any
      6   exclude the suicides from that number?                6   intention to do so?
      7          MR. BADALA: Objection to form.                 7      A. Has not been discussed with me. So
      8          THE WITNESS: Kind of like a                    8   no, I don't know.
      9   different public health issue. I would say            9      Q. Did you learn about opioids when you
     10   they can sometimes be interrelated because one       10   were in medical school?
     11   of the big risk factors for suicide is               11      A. Yes. In pharmacology.
     12   substance abuse.                                     12      Q. And even prior to medical school,
     13          But in terms of trying to track the           13   had you generally heard about opioids and
     14   overdose, you know, crisis in our county, we         14   heroin addiction and abuse of opioids?
     15   wanted to focus more on the accidental               15      A. I remember that heroin situation
     16   overdoses.                                           16   that was -- I've mentioned a couple times in
     17          BY MR. CHEFFO:                                17   the 1970s. And that's probably -- I was a kid
     18      Q. And if they were included, that                18   back then. But that's my earliest recollection
     19   would kind of unnecessarily and improperly           19   of opioids in that kind of a setting.
     20   inflate the numbers from a apples-to-apples          20      Q. And in that early setting and in
     21   comparison, right?                                   21   your -- your law school days -- excuse me --
     22      A. It could. I think they would be                22      A. Medical school.
     23   dwarfed by the accidental data, just because         23      Q. Medical school. Pardon me.
     24   the majority of our suicides involve firearms        24      A. I didn't make it to law school.
     25   or hangings. But it would -- say it wouldn't         25      Q. I -- I downgraded you.
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                                                    Page 290                                                  Page 292
      1      A. Upgrade, I think.                               1   the hypothetical person that it posed, which is
      2      Q. -- did you learn that opioids had               2   the person who never received opioids at all,
      3   the risk of addiction?                                3   and determined -- and never received
      4      A. Back in the 1970s or --                         4   prescription opioids at all, and determined to
      5      Q. Back in the 1970s and also when you             5   go out and use heroin or fentanyl and
      6   went to medical school.                               6   overdosed. Okay?
      7      A. Of, yes. Sure.                                  7          With respect to that person, could
      8      Q. And that was something that was                 8   you say, without knowing more, whether it's --
      9   common knowledge amongst you -- you and your --       9   it's more likely than not that that person
     10   your colleagues and your professors, right?          10   became addicted or overdosed based on the
     11          MR. BADALA: Objection to form.                11   conduct of the defendants, or would you need to
     12          THE WITNESS: Yes.                             12   know more?
     13          BY MR. CHEFFO:                                13       A. I would want to know more.
     14      Q. Do you remember, as a youth and                14       Q. And what would you want to know more
     15   teenager and young adult, friends and family         15   in order to either validate your view one way
     16   members, parents perhaps, warning you, saying,       16   or the other?
     17   "Be careful. Never get involved with heroin          17       A. You know, where they got their drug
     18   because it can be addictive"?                        18   from; who they might have associated with; who
     19          MR. BADALA: Objection to form.                19   might have encouraged that use.
     20          THE WITNESS: I think there was a              20          You know, to refer things back to
     21   lot of messaging I remember as a kid about just      21   the defendants, then, you know, how are, you
     22   like don't use drugs. Heroin would certainly         22   know, those individuals potentially related to
     23   have been one of those drugs. But there were         23   opioid pain relievers. You know, and, yeah,
     24   other things. And maybe I just heard more the        24   the -- the availability of heroin, I would say,
     25   marijuana and those things.                          25   you know, it probably -- time frame when you
                                                    Page 291                                                  Page 293
      1          But heroin I think would have been             1   have that hypothetical person. You know, we've
      2   in that mix of things, too, that we were              2   had a -- a big glut of heroin in our community
      3   advised to stay away from.                            3   and more recently fentanyl.
      4          BY MR. CHEFFO:                                 4          So I think that those, again, can be
      5      Q. And I take it there's -- there's                5   referred back, at least in part, to the actions
      6   never been a time, either then or in your life,       6   of the defendants. And -- yeah. Probably
      7   where you came to the view that opioids did not       7   those things.
      8   have a risk of addiction, right?                      8       Q. Are -- are -- are fentanyl abusers
      9      A. No.                                             9   and heroin abusers interchangeable?
     10      Q. It's been a view you've held and had           10       A. It's a good question. And I think
     11   pretty much your whole adult life, right?            11   it's another one that we wanted to answer
     12      A. Yeah. Even back to being a kid, I              12   actually, at least on our data. So what we've
     13   think, you know, that was kind of what I was         13   done in my office in terms of characterizing
     14   taught.                                              14   them has been a couple of different things.
     15      Q. Have you met any -- any doctors that           15          As I mentioned we've continued to
     16   have said that they don't believe that there's       16   collect that death review data. And one of the
     17   a risk of addiction with opioid medicines?           17   projects that we just completed and will be
     18      A. Not that I remember.                           18   presenting at the American academy of forensic
     19      Q. Would you think they were quacks if            19   sciences in -- next month involves kind of a
     20   they had that view?                                  20   look at our 2016 heroin -- or pardon me --
     21          MR. BADALA: Objection to form.                21   fentanyl overdoses, comparing them back to our
     22          THE WITNESS: I -- I'd wonder about            22   2012 heroin overdoses in terms of the
     23   what they were talking about, yeah.                  23   demographic data. So age, race, gender. And
     24          BY MR. CHEFFO:                                24   they're very similar.
     25      Q. Going back for a minute to the --              25          We also looked at things like

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                                                    Page 294                                                  Page 296
      1   whether they received Naloxone, the antidote.         1      A. -- national meeting in -- in -- in
      2   And unfortunately that was kind of similar too.       2   Baltimore. We submitted an abstract. My
      3          And we also looked at the percentage           3   graduate student submitted an abstract. I
      4   of them who had a file with OARRS. And that           4   don't remember the exact date.
      5   was about 70 percent. And of that, 90 percent         5      Q. Was it produced in this case?
      6   of them were people who had a prescription for        6      A. I don't know.
      7   opioid pain relievers.                                7      Q. Well, did you give it to any of the
      8      Q. Well --                                         8   lawyers?
      9      A. So I think they're similar                      9      A. A lot of the document production was
     10   populations, the 2012. That's the point of our       10   done with my operations officer. So I don't
     11   research is the population of 2016 fentanyl          11   know if that was provided or not.
     12   overdoses is a similar population to the heroin      12      Q. And -- and the abstract -- the
     13   overdose population that we saw at the               13   abstract -- so I want to -- you compared -- I
     14   beginning of -- when we recognized first, you        14   want to come back to this in one second. I
     15   know, that things were changing here.                15   think I had asked you a different question, but
     16          And then I kind of have the feeling           16   I'm happy to -- to ask you some of these.
     17   that we want to be able to go back and look at       17          I was actually initially asking you
     18   these populations independently before we make       18   about whether people -- the population of
     19   assumptions about, oh, it -- it has to go back       19   people who abuse heroin are similar to
     20   to this, it has to go back to that. I tried to       20   fentanyl.
     21   be -- think of -- more of a scientist than just      21          In other words, do people go out on
     22   taking anecdotes on that.                            22   the street, let's say, and if they have a -- an
     23      Q. You -- you would be wrong to just              23   abuse problem, and they -- will they
     24   take anecdotes and draw conclusions, right?          24   interchangeably use heroin or fentanyl; or do
     25      A. You know, decision making I think is           25   you know?
                                                    Page 295                                                  Page 297
      1   based on the best information you have. But if        1      A. I think, you know, the answer to
      2   you have access to better information, I would        2   that may be they don't know what they're
      3   always try to use that.                               3   getting in some instances. One of the programs
      4       Q. Anecdotes is not a way to make                 4   that the county's tried to introduce, because
      5   public policy, is it?                                 5   of the lethality of fentanyl -- fentanyl is a
      6            MR. BADALA: Objection to form.               6   much more potent drug than heroin -- has been
      7            THE WITNESS: Again, I -- I would             7   to give to the users fentanyl test strips to
      8   have to say, you know, when you're making             8   see if that drug is present in what they
      9   decisions, there are times when the only              9   purchased.
     10   information you have is largely anecdotal. And       10           And I don't have data from Cuyahoga
     11   if it's compelling, I could see instances where      11   County. But there's data that says, from a
     12   somebody might make a decision -- a policy           12   colleague of mine in Rhode Island, that it will
     13   decision based on that and maybe revisit it to       13   the change their behavior if they see fentanyl
     14   kind of see does the data support that.              14   is present.
     15            But sometimes you have to make the          15           I don't know if that was -- I got
     16   best decision with the information you have in       16   off on a tangent, but --
     17   front of you.                                        17      Q. No, no.
     18            BY MR. CHEFFO:                              18           So -- so your -- is it your
     19       Q. Tell me about -- so have you                  19   testimony that you believe that often people
     20   submitted this report for -- or study or --          20   who use illicit fentanyl don't -- are not aware
     21   what -- what is it?                                  21   that it's -- it's fentanyl, and they are
     22            It is a -- it is a publication, or          22   seeking heroin, and they wind up with fentanyl,
     23   is it a --                                           23   and it's more potent, so it's more dangerous?
     24       A. It's a --                                     24      A. I can't speak to kind of some of the
     25       Q. -- a board?                                   25   motivations. I do think that, you know, based

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                                                    Page 298                                                Page 300
      1   on that information and applying it to our            1   to answer --
      2   community, we are at least, you know,                 2      Q. What factors were you --
      3   considering that possibility; that if an              3      A. -- from my standpoint.
      4   individual knows something they thought was           4      Q. What factors were you looking at to
      5   heroin has fentanyl in it, it may change their        5   determine if they were similar?
      6   behavior. That's the basis for the program.           6          Were you looking at who their
      7      Q. And you told -- you just mentioned              7   doctors were?
      8   that you did a -- a -- a look at 2016 data for        8      A. Meaning who --
      9   fentanyl users?                                       9      Q. Who was prescribing it.
     10      A. Fentanyl -- people who died of                 10      A. Who was prescribing opioids or --
     11   fentanyl overdoses, yes.                             11      Q. Yeah.
     12      Q. And you looked at the OARRS                    12      A. We looked at the OARRS data, but we
     13   database?                                            13   didn't specifically look at the physicians who
     14      A. We went back and looked at the OARRS           14   were prescribing --
     15   database for those individuals, yes.                 15      Q. Did you look at why --
     16      Q. And what were you looking for?                 16      A. -- other than to -- I'm sorry. If I
     17      A. Whether they had an OARRS file and             17   could finish -- to see if there were people who
     18   whether they had a -- what the file was for and      18   had five or more prescribers, the doctor
     19   whether there was evidence of doctor shopping.       19   shopping folks.
     20      Q. That was the -- that was the                   20      Q. So were you looking for reasons as
     21   hypothesis?                                          21   to why -- well, strike that.
     22      A. The hypothesis for --                          22          Did -- were you -- tell us the
     23      Q. Well, what's -- what was the point             23   factors that you looked at to determine whether
     24   of this paper? What were you trying to convey        24   there were similarities.
     25   to the reader?                                       25      A. We looked at age --
                                                    Page 299                                                Page 301
      1      A. The purpose of the research was to              1      Q. Okay.
      2   take the fentanyl population -- overdose              2      A. -- race, gender, whether they had a
      3   population -- pardon me -- and see whether they       3   history of substance abuse before, whether they
      4   were similar or different than the heroin             4   were using intravenous drugs, whether Naloxone
      5   overdose population that we had seen in 2012.         5   had been administered by EMS.
      6   We actually used 2013 data for the OARRS              6         We were looking at whether they had
      7   comparison because it was not the deidentified        7   had contact with the jail system. We were
      8   data.                                                 8   looking at whether they had contact with the
      9          And, you know, as I say, there are             9   medical systems, the three major hospitals, in
     10   heroin epidemics without opioid pain relievers.      10   addition to -- or I'm sorry -- the three major
     11   We've never really had a fentanyl epidemic --        11   hospitals. And we looked to see whether they
     12   we've never had a drug epidemic like fentanyl.       12   had been enrolled in drug court, which was
     13          And I thought that it was an                  13   information we could access.
     14   important question to answer are the people who      14         I don't remember if -- we -- we saw
     15   overdosed on fentanyl in 2016, at a later phase      15   if EMS had responded to them and the number of
     16   of the opioid crisis, similar to the people who      16   times EMS had administered Naloxone. Because
     17   overdosed in 2012 on heroin? Because we still        17   that was relevant for our Project DAWN, the
     18   have intervention strategies, you know, that         18   Deaths Avoided With Naloxone. Because what we
     19   are trying to address that --                        19   saw back in 2012 was that we were seeing a lot
     20      Q. Right.                                         20   of EMS responses, nearly, you know, 90,
     21          And what --                                   21   95 percent, but only 25 percent were deemed
     22      A. -- 2012 population. And again,                 22   salvageable for EMS to administer Naloxone.
     23   limited resources, substantial worsening of the      23         But an additional 50 percent of
     24   crisis. Want to make sure, yeah, we have the         24   those people died in proximity to somebody
     25   right people. So it was an important question        25   else. So they were either using drugs with

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      1   somebody else in the minority of cases, or they    1   force.
      2   had an instance where there was somebody -- and    2      Q. Did -- did you just say --
      3   we would hear these heartbreaking stories of       3      A. I think that was --
      4   somebody who would come home intoxicated; they     4      Q. -- it was public?
      5   looked high; they went to bed; they were           5      A. I might have misspoken on that. We
      6   storing like crazy; kept everybody up; and then    6   had access to it --
      7   they stopped snoring; and, you know, they'd        7      Q. Okay.
      8   find them dead in the morning.                     8      A. -- is what I would say. I would
      9          And when they stopped snoring, they         9   think probably those things would be protected
     10   were dying. That's when they needed Naloxone.     10   by HIPAA and other things. You can't tell
     11   So that was data that was used to support our     11   people who was in drug treatment.
     12   Naloxone program. So we looked at that so --      12          We were working, as part of our task
     13   as a factor as well.                              13   force, with those folks. So we had that
     14      Q. What -- what did you look at -- I           14   access. But I -- I think you're right that
     15   want to -- I want to be very specific on these.   15   that certainly wouldn't be something that --
     16   So if you could just tell me the specific         16      Q. So --
     17   answer. I'll go through each one.                 17      A. -- we'd consider public data.
     18          To determine someone's substance           18      Q. So you --
     19   abuse history, what did you do to make that       19      A. They're public institutions, I would
     20   determination in both years?                      20   say.
     21      A. We would rely on -- if there were           21      Q. So you looked at data to determine
     22   arrest records, that was one piece. We would      22   whether somebody was in drug treatment for
     23   also -- interviews at the scene by my             23   years, 2013 and 2016, as part of your paper?
     24   investigator, whether somebody had a history of   24      A. It's part of our public health
     25   substance abuse.                                  25   intervention. And then this is the data we're
                                                 Page 303                                                 Page 305
      1      Q. Anything else?                               1   going to present.
      2      A. I think those were the big                   2      Q. Okay. And to determine if they ever
      3   information streams that we used for that          3   were an intervenous drug user, was that largely
      4   determination.                                     4   by visual examination?
      5      Q. And -- and in many determinate --            5      A. Again, the two things. Obviously if
      6   were you able to determine what -- what -- the     6   we had somebody who had a puncture site on
      7   rate of uncovering whether they had substance      7   them, we would, you know, rule out whether that
      8   abuse treatment?                                   8   was a therapeutic thing from EMS, if we could
      9      A. Treatment we went back and looked at         9   do that; and if it wasn't, then we would infer
     10   the public data through the ADAMHS -- the         10   from that that they were intravenously using
     11   Alcohol and Drug Addiction Mental Health          11   drugs.
     12   Services -- data. That was furnished us to        12          The scene also could give us
     13   because it's public. There were private           13   indications both whether syringes were present
     14   treatment facilities here.                        14   as well as the information of other individuals
     15           And as these charts would be              15   at the scene.
     16   abstracted, we would look at whether they had     16      Q. Okay.
     17   the public data and also whether there was        17      A. So we try to collect as much data
     18   anything in our history taking at the scene       18   from different streams as we can.
     19   that suggested, oh, they're not going to show     19      Q. What about Naloxone use; how did you
     20   up on the public data because they went to a      20   determine that?
     21   private treatment facility.                       21      A. That would be record -- recorded by
     22      Q. And ADAMHS data is substance abuse          22   EMS in their response to these tests. We get
     23   data that's public?                               23   an EMS run sheet for all the deaths where EMS
     24      A. I don't know. I mean we had access          24   responds. They come to our office. And the
     25   to it as part of our collaboration and task       25   drug overdoses would be a subset of that.

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      1       Q. And you matched those individually              1   population in 2013 and something in 2000 --
      2   to various people?                                     2   group of people in 2016, and you thought that
      3           You got the records, and they said             3   there was some parallels, right?
      4   John Smith, Naloxone treatment, and you match          4          That's your conclusion?
      5   it to an overdose death in your office?                5      A. Yes. The populations are --
      6       A. Maybe I should back up.                         6      Q. Okay.
      7           When we're investigating a death in            7      A. -- very similar.
      8   our office, if there was an EMS response, we           8      Q. And then to try to look at them, you
      9   would request and obtain the EMS run sheet as          9   -- you -- you identified a number of factors.
     10   part of our practice, drug overdoses or other         10   And that's what I'm just trying to understand
     11   things. So in abstracting a chart to kind of          11   as to how you got to those factors, right?
     12   pull the data out of it, we would be able to          12          We've talked about substance abuse.
     13   see, you know, an EMS run sheet, did they             13   Talked about intravenous.
     14   respond.                                              14          Now, Naloxone, is it only from the
     15       Q. I'm -- so you've heard the term                15   EMS record of -- you know, these are -- these
     16   "garage in, garage out," right?                       16   are overdoses -- when someone died; or did you
     17       A. Yeah.                                          17   get additional records of prior Naloxone
     18       Q. Right.                                         18   administrations?
     19           So you've told me you've done this            19      A. Oh, you mean from Project DAWN or
     20   publication, right? And you've told me there's        20   something, if I'm --
     21   varied data points that you're using to try to        21      Q. No.
     22   draw some comparisons. And we haven't seen            22      A. -- understanding you right?
     23   this, to my knowledge, paper. It hasn't been          23      Q. If -- if John Smith had previously
     24   produced.                                             24   been -- had overdosed and been revived with
     25           So I'm just trying to under --                25   Naloxone.
                                                     Page 307                                                  Page 309
      1       A. It's not a paper, sir. I'm sorry.               1      A. We would potentially capture that in
      2   It's an abstract we submitted for presentation.        2   the contact with the medical systems. But for
      3       Q. Well, what -- what's the difference?            3   the Naloxone, as I'm conveying it to you,
      4       A. I think of a paper as, you know,                4   that's their terminal event.
      5   something like we had there.                           5           So did EMS respond? And if EMS
      6       Q. So what's an ab -- is it like a                 6   responded, did they administer Naloxone?
      7   board at a medical conference?                         7   That's the data set that I'm referring to.
      8       A. I -- I didn't understand the                    8      Q. And how did you find out if they had
      9   question.                                              9   any contact with any jails?
     10       Q. What is it, like a board at a                  10      A. One of the original members of our
     11   medical conference; or is it on paper, a              11   poison death review committee was a
     12   written document?                                     12   representative of our sheriff's office. And
     13       A. It's a abstract. It's a written                13   they would basically search their records as
     14   document that we submitted to the meeting that        14   the oversight for the jail to see if these
     15   we had, and that's our latest data.                   15   folks had been incarcerated.
     16           I don't know, you know, what was              16           Being in jail is a risk factor for
     17   supplied to you. But certainly, you know, I           17   opioid overdose in the abusers because they can
     18   can supply that to our attorneys --                   18   lose their tolerance. That's why we opted to
     19       Q. Okay.                                          19   look at that.
     20       A. -- when I get back to the office.              20           We also wanted to look at it because
     21       Q. Well, let me just continue asking              21   they're truly a captive audience. And we
     22   questions.                                            22   thought that, if we identified them, we could
     23           You said you -- in order to -- what           23   potentially, if it was a significant
     24   I -- what it sounds like you were trying to do        24   percentage, do some risk reduction education.
     25   was to draw some comparisons between a                25           So actually everybody who leaves the

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      1   justice center over there gets a letter from me       1      A. Right. The EMS run sheets.
      2   about risk reduction strategies around opioids.       2      Q. And who -- who's -- who's the person
      3      Q. Doctor, I'm -- I'm just trying to               3   whose -- what -- what organization did you send
      4   understand about -- you're -- you're giving a         4   this abstract to?
      5   lot of speeches now. And I know you're looking        5      A. The abstract representing was sent
      6   to the camera, and you're giving a speech.            6   to the American Academy of Forensic Sciences.
      7           But I'm asking you very specific              7      Q. And who's the person there that you
      8   questions about a report that we haven't seen,        8   deal with?
      9   and I've limited time. Okay? So I'd like you          9      A. There is a submission abstract. I
     10   to -- to focus, if you can, on my questions.         10   don't know who receives that. Then those are
     11           MR. BADALA: He's answering your              11   reviewed by different sections. So my section
     12   questions.                                           12   is pathology, biology. And it would have been
     13           BY MR. CHEFFO:                               13   reviewed, and it - it was accepted.
     14      Q. Now, I asked you how you got the               14      Q. When did you send this abstract in?
     15   information from the drug court. You told me         15      A. In the fall, I think. I don't
     16   somebody who sits on a task force had access.        16   remember the date specifically.
     17           Did that person get a name of all of         17      Q. September, October?
     18   -- did you give them a list of the names of all      18      A. I don't remember the date. I'd have
     19   the people in 2013 and 2016 and ask them to go       19   to check.
     20   and run them in a database?                          20      Q. Did you do any revisions to the
     21           Is that how it worked out?                   21   abstract?
     22      A. Yes. We would furnish our list of              22      A. No. We -- we sent it. And then,
     23   fentanyl overdoses and run those through a           23   you know, it's their decision after that. They
     24   database to see if they matched with people in       24   don't send it back to you and say, "Revised
     25   drug court or in the jail.                           25   this," or "Add this."
                                                    Page 311                                                  Page 313
      1      Q. Who did that?                                   1      Q. Was it peer reviewed?
      2      A. Who did the --                                  2      A. It's not a publication. So there's
      3      Q. Yeah. Who was the person who -- who             3   a selection committee for these various
      4   used the criminal justice database to do that         4   organizations. And I don't know the details of
      5   and then provided that information to you?            5   what goes into the selection of the papers.
      6      A. It was somebody in the sheriff's                6           I haven't served in my own capacity
      7   office. I don't have a name to give you.              7   as a member of AAFS or name in that capacity.
      8      Q. Well, who's the person who sat on               8   So I don't know what went into the selection
      9   task force with you that authorized that?             9   process.
     10      A. I think his name was Miguel                    10      Q. And how was it presented?
     11   Caraballo. But that would have been in 2013.         11           Is it presented through a
     12   Otherwise, we've been collecting this data not       12   PowerPoint? Is it a speech? Is it a board
     13   face to face anymore. 2013 we met, we went           13   like they do at medical conferences? Or do you
     14   over the 194 overdoses face-to-face. And that        14   hand people out your abstract?
     15   information was provided by somebody from the        15      A. It's an abstract now. It was
     16   sheriff's office.                                    16   accepted to be a poster presentation, but the
     17          There are minutes of those that I             17   poster's not been created.
     18   believe were furnished. And that person would        18      Q. I say "board."
     19   be in the minutes.                                   19           That -- so you understood -- you
     20      Q. Okay. And did you -- did you                   20   call it a poster?
     21   disclose to them that you were going to be           21      A. Oh, poster. Yeah.
     22   using this data for an abstract that you were        22      Q. Right.
     23   going to be sending outside of Cuyahoga?             23           You've seen those where they
     24      A. I don't think so.                              24   basically put the big -- one big poster up,
     25      Q. And did -- you also access EMS data?           25   right, and you stand by it and you talk about

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                                                  Page 314                                                 Page 316
      1   it?                                                 1   tell that from the database.
      2          Is that --                                   2      Q. Well, you looked at a lot of
      3      A. Right.                                        3   different databases.
      4      Q. -- what we're talking about?                  4          You did -- there's -- in all of your
      5      A. That's what we will ultimately be             5   analysis, you didn't -- you didn't check any
      6   doing in February. The poster itself though         6   databases or talk to anyone about why a
      7   hasn't been created.                                7   particular doctor wrote a prescription, did
      8      Q. Who are the other authors on this             8   you?
      9   poster abstract?                                    9      A. No, we did not.
     10      A. My student who collected data and            10      Q. You didn't look at any medical
     11   analyzed it was Vaishali -- and that's             11   records, check any databases, talk to anyone as
     12   V-A-I-S-H-A-L-I -- Deo, D-E-O, MD. And she is      12   to why that prescription was written for a
     13   a student in the Case Western Reserve School of    13   particular patient, did you?
     14   Public Health.                                     14      A. There were medical records that we
     15      Q. And in connection with any of these          15   were accessing about treatment. I don't know
     16   people, did you -- did you talk to any of the      16   that they specifically talked about why opiates
     17   doctors who prescribed the opioids?                17   would have been prescribed. We weren't looking
     18      A. The fentanyl overdose --                     18   at that --
     19      Q. Yes.                                         19      Q. Did you --
     20          So I understood --                          20      A. -- data point.
     21      A. That we --                                   21      Q. That wasn't a factor, was it?
     22      Q. -- one of the things you did was to          22      A. Huh?
     23   look at the -- the overdoses and, amongst other    23      Q. That wasn't a data point, was it?
     24   factors, you checked the OARRS database to         24      A. It wasn't a data point we were
     25   determine if there was a prescription at some      25   looking at, no.
                                                  Page 315                                                 Page 317
      1   point, right?                                       1      Q. You didn't -- and couldn't determine
      2      A. That's right, yes.                            2   whether the opioids were written after somebody
      3      Q. And how far back did you go?                  3   first started using fentanyl, could you?
      4      A. As far back as the database would             4      A. No. We could just look back and see
      5   let us, which I think changed to three years        5   what percentage of the people who died of a
      6   for this study.                                     6   fentanyl overdose had received a prescription
      7      Q. So you looked to see if there was a           7   for an opioid or a controlled substance through
      8   -- a -- an entry for -- in OARRS for any type       8   OARRS.
      9   of controlled substance, or were you only           9      Q. Did you compare how many people were
     10   looking for opioids?                               10   incarcerated prior to receiving the
     11      A. Both. So the 70 percent number that          11   prescription in OARRS?
     12   I quoted was for any OARRS file, so any            12      A. I don't think we went into that
     13   controlled substance. And the 90 percent of        13   level. We identified the number of people who
     14   that, so 63 percent of the total, was for          14   had been incarcerated, again as an intervention
     15   prescription opioids.                              15   point potentially for public health education.
     16      Q. And you didn't talk to any doctor as         16   I don't -- we didn't look at their timing of
     17   to why they were prescribed, right?                17   OARRS relative to their incarceration --
     18      A. No. We didn't do that follow-up.             18      Q. Did you look at --
     19      Q. You didn't look as -- as to the              19      A. -- though --
     20   basis for the prescription, did you?               20      Q. Sorry.
     21      A. No. It wouldn't have been in the             21      A. We didn't look at the timing of
     22   database.                                          22   their incarceration relative to their
     23      Q. You didn't look at whether it was            23   prescribing, no.
     24   received from a pill mill, did you?                24      Q. So they could have been in jail well
     25      A. I don't think, you know, we could            25   before they received a prescription or not; you

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                                                   Page 318                                                  Page 320
      1   just don't know.                                     1     Q.    Did you say that?
      2          That wasn't a data point, was it?             2     A.    It's certainly possible.
      3      A. I don't know.                                  3     Q.    Did you say that?
      4      Q. And you didn't determine whether               4          Did -- I mean -- let me ask you
      5   they had actually had an overdose and received       5   this: When you looked for drug abuse
      6   Naloxone before they ever received the OARRS         6   treatment, did it go back more than two or
      7   prescription, did you?                               7   three years?
      8      A. And if I understand your question,             8      A. I don't recall. We got the data
      9   whether they'd had an overdose, been revived         9   from ADAMHS and -- I don't remember. It's
     10   with Naloxone, and then subsequently received       10   certainly possible. Could have gone back
     11   another prescription?                               11   further than that.
     12      Q. Right.                                        12      Q. Right.
     13      A. No. We didn't look at that                    13          And did you say, "By the way, it
     14   specifically.                                       14   could be misleading if you think that what
     15          I can say, you know, we didn't look          15   we're saying to you is someone actually took an
     16   at that in 2012 either. So we wanted to keep        16   opioid and then had treatment, when, in fact,
     17   the population that we studied in 2012, the         17   they had treatment five years before they ever
     18   data we were getting in 2016, as close to that      18   got an opioid"?
     19   as we could so we could do comparisons.             19          Wouldn't that have been something
     20      Q. Right.                                        20   that you'd want to convey to your -- your- -
     21          If -- if you were looking at whether         21   your consuming public?
     22   someone had received addiction treatment, that      22          MR. BADALA: Objection to form.
     23   was one of the things -- treated for substance      23          THE WITNESS: As I say, all
     24   abuse, right?                                       24   information's valuable. We didn't look at
     25      A. Right. Rehabilitation treatment,              25   that.
                                                   Page 319                                                  Page 321
      1   detox, those things.                                 1          BY MR. CHEFFO:
      2      Q. You didn't look at whether they                2      Q. Well, are you going to do that now
      3   received detox or substance abuse treatment          3   that you've kind of thought of that issue so
      4   prior to receiving a prescription for an opioid      4   that no one is misled?
      5   from a doctor, right?                                5          MR. BADALA: Objection to form.
      6      A. We didn't specifically look at that            6          THE WITNESS: As it stands now, we
      7   time line, no.                                       7   wanted to compare 2016 data to 2012 data. And
      8      Q. And you didn't do that because you             8   I don't have the staff right now to do that.
      9   know it would have shown that a lot of these         9   As I say, it could be a very interesting piece
     10   people actually had long histories of drug          10   of information to know. But I -- I can't tell
     11   abuse prior to ever getting a prescription from     11   you I'm leaving here and going back to do it
     12   a doctor that was listed in OARRS, right?           12   because I don't have the resources, given
     13      A. No. I wouldn't characterize. We               13   everything else that's going on in our county.
     14   were just trying to collect information. I'm        14          BY MR. CHEFFO:
     15   not trying to find out, you know, what -- as I      15      Q. You had the resources to do the
     16   understood your question, I'm not trying to         16   poster, right?
     17   hide anything there.                                17      A. I mentored a graduate student to do
     18      Q. But you had information that would            18   this poster and the research for it.
     19   have clearly showed that people had had             19      Q. Do you stand behind it?
     20   substance abuse treatment prior to ever             20          Is it accurate?
     21   receiving an opioid that was listed in the last     21          MR. BADALA: Objection to form.
     22   two or three years in the OARRS database,           22          THE WITNESS: Is what accurate?
     23   right?                                              23          BY MR. CHEFFO:
     24      A. We didn't parse it to that level.             24      Q. Did you lend your name and
     25   So it --                                            25   reputation to this board, or is it just

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                                                     Page 322                                                  Page 324
      1   something that a student did on a frolic and           1      A. And I think we were.
      2   detour?                                                2      Q. Okay. And you're going to produce
      3      A. No. It's a legitimate scientific                 3   that -- that document and the drafts to your
      4   study.                                                 4   lawyer, right?
      5      Q. And you want it to be as accurate as             5          You -- you can find that?
      6   possible, right?                                       6          MR. BADALA: Objection to form.
      7      A. Sure.                                            7          We'll take it under consideration if
      8      Q. You don't want it to mislead anyone,             8   it hasn't been produced already.
      9   do you?                                                9          MR. CHEFFO: Okay.
     10      A. No.                                             10          MR. BADALA: You're assuming it
     11      Q. And if you thought it would be                  11   hasn't been produced.
     12   misleading, you would want to correct it,             12          MR. CHEFFO: I am assuming that.
     13   right?                                                13   And it's -- it's -- if it is, then I apologize.
     14      A. I have to do what I can do. I                   14          MR. BADALA: According --
     15   wouldn't want to mislead anybody. And I think,        15          MR. CHEFFO: I haven't --
     16   you know, what you talk about -- you know, if I       16          MR. BADALA: Same --
     17   look at addiction as a chronic relapsing              17          MR. CHEFFO: -- found it.
     18   illness, maybe people were in treatment, did          18          MR. BADALA: Yeah.
     19   well, then relapsed later and started to abuse        19          BY MR. CHEFFO:
     20   opioid pain relievers. I don't know that.             20      Q. All right. Let me ask you a few
     21          I'm capturing a data set and sharing           21   other questions just on resources.
     22   it. I don't, you know, proffer this as the            22          Is there a time that you've asked
     23   final word on everything. It's valuable               23   for additional resource from your boss in order
     24   information to move a discussion forward.             24   to do the function that you think your office
     25          And I don't think it's my intent to            25   needs to do and they have been denied?
                                                     Page 323                                                  Page 325
      1   mislead anybody. I'm certainly not trying to           1          MR. BADALA: Objection to form.
      2   do that. I'm trying to do my best to                   2          THE WITNESS: I think our
      3   characterize two populations of people who             3   administration's been supportive. And they may
      4   overdosed and say that they are similar so the         4   not have said yes right away. But I think,
      5   prevention strategies that were formulated back        5   when I've asked for additional personnel or
      6   in 2013 when we had this data, 2014, 2015, are         6   staff -- pardon me -- staff or instrumentation,
      7   still potentially applicable to the population         7   that they were very responsive. I'm pleased
      8   we're dealing with now who overdosed on                8   with, you know, how responsive they have been.
      9   fentanyl in 2016.                                      9          BY MR. CHEFFO:
     10      Q. But in order to find out if they're             10      Q. And do you think that we're past the
     11   similar, you have to ask the right questions,         11   peak of the fentanyl issues in Cuyahoga?
     12   right?                                                12      A. I think it's too early to say.
     13          MR. BADALA: Objection to form.                 13      Q. Where is the trend going?
     14          BY MR. CHEFFO:                                 14      A. The trend's going downward. But in
     15      Q. You can't be result oriented, can               15   2015 -- or 2014, as you -- 2015 -- I'm sorry --
     16   you?                                                  16   the heroin trend went down, and then we saw a
     17      A. I -- I didn't hear the beginning                17   fentanyl trend emerge.
     18   of --                                                 18          And I don't know that the fentanyl
     19      Q. In order to --                                  19   trend, I would be willing on one year of data,
     20      A. -- your question.                               20   to say we're out of the woods. I don't think
     21      Q. -- to -- to find out if they are, in            21   any of us said that at the press conference
     22   fact, popular -- similar, you can't be result         22   either. We -- a lot of work to do. But it was
     23   oriented, right?                                      23   encouraging to see it headed in that direction.
     24          You have to be fair and neutral and            24      Q. Are you going to devote more
     25   scientific about the comparison, right?               25   resources to cocaine?

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      1            MR. BADALA: Objection to form.               1          The time 14:27.
      2            THE WITNESS: What resources are              2          (A short recess was taken.)
      3   you --                                                3          THE VIDEOGRAPHER: We are going back
      4           BY MR. CHEFFO:                                4   on the record.
      5      Q. Are -- are -- is your department                5          This is the start of Media Unit No.
      6   going to devote more resources in understanding       6   6.
      7   the cocaine epidemic that you have and how to         7          The time is 4:40.
      8   fix it --                                             8          You may proceed, Counsel.
      9           MR. BADALA: Objection to form.                9      EXAMINATION BY COUNSEL FOR DEFENDANT
     10           BY MR. CHEFFO:                               10             AMERISOURCEBERGEN
     11      Q. -- or address it?                              11          BY MR. BORANIAN:
     12      A. We continue to monitor the drug                12      Q. Good afternoon, Dr. Gilson.
     13   supply through our drug chemistry laboratory.        13      A. Good afternoon, sir.
     14   We continue to do our autopsy work on any            14      Q. You've talked today and before quite
     15   suspected drug overdose.                             15   a bit about the medical examiner's office's --
     16           I don't see analogs of cocaine               16   office's use of the OARRS database. And I just
     17   emerging. So I think the resources that we're        17   have a couple of follow-up questions on that.
     18   doing for drug overdose investigations cover         18          The first thing is that are you able
     19   the cocaine surge. We've gotten adequately           19   to designate delegates to access OARRS data on
     20   staffed again.                                       20   your behalf?
     21           I don't know what other resources I          21      A. Yes, I am.
     22   would allocate to that, as I think we're             22      Q. And who are those delegates
     23   sufficiently addressing it now. It's just, you       23   currently?
     24   know, it wasn't a good thing to see it rise          24      A. Hugh Shannon, Dr. Deo, and I think
     25   again.                                               25   our new epidemiologist, Manreet Bhullar,
                                                    Page 327                                              Page 329
      1       Q. All right. I just have another                 1   B-H-U-L-L-A-R.
      2   question or two, and then I'm going to turn it        2      Q. And who is Hugh Shannon?
      3   over to my colleagues.                                3      A. Hugh Shannon is my chief of
      4           Is there a -- is there a person               4   operations administrator. He -- his name --
      5   who's in charge of databases and kind of              5   his title's changed. He's my chief of
      6   information management in your office?                6   operations though. He oversees the
      7       A. We have a centralized IT department            7   nonlaboratory and nonmedical staff part of the
      8   for the county. And we have in-house people           8   operation.
      9   who at one time were my employees; but now,           9      Q. How long has Mr. Shannon been with
     10   when the county charter reform took place, they      10   you?
     11   became centralized. The whole department             11      A. I arrived in Cuyahoga County in June
     12   became centralized.                                  12   of 2011. He's been here the whole time with
     13           They would maintain our medical              13   me. It's my understanding he only got there a
     14   examiner database. They would also maintain a        14   few weeks before me. I don't remember his
     15   separate database for our crime laboratory.          15   exact start date.
     16   It's -- we can't get the two of those in one         16      Q. Who is Dr. Deo?
     17   package, actually.                                   17      A. Dr. Deo is a research assistant to
     18           MR. CHEFFO: Okay. Thanks, Doctor.            18   me. She is currently enrolled in the Case
     19           I'm going to pass you over to my             19   Western Reserve University master of public
     20   colleague.                                           20   health program. She is an MD from previous
     21           Let's go off the record for a                21   schooling, but she was going back for that.
     22   minute.                                              22      Q. Is she an employee of Cuyahoga
     23           THE VIDEOGRAPHER: We -- we are               23   County?
     24   going off the record.                                24      A. No, she is not.
     25           This is the end of Media Unit No. 5.         25      Q. And the epidemiologist, is it Dr.
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                                                  Page 330                                               Page 332
      1   Bhullar?                                            1   for doctor shopping. I don't think we
      2      A. Ms. Bhullar.                                  2   necessarily keep individualized data for that.
      3      Q. Ms. Bhullar.                                  3   I don't -- I don't know at that level.
      4      A. She's also --                                 4      Q. Who maintains that database?
      5      Q. And who is she?                               5      A. The agency.
      6      A. -- another epidemiologist -- or               6      Q. The agency. Okay.
      7   pardon me -- a master of public health student      7          Who would know where that database
      8   from Case Western Reserve University. And she       8   is and how it's maintained?
      9   is an employee. We hired her on a grant. So         9      A. Probably a better question for my
     10   she is a Cuyahoga County employee for at least     10   operations officer.
     11   a month or so.                                     11      Q. Mr. Shannon?
     12      Q. Have you had any other delegates?            12      A. Mr. Shannon, yes.
     13      A. Erin Worrell, who was one of my              13      Q. Now, it's your understanding that it
     14   investigators -- I don't know if she still has     14   became mandatory in 2015 for prescribing
     15   the access or not -- is only the other one I       15   physicians to check OARRS when prescribing
     16   can think of right now.                            16   controlled substances; is that right?
     17      Q. And Ms. Worrell is an investigator           17      A. Yes. I think there was a
     18   in your office, correct?                           18   requirement for a check if the prescription was
     19      A. She's one of my senior                       19   going to be longer than seven days. Or there
     20   investigators, yes.                                20   was a requirement for the check every 90 days
     21      Q. And also a county employee, correct?         21   thereafter. That's my understanding of it.
     22      A. Also a county employee, yes.                 22          But if somebody was prescribing
     23      Q. All right. Now, again, we've                 23   opioids in the hospital, for example, after
     24   discussed quite a lot the office's use of the      24   surgery, they didn't have to check the OARRS
     25   OARRS reports.                                     25   database, is my understanding of it.
                                                  Page 331                                               Page 333
      1          And without regard to whether             1         Q. Did it become mandatory in 2016 for
      2   they're printed or downloaded or -- or whatever  2      pharmacies to check OARRS when dispensing
      3   where -- where is the information that your      3      controlled substances?
      4   office gleans from the OARRS reports recorded?   4         A. That's my understanding of that,
      5          And clearly you've done analysis          5      yes.
      6   with those data, true?                           6         Q. And regardless of those
      7      A. Yes.                                       7      requirements, it's mandatory for pharmacies to
      8      Q. So even if the reports are not             8      report the dispensing of controlled substances,
      9   physically printed aged put in some file in      9      right?
     10   some organized fashion, where is the data       10             MR. BADALA: Objection to form.
     11   gathered once gleaned from the OARRS database? 11              THE WITNESS: As I understand how
     12      A. We have a data sheet, a kind of a         12      the database was created, that was data that
     13   model form, that we use for our opioid          13      was collected from the pharmacies initially to
     14   investigations in general. The OARRS data is    14      create the database. And then at a point
     15   recorded as part of that data sheet, data       15      subsequent to that, and I want to say a couple
     16   analysis.                                       16      years after that, it became mandatory for
     17          And I believe we have an electronic      17      doctors' offices who were giving out controlled
     18   database for that now where the OARRS data      18      substances from the office also to enter that
     19   would be entered for -- you know, whether we    19      as a data point as well.
     20   have a doctor shopping situation, whether we    20             BY MR. BORANIAN:
     21   have -- well, I guess whether we have a file at 21         Q. When did it become -- well, strike
     22   all, whether there is, you know, opioids        22      that.
     23   prescribed.                                     23             When was it required for pharmacies
     24          And I think we're still tracking the     24      to report dispensing information to OARRS, if
     25   benzodiazepines. And then we also have a track  25      you know.
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                                                  Page 334                                               Page 336
      1          MR. BADALA: Objection to form.               1   you have determined to be the cause of death?
      2          THE WITNESS: As I understand it,             2     A. The combined effects of them.
      3   when it started. But I -- I don't want to be        3   That's usually the wording that we'll use. But
      4   certain about that. I thought they had to           4   they are all contributing to the cause of
      5   prescribe -- share that information to create       5   death.
      6   the database.                                       6     Q. Now, once you have determined that
      7          BY MR. BORANIAN:                             7   an opioid death has occurred, how is that --
      8      Q. Let me ask you about death                    8   well, you enter it on the death certificate,
      9   certificates a little bit.                          9   correct?
     10          The death certificate includes both         10     A. Right. Okay.
     11   the cause of death and a manner of death; is       11     Q. And how is that recorded or coded
     12   that right?                                        12   otherwise in the department?
     13      A. That's correct. Yes.                         13     A. I'm not sure I understand your
     14      Q. So is it then part of a medical              14   question.
     15   examiner's job to certify both the cause of        15     Q. Well, is -- you've been -- you've
     16   death and the manner of death?                     16   run reports and statistics over the years on
     17      A. Yes. That would be our statutory             17   overdose deaths and other kinds of deaths.
     18   responsibility to do that.                         18          There must be some database from
     19      Q. So if a -- a forensic pathologist or         19   which you draw that information, right?
     20   one of your colleagues or if you yourself --       20     A. Oh, sure. Yes.
     21      A. They're all forensic pathologists --         21     Q. So then how is -- you know, once
     22      Q. Very well?                                   22   you've determined that there's been an
     23      A. -- in my office who would be doing           23   opioid-related death, you know, how is that
     24   the certifications.                                24   coded and then entered into a database?
     25      Q. Okay. If -- if any one of those              25     A. We have a -- an office data system
                                                  Page 335                                               Page 337
      1   professionals determines to a reasonable degree  1      for the medical examiner side called VertiQ.
      2   of medical certainty that a particular drug or   2      And the cause of death will be entered into
      3   substance was a cause of death, do you then      3      that. And that's, you know, potentially
      4   name that particular drug or substance in the    4      searchable database back through 2006. And
      5   cause of death line on the death certificate?    5      that would be the repository of our cause of
      6      A. Yes, we do. In fact, that's a good         6      death information.
      7   question. Because one of the things I think      7         Q. I see.
      8   that was a problem statewide was people were     8             So -- and when did that coding
      9   not doing that.                                  9      process begin?
     10           I had one doctor in my office who       10         A. I think the office has always
     11   had come up from Texas who also didn't          11      maintained cause of death information. That
     12   routinely do that. And we gave him the nudge    12      system was implemented I want to say in
     13   that we needed to do that. Because I think      13      about -- it was before my time -- 2006, 2007.
     14   that's important information to track.          14             Prior to that our office has
     15           And I also sit on the board of          15      traditionally really put out a statistical
     16   directors for the State Coroner's Association   16      report for 75 years. There were other ways of
     17   and made that recommendation through them, too, 17      tabulating cause of death information, but I
     18   to the elected coroners throughout our state.   18      don't know what they were.
     19      Q. There are cases where there are           19         Q. Can a toxicology report distinguish
     20   multiple drugs presents in the tux [sic] -- in  20      between different kinds of opioids?
     21   the tox reports, correct?                       21         A. Oh, pardon me.
     22      A. Yes.                                      22             Yes, it can.
     23      Q. So the drugs then -- in such a case,      23         Q. And is that captured in the --
     24   the drugs that you list in the cause of death   24         A. Well, the --
     25   space on the certificate, are those drugs that  25         Q. -- database that you're --
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                                                   Page 338                                                 Page 340
      1      A. -- testing can. I mean the report's            1   findings, microscopy that we might conduct, any
      2   reporting the testing. But yes, it can.              2   of the toxicology information. Potentially
      3      Q. Very well.                                     3   other ancillary studies might be relevant to
      4           And is that information then                 4   that as well.
      5   captured and -- and input into the database          5      Q. So is it fair to call it a matter of
      6   you're describing?                                   6   judgment based on the information you had
      7      A. Yes, it is.                                    7   available to you?
      8           We also have a separate toxicology           8      A. I -- I think it's ultimately, you
      9   database called Pathways, which was an in-house      9   know -- a medical death cert -- a death
     10   development. And that tracks toxicology data,       10   certificate's a medical opinion as to a, you
     11   all of it, like whatever's positive.                11   know, cause of death based on the evidence that
     12           The VertiQ system that I mentioned          12   we've reviewed, yeah.
     13   would track the relevant drugs as they impact       13      Q. And coming to that cause of death
     14   cause of death but wouldn't necessarily track       14   involves clinical and medical judgment, right?
     15   all of the other drugs that might have been         15      A. Yes. I mean all of the forensic
     16   detected, say if there was a car crash or           16   pathologists in the office are medical doctors.
     17   something else. But we can access that              17   And they've had training, on top of their
     18   information as well.                                18   medical school education, specifically in death
     19      Q. When there are multiple factors that          19   investigation and writing death certificates.
     20   contribute to a death, do you determine a sort      20   We also have a training program in our office
     21   of principal or leading cause of death?             21   as well.
     22      A. Well, on a death certificate there            22          MR. BORANIAN: I'm going to mark
     23   are two areas that relate to cause of death.        23   this large set of sheets as Exhibit No. 5.
     24   So one is called "cause of death," and that         24          I think the stickers are down there.
     25   would be the injury or disease which would be       25          (Deposition Exhibit 5 was marked for
                                                   Page 339                                                 Page 341
      1   the primary disturbance to the person's, you         1   identification.)
      2   know, physiology that results in their death.        2           BY MR. BORANIAN:
      3           And then we're also asked to make            3       Q. So, Dr. Gilson -- I need my glasses
      4   contribution -- if there are other significant       4   for this one.
      5   contributions. And these would be other              5       A. I'm taking mine off actually.
      6   conditions -- they're called "other significant      6       Q. Okay. We have opposite problems,
      7   conditions," which in and of themselves don't        7   you and I.
      8   cause death, but they make death more likely to      8           So this is the first ten pages of a
      9   occur.                                               9   voluminous spreadsheet which was produced under
     10           And the example I give for visiting         10   the Bates number Cuyahoga 000099975. And the
     11   residents and student is, if you have heart         11   title of this set of data is 2000 -- I'm
     12   disease, atherosclerosis, that can cause your       12   sorry -- "CCMEO 2006 to 2017 Overdose Data."
     13   death. If you also have diabetes with it,           13           And I have the whole spreadsheet on
     14   which a lot of people do, it doesn't cause          14   a flash drive. But I printed the first ten
     15   atherosclerosis, but it accelerates the rate        15   pages because I really have just general
     16   that it forms.                                      16   questions about these data and what the various
     17      Q. And how do you go about determining           17   columns are and so forth.
     18   the -- I think you said principal disturbance?      18           First of all, can you tell me what
     19           What's the process you go through,          19   these data represent?
     20   the method yo go through to -- to distinguish       20           Do you know what this is?
     21   that from other potential causes of death?          21       A. It's a -- a spreadsheet -- and I'm
     22      A. The whole death investigation. And            22   looking at, you know, what's on this, which
     23   then, you know, our clinical judgment, our          23   would be case number. And our case numbering
     24   medical judgment. So that we would, you know,       24   system at this point on the sheets you're
     25   take into account scene investigation, autopsy      25   showing me was just sequential. It was a

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                                                  Page 342                                                 Page 344
      1   running number. That changed sometime before I      1      Q. Do you know when or -- and why this
      2   got there, a few years before I got there. So       2   particular set of data was extracted?
      3   this sequential numbering would have been in        3      A. No.
      4   place in 2006, 2007.                                4      Q. Do you know who maintains the VertiQ
      5           It talks about -- some things I --          5   database?
      6   I'm not sure what they are, the coded mode.         6      A. We have an IT department who are
      7   But I think, if you go over that first solid        7   responsible for the office information
      8   block with multiple, cause of death would be        8   technology needs.
      9   furnished there.                                    9          Data being entered into this is from
     10           And then we would have                     10   the general office, which would be clerks in my
     11   information -- as I'm looking at the top -- of,    11   office who would be entering, you know, time of
     12   you know, city, state, ZIP code.                   12   death, cause of death, et cetera. And that
     13           And we make a distinction between --       13   would be pulled out and put into this.
     14   this is all going to be pulled off of the death    14          So the VertiQ database itself is an
     15   certificate -- residence of the decedent and       15   IT function. And that's managed by them and
     16   incidence, if there's a injury. So we would        16   maintained by them. But the information that
     17   actually distinguish those two.                    17   populates this would be more people on my
     18           And I'm looking just to see if there       18   staff.
     19   is a -- I think these data over here in the        19      Q. So the Cause of Death column, which
     20   last column where it sort of looks cut off and     20   you previously pointed out to me, is that
     21   says "V City" and "Death County," that might --    21   where -- is that where this file would capture
     22   I -- I -- I -- these are truncated, so I'd have    22   opioid-related deaths?
     23   to say it might be the data from the incident.     23      A. Yes.
     24           And then there's demographic               24      Q. Is that information recorded
     25   information here --                                25   anywhere else in this file?
                                                  Page 343                                                 Page 345
      1      Q. Okay.                                    1           A. The clerks do this coding mode, and
      2      A. -- as well. So race; ethnicity,          2        I -- I don't do that. So I don't know what
      3   which is Hispanic, not Hispanic; gender; age; 3         that is. But I don't see any other place where
      4   marital status.                                4        I would see what drugs would have been included
      5          And we would also look at occupation    5        here.
      6   and other things about the time of death and   6           Q. Would --
      7   who the assigned doctor was.                   7           A. It would be in that cause of
      8      Q. So this was produced to us as a          8        death --
      9   giant spreadsheet.                             9           Q. Would Mr. Shannon --
     10          But do you know from -- from where     10           A. -- section.
     11   the data came?                                11           Q. I'm sorry. I thought you were
     12          Was it run from one of your            12        finished, Doctor.
     13   databases?                                    13                Would Mr. Shannon know more about
     14      A. Yes, it was.                            14        it?
     15      Q. And which database was it run from? 15               A. I don't know for sure. The clerks
     16      A. There was an attempt to enter all of    16        are under him, but I don't know to what extent
     17   the data into the VertiQ database. And this   17        he would know the coding system any better than
     18   looks like a sleet sheet I've seen from the   18        I.
     19   VertiQ database. But --                       19           Q. So which column captures the type of
     20      Q. Okay.                                   20        drug that is related to a drug overdose?
     21      A. -- the database -- as I say, I don't    21           A. That would be in the Cause of Death
     22   remember exactly when it started. It might    22        column. Unfortunately, these have been cut
     23   have been before 2006, and that data may have 23        off, so a lot of them just say "intoxication by
     24   been entered into the database from some --   24        the."
     25   something separate. I don't know for sure.    25           Q. But --

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                                                    Page 346                                                   Page 348
      1      A. Yes. That would be the drugs coming             1      A. There's a lot of information here.
      2   after that.                                           2   I'm just looking for things that I know are on
      3      Q. Let me ask you about two of the                 3   a death certificate that don't show up here.
      4   columns further over to the right. There's one        4           And one of the ones I know of is
      5   which is called "RC App Manner."                      5   veteran status. So this at least doesn't have
      6      A. Okay.                                           6   that piece of information.
      7      Q. Do you know what that means?                    7           But in filling out a death
      8      A. I know what manner of death means.              8   certificate, part of it is filled out by our
      9   I know, when cases get called into the office,        9   office, and part of it is filled out by the
     10   they'll be given kind of a triage as to what         10   funeral home. So there's information the
     11   manner they might be. And I don't know if this       11   funeral home would collect that maybe doesn't
     12   is actually extracted from the death                 12   get reflected here, like veteran status.
     13   certificate database or from at that database.       13      Q. Okay. And how about vice versa; is
     14           But seeing things here like                  14   there information here that's not on the death
     15   "unknown" make me think it's from the call-in        15   certificate?
     16   database. Because we don't have a checkbox in        16      A. Again, I -- I -- I don't know if
     17   the death certificate for unknown. We have an        17   this manner was populated with death
     18   undetermined but not an unknown.                     18   certificate data. And I'm not sure what
     19      Q. So if I understand correctly, if the           19   "unknown" means.
     20   -- if -- if these -- if this information were        20           The other designations there --
     21   taken from a death certificate, "unknown" would      21   natural, suicide, et cetera -- those are
     22   not appear, correct?                                 22   legitimate causes of -- or pardon me -- manners
     23      A. That would be a very unusual term              23   of death. So I don't know if that actually was
     24   for death certificate, just because the              24   taken from the death certificate and "unknown"
     25   manner -- if we can't make a decision, there is      25   is -- is some default that was used to generate
                                                    Page 347                                                   Page 349
      1   an option. But it's undetermined, not unknown.        1   the spreadsheet.
      2      Q. And let's go to the column just to              2      Q. If you were to look at a death
      3   the left of Cc App Manner. It says "RC NIG,"          3   certificate and -- and look at the cause of
      4   N-I-G, "Occurred."                                    4   death, for example, and look at this file and
      5          What does that mean?                           5   see a discrepancy, which would you rely on, the
      6      A. Whenever you certify a death in                 6   death certificate or this file?
      7   other that natural causes, there's a need for         7      A. Death certificate.
      8   an explanation how the injury occurred. And           8          MR. BORANIAN: You can put that
      9   there are various boxes on a death certificate        9   aside now, Doctor.
     10   around that.                                         10          We'll mark this the next.
     11          And they would be, you know, saying           11          (Deposition Exhibit 6 was marked for
     12   things like when did the injury occur, where         12   identification.)
     13   did it occur. And one of them would be how did       13          THE WITNESS: Thank you.
     14   the injury occur. And that's what you're             14          BY MR. BORANIAN:
     15   seeing there.                                        15      Q. So, Dr. Gilson, I'll tell you off
     16      Q. So I understand, Doctor, that                  16   the bat I think there's an error in this
     17   information is keyed into this file or this          17   document. Okay? It's --
     18   database from the death certificates.                18      A. Okay.
     19          Is all the information from the               19      Q. -- at -- first of all, what is the
     20   death certificates keyed into this database?         20   document I've marked as Exhibit 6?
     21      A. I don't know.                                  21      A. You know, these are monthly reports
     22      Q. In other words, would we have to               22   that we put out for dissemination. They go
     23   actually look at additional copies of death          23   primarily through our task force. And they're
     24   certificates and other paper to get a more           24   summaries of mortality data and, you know,
     25   complete picture?                                    25   things that we're seeing in the office.

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                                                   Page 350                                                 Page 352
      1          They're -- they change some over          1       conference. The last column on the first page
      2   time, but there are certain things that show up 2        with the table, that was what we were focusing
      3   in all of them and then other thing that are     3       on primarily at the press conference. Some of
      4   updated on a monthly basis.                      4       these other things are other things that we
      5      Q. So the document is -- is titled            5       traditionally include but I don't think we
      6   "Cuyahoga County Medical Examiner's Office, 6            mentioned at the press conference itself.
      7   Heroin/Fentanyl/Cocaine Related Deaths in        7          Q. Take a look at Page 2 of Exhibit 6.
      8   Cuyahoga County," right?                         8          A. I'm sorry. Are we looking at this
      9      A. Yes.                                       9       one?
     10      Q. And it says "2018 December Update," 10                Q. That's right.
     11   correct?                                        11          A. That one. Okay. Yeah. Sure.
     12      A. Right. And we would issue it on the 12                Q. So if you look at the top line,
     13   11th of January 2018.                           13       which is "Total Drug Overdose Deaths," 2017 was
     14          Oh, 2018 December update, is that        14       727; and 2018, at least as you understood on
     15   that typo?                                      15       January 11, 2019, was 560, right?
     16      Q. That's -- that's the error, Doctor.       16          A. That's our projection. There's an
     17      A. Okay. Yeah. We couldn't be issuing 17              inherent lag in deaths and then being
     18   the December update on January of 2018.         18       certified. Have to wait for toxicology
     19      Q. So I'll represent to you that, when       19       testing.
     20   you go on the web site -- and we just did it a 20               So there are standards for our
     21   few minutes ago -- the link says "January 11, 21         accreditation. We have to maintain 90 percent
     22   2019."                                          22       of our toxicology testing being completed
     23      A. Oh, it does. Okay.                        23       within 90 days. So this number may change as
     24      Q. Yes.                                      24       more of that comes in.
     25      A. So we did fix it.                         25              But based on what we had certified
                                                   Page 351                                                 Page 353
      1      Q. Well, the -- but when you get the              1   up until that point -- and I think there's a
      2   document, it still says "2018."                      2   asterisk that goes through cases we had ruled
      3           Here's the question: Doctor, what            3   through September 2018. We reserve the right
      4   is the correct date for this report?                 4   the change that. It may change.
      5      A. 2019.                                          5      Q. Sure.
      6      Q. Very well.                                     6          But those numbers, 727 and 560,
      7      A. Do you want me to fix it on --                 7   those are the same numbers you testified to
      8      Q. And --                                         8   earlier, right?
      9      A. -- the exhibit or...                           9      A. These were the numbers that we at
     10      Q. No.                                           10   the --
     11      A. Okay.                                         11      Q. So this --
     12      Q. 2019 January 11, that's two Fridays           12      A. -- press conference.
     13   ago, right?                                         13      Q. Yeah.
     14      A. Yes.                                          14          So this document confirms what you
     15      Q. And that's the date of the press              15   told us earlier, true?
     16   conference that you've referred to earlier,         16      A. I don't remember testifying to that.
     17   true?                                               17   But that's right. 727 was 2017, and 560 was
     18      A. That's right. Yes, it was.                    18   the number that we mentioned as our projection
     19      Q. So did you present these data at              19   for 2018 as of that date.
     20   that press conference?                              20      Q. So if you look at the line that's
     21      A. We were presenting our data. And              21   labeled "All Opioids Not Including Fentanyl
     22   this is a summary of that. So I -- I'd have to      22   After 2013" -- see that?
     23   say -- if I could just take a look.                 23      A. Yes. Yes.
     24           I don't know if we presented                24      Q. In 2011, it peaks at 113 cases,
     25   everything in this document at that press           25   right?

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                                                   Page 354                                                 Page 356
      1      A. That's right.                                  1   method that you have used to make this chart
      2      Q. So after 2011, the increases that              2   has not changed, true?
      3   we're seeing in total deaths is driven               3      A. No, it has not.
      4   principally by heroin, fentanyl and cocaine; is      4      Q. Okay. Take a look at the fifth page
      5   that true?                                           5   of this same chart. It looks like this. This
      6           MR. BADALA: Objection to form.               6   page is entitled "Cuyahoga County
      7           THE WITNESS: I would even back away          7   Heroin/Fentanyl Related Overdose Deaths 2013 to
      8   from the cocaine. Because, as I mentioned            8   2018, Projected Death with DAWN Saves As
      9   earlier, when we tease out cocaine as an             9   Overdose Deaths."
     10   independent contributor, it isn't rising in         10          Is that what it says?
     11   this time frame, 2016, 2017. It's being pulled      11      A. Yes, it does.
     12   up by fentanyl, as is heroin.                       12      Q. So explain this chart to me, Doctor.
     13           Heroin deaths are dropping unless           13          What does this represent?
     14   they're associated with fentanyl over that time     14      A. This would be a series of data
     15   frame. They continued their downward trend          15   points going back to 2013. The first graph
     16   after 2015 unless fentanyl was present.             16   that we're seeing there is the graph for heroin
     17           BY MR. BORANIAN:                            17   deaths. And the -- I think the stripped one
     18      Q. And if a drug is detected in                  18   with the strips rising up to the left is heroin
     19   connection with a death, let's say both cocaine     19   plus fentanyl.
     20   and fentanyl, that single death is recorded         20          So in 2013 we actually didn't track
     21   both in the cocaine numbers and in the fentanyl     21   this. We -- this was added subsequent to that.
     22   numbers, right?                                     22   So this is one of those things we repeat
     23      A. It's kind of a double dip. You'll             23   multiple times. We started to add heroin and
     24   see it twice, which is why, if you add all of       24   fentanyl as fentanyl became a bigger player in
     25   these numbers together, they exceed the total       25   our mortality.
                                                   Page 355                                                 Page 357
      1   number of --                                         1          And then, based on the information
      2      Q. Right.                                         2   that we received from Project DAWN, the deaths
      3      A. -- overdoses.                                  3   avoided with Naloxone, the antidote drug for an
      4      Q. Yep?                                           4   opioid overdose, we add those to generate the
      5      A. Because we have a lot of mixtures.             5   third column for any given year.
      6   In fact, I'd say, the last time we generated         6          So what we say is here is the number
      7   data, the majority of our drug overdoses             7   of heroin deaths, here is the number of heroin
      8   involved mixtures.                                   8   and fentanyl deaths, and then here's the number
      9      Q. And I think you told us that                   9   of opioid deaths we would have had if we didn't
     10   earlier.                                            10   have Project DAWN.
     11          I just wanted to confirm that,               11          There was a save with the Project
     12   whenever we see this chart, this most common        12   DAWN kit. And that's data we get from Project
     13   drugs chart, that is true, correct?                 13   DAWN.
     14      A. The data here is true?                        14      Q. Okay. So the assumption is then
     15      Q. The fact that you count multiple              15   that, without the intervention through DAWN,
     16   drug deaths in multiple times.                      16   that person would have become an overdose
     17      A. Oh, oh. That is true.                         17   death?
     18      Q. That's -- so that's a --                      18      A. Yes. That's kind of I think what
     19      A. Yeah. I'm sorry. I didn't                     19   Project DAWN does, is it saves people coming to
     20   understand your -- I thought you said are the       20   our office.
     21   numbers true. And I'm like yeah.                    21      Q. So if you look at 2017 column
     22      Q. No. We can get to that --                     22   "Without DAWN" --
     23      A. To the best of my knowledge.                  23      A. Yes.
     24      Q. -- later.                                     24      Q. -- that total is 1,439, right?
     25          But I'm just confirming that the             25      A. That's right.

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                                                   Page 358                                                   Page 360
      1      Q. And that also drops to a projected             1   distinction.
      2   1,050 in 2018, right?                                2          But the data for these things, 2006,
      3      A. Yes, it does.                                  3   2007, may not come from the VertiQ system. I
      4      Q. What database is this report run               4   don't know for certain. But they do come from
      5   from?                                                5   the coroner's office data --
      6      A. This report, the page we're --                 6      Q. Okay.
      7      Q. Yeah.                                          7      A. -- that we have.
      8      A. -- on right now.                               8      Q. But since then, the VertiQ system is
      9      Q. Well, we can start with that.                  9   the system in which you keep these data, true?
     10          Where do you get the data?                   10      A. Absolutely, yes.
     11      A. The first two columns, the heroin             11      Q. So if you took a look at exhibits 5
     12   and fentanyl data, would be coming out of the       12   and 6 together, do they have any relation to
     13   medical examiner's office. The Project DAWN         13   one another?
     14   dota [sic] -- data, that we would obtain from       14          For example, if we pick a number out
     15   Project DAWN. And I don't know what database        15   of the -- the table in Exhibit 6, could we go
     16   they use to generate that.                          16   through the data reflected in Exhibit 5, the
     17      Q. What database within the Medical              17   big giant table, and count the number of deaths
     18   Examiner's Office do you use to access these        18   and sort of cross-reference?
     19   data?                                               19      A. This data comes from the same system
     20      A. Our web site. I -- I'm not sure I             20   as I believe this was generated from. Again,
     21   understand your question.                           21   these data back to '06, '07, I'm not as certain
     22      Q. Well, for example, when you're                22   whether they were back entered or not.
     23   tabulating 542 fentanyl deaths for 2017,            23          But I can say confidently 2011 data
     24   where'd you get that number?                        24   forward, we would be able to identify a data
     25      A. Oh, from the death -- cause of death          25   point here and run it through the VertiQ system
                                                   Page 359                                                   Page 361
      1   data that's entered into our office management       1   to provide supporting documentation.
      2   system, the VertiQ system that I mentioned.          2           And I would say, you know, given
      3      Q. Okay. Do you also access data from             3   what I have seen from the coroner's office,
      4   VertiQ to generate the most common drug chart        4   they were pretty thorough in their data
      5   that we see on the second page?                      5   acquisition as well. But I don't want to speak
      6      A. Yes. I -- I can say with                       6   to things I don't know about for certain.
      7   certainty -- 2011 forward, that's my tenure in       7       Q. Do you have any projections
      8   the office. That would certainly be true.            8   regarding future deaths other than what we're
      9          And as I say, I don't know exactly            9   seeing here?
     10   when we got the VertiQ system running in            10           MR. BADALA: Objection to form.
     11   Cuyahoga County. So I don't want to be as           11           THE WITNESS: We have started to
     12   dogmatic about the left side of the curve, when     12   look at 2019. But obviously we haven't
     13   that starts to go into VertiQ. It may; it may       13   finished the first month of the year. So we
     14   not. I just don't know.                             14   can't make a projection yet on that.
     15      Q. So for each of these slides, there's          15           I can say anecdotally that 2019
     16   a source listed at the bottom.                      16   actually has been a bad year so far. Not 560
     17      A. Right.                                        17   but rising up again.
     18      Q. So each -- each time that it says             18           BY MR. BORANIAN:
     19   the Cuyahoga County Medical Examiner's Office,      19       Q. Let me ask you about this lawsuit a
     20   does that mean that these data are coming from      20   little bit.
     21   the VertiQ system?                                  21           Did you play any role in deciding
     22      A. As I said, I can speak to my tenure           22   which defendants would be named in this
     23   more clearly. They would be coming from -- at       23   lawsuit?
     24   the time before 2011 it was the coroner's           24       A. No, sir.
     25   office. So I think that's a kind of academic        25       Q. Have you ever been asked to quantify
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                                                   Page 362                                                  Page 364
      1   the cost that your department has had to bear        1      A. I don't remember. If I did, it
      2   as it relates to opioid abuse?                       2   wasn't really any more than I knew about
      3      A. We did an analysis of some of the              3   Cardinal Health or McKesson.
      4   costs. I don't think it was exhaustive. But          4      Q. Are you familiar with the
      5   we were specifically looking at additional           5   regulations imposed on distributors by the Ohio
      6   personnel and additional instrumentation and         6   Board of Health?
      7   those costs. That was prepared. But the              7      A. No, I'm not.
      8   entire burden to the office, no, we haven't          8      Q. Are you aware of regulations imposed
      9   prepared that.                                       9   on distributors by the Ohio Board of Pharmacy?
     10      Q. And the analysis you've just                  10      A. I'm sorry. I was -- lost your
     11   referred to, who prepared that?                     11   question.
     12      A. I believe it was Hugh Shannon.                12      Q. Sure. I'll repeat that.
     13      Q. Now, I'll represent to you that the           13          Are you --
     14   county has sued, as identified in its               14      A. Oh, thank you.
     15   complaint, three sets of defendants. We have        15      Q. Are you familiar with any
     16   the manufacturing or marketing defendants; we       16   regulations imposed on prescription drug
     17   have the distribution defendants; and we have       17   distributors by the Ohio Board of Pharmacy?
     18   the retail pharmacy defendants.                     18      A. I thought they were required to use
     19           I want to ask you a few questions           19   the OARRS system or enter data in the OARRS
     20   about the distributors.                             20   system. But again, I don't know that for
     21      A. Sure.                                         21   certain either. Beyond that, no.
     22      Q. Do you know which distributors were           22      Q. Are --
     23   sued?                                               23      A. I'd have to say I don't know
     24      A. I don't remember the names. I've              24   anything beyond that.
     25   seen it, but I don't remember them right now,       25      Q. Are you familiar with any other
                                                   Page 363                                                  Page 365
      1   all of them.                                         1   state regulation -- Ohio State regulation of
      2       Q. Were --                                       2   drug distributors?
      3       A. McKesson, Cardinal and AmeriBergen            3      A. Not myself, no.
      4   [sic] I think was the other. I don't know if         4      Q. How about federal regulations of
      5   that's exhaustive or not. But I think those          5   drug distributors?
      6   were the distributors that I'm familiar with.        6      A. Again, I -- I have some
      7       Q. And before getting involved in this           7   understanding of DEA requirements about
      8   litigation, had you ever heard of McKesson?          8   distribution, but they're very rudimentary.
      9       A. I don't know.                                 9      Q. Have you ever had any communications
     10       Q. How about same question for Cardinal         10   with any representative of a distributor other
     11   Health?                                             11   than myself?
     12       A. I think we drive by Cardinal Health          12      A. No.
     13   when I go to visit my in-laws. So I think I         13      Q. Have you ever reached out to any
     14   saw it, you know. But I -- I really don't know      14   prescription drug distributor for any
     15   much about them other than that.                    15   assistance in any -- the analysis you're doing
     16       Q. So no prior knowledge that Cardinal          16   or any other efforts you've made in connection
     17   Health was a drug distributor?                      17   with opioid abuse?
     18       A. No.                                          18      A. You know, there was a group that
     19       Q. I should say a prescription drug             19   came to our office, Leaders Quest, and they
     20   distributor or a healthcare product --              20   represented different people in the
     21       A. Prescription drug distributor. Yes,          21   pharmaceutical industry. They reached out to
     22   sir.                                                22   us. But I don't remember anything more.
     23       Q. And my client, AmerisourceBergen,            23          It never jelled. They kept wanting
     24   have you heard of that -- had you heard of that     24   to talk to us individually. And we wanted to
     25   before getting involved in this litigation?         25   have our folks meet as a group.

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                                                  Page 366                                                 Page 368
      1          And that's really the extent I think   1         So I'd have to say I don't know.
      2   of anything I can think of right now about    2            Q. And do you know if drug distributors
      3   contact with -- might have been drug          3         play any role in the DEA's setting of quotas
      4   manufacturers, drug distributors. I don't     4         for the manufacture of opioids, of controlled
      5   remember. But it was kind of a consortium, as 5         substances?
      6   it was represented to us, of pharmaceutical   6            A. I don't know what goes into that DEA
      7   industry.                                     7         practice. So I -- I don't know.
      8      Q. Did they reach out to you or you        8            Q. Does a drug distributor know how
      9   reach out to them?                            9         much medication a pharmacy acquires from other
     10      A. They reached out to Cuyahoga County. 10           drug distributors?
     11      Q. And do you actually recall a drug      11                MR. BADALA: Objection to form.
     12   distributor being among that group?          12                Steve, to be clear, when you say
     13      A. I don't. You know, there were a lot    13         "distributors," I know in the complaint we have
     14   of people from the pharmaceutical industry I 14         pharmacies that are distributors.
     15   believe represented there. But I don't       15                Which one are you talking about now?
     16   remember if it was specific distributor.     16                MR. BORANIAN: I'm referring to
     17      Q. Do drug distributors manufacturer      17         wholesale distributors.
     18   prescription drugs?                          18                MR. BADALA: Okay. Just --
     19          MR. BADALA: Objection to form.        19                MR. BORANIAN: When I say
     20          THE WITNESS: To the best of my        20         "distributor," I mean wholesale distributor.
     21   knowledge, no.                               21                MR. BADALA: All right. Just want
     22          BY MR. BORANIAN:                      22         to clear the record.
     23      Q. Do drug distributors ever interact     23                MR. BORANIAN: I appreciate that.
     24   with patients or physicians?                 24                THE WITNESS: I don't know that I
     25      A. I don't know.                          25         understand the distinction.
                                                  Page 367                                                 Page 369
      1      Q. Do --                                         1          BY MR. BORANIAN:
      2      A. I would hope they weren't                     2      Q. Well, is -- can a wholesale
      3   interacting with patients. But physicians, I        3   distributor -- does a wholesale distributor
      4   don't know if they do or not.                       4   have any way of knowing how much medication a
      5      Q. Either way, you don't know, right?            5   pharmacy bought from another wholesale
      6      A. I don't know.                                 6   distributor?
      7      Q. Do you know if drug distributors do           7          MR. BADALA: Objection to form.
      8   any marketing of prescription opioids?              8          THE WITNESS: I know of data that
      9      A. I'm not aware of it. I don't know.            9   the Ohio Department of Health shared on their
     10      Q. Do you know if drug distributors             10   web site about sort of number of doses for
     11   participate at all in preparing the warnings       11   specific drugs. I don't know if that's
     12   that come in the package insert with               12   something that, you know, the distributor would
     13   prescription drugs?                                13   need to be aware of.
     14      A. I don't know if they do or not.              14          But there's public information on
     15      Q. Do drug distributors actually ever           15   some of that, as to how many solid doses of
     16   write or fill prescriptions?                       16   opiates -- opioids -- I'm thinking of a graph I
     17      A. Unless they're physicians, I would           17   remember seeing -- in Ohio and that it was
     18   hope not. But I don't know if they fill            18   rising over a period of time.
     19   prescriptions if there's distribution at that      19          BY MR. BORANIAN:
     20   micro level. I don't know that. But writing        20      Q. And that's aggregated data, right?
     21   prescriptions, no.                                 21      A. It's data for the State of Ohio, not
     22      Q. Do you know if drug distributors             22   specifically Cuyahoga County.
     23   contribute to or influence in any way drug         23      Q. Okay.
     24   formularies in healthcare institutions?            24      A. I don't know if --
     25      A. I don't have experience with that.           25      Q. But it doesn't disclose who sold

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                                                    Page 370                                                  Page 372
      1   those doses, does it?                                 1   where part of that shipment was diverted?
      2      A. Oh, no. To your point, I guess no,              2      A. Oh, part of the shipment itself?
      3   it doesn't disclose the individual distributors       3      Q. Yeah.
      4   and how that's broken down by distributor.            4      A. I'm not aware of that.
      5      Q. Does a dug [sic] -- does a drug                 5          Again, the distributors, I -- I
      6   distributor know the identity of patients to          6   think some of the pharmacies -- you know, there
      7   whom drugs were prescribed?                           7   were robberies of pharmacies. And those drugs
      8          MR. BADALA: Objection.                         8   would have obviously been diverted.
      9          Again, wholesale distributor?                  9      Q. Have you --
     10          MR. BORANIAN: Yes.                            10      A. And some of those could be pharmacy
     11          THE WITNESS: I don't know.                    11   distributors. But I don't know a specific
     12          BY MR. BORANIAN:                              12   wholesale distributor. I've never heard of a
     13      Q. Does a distributor know what a                 13   robbery like that. I -- I just don't know.
     14   patient's diagnosis is or what the patient           14      Q. One last question. If you go back
     15   actually does with his or her medication?            15   to the -- the very latest most common drugs
     16      A. I don't have information on that.              16   chart.
     17      Q. Does a drug distributor have any               17      A. Yeah.
     18   information about other medications a patient        18      Q. This -- this confirms what you told
     19   might be taking or a patient's history of            19   us before, that prescription opioid-related
     20   addiction?                                           20   deaths plateaued starting at about 2010, right?
     21      A. I would not expect that, but I don't           21          MR. BADALA: Look on Exhibit 1 or 6?
     22   know.                                                22   Because there's two that have the same page.
     23      Q. In your analysis over the years, Dr.           23          MR. BORANIAN: We're in Exhibit 6.
     24   Gilson, have you ever linked a specific order        24          MR. BADALA: Thank you.
     25   of controlled substances shipped by any of the       25          MR. BORANIAN: The -- the latest
                                                    Page 371                                                  Page 373
      1   distributor defendants in this case and any           1   one.
      2   individual in the county who overdosed on             2          MR. BADALA: Okay.
      3   drugs?                                                3          MR. BORANIAN: Yeah.
      4      A. I don't remember ever doing that.               4          THE WITNESS: We didn't continue to
      5      Q. Do you know of any instance where --            5   see a rise in a significant way beyond 2011.
      6   well, strike that.                                    6   It seemed to have plateaued beyond that.
      7          Can you identify any shipment of               7          MR. BORANIAN: I think that's all I
      8   prescription opioids by any distributor               8   have, Doctor. Thank you.
      9   defendant where part of the shipment was              9          THE WITNESS: Thank you.
     10   diverted outside the closed supply chain?            10          THE VIDEOGRAPHER: We are going off
     11          MR. BADALA: Objection to form.                11   the record.
     12          THE WITNESS: I mean there were                12          This is the end of Media Unit No. 6.
     13   diversion of drugs going on, you know, from the      13          The time is 5:30.
     14   pill mills, from the pharmacy shoppers, the          14          (A short recess was taken.)
     15   data shoppers -- the doctor shoppers, I mean.        15          MR. CARTER:
     16   Diversion of pills out of, you know, medicine        16          THE VIDEOGRAPHER: We are going back
     17   cabinets and things like that.                       17   on the record.
     18          I don't know, you know, to what               18          This is the beginning of Media Unit
     19   extent they were ever investigated back to the       19   No. 7.
     20   distributor level, but --                            20          The time is 5:42.
     21          BY MR. BORANIAN:                              21          You may proceed, Counsel.
     22      Q. Well, in your investigation and in             22       EXAMINATION BY COUNSEL FOR DEFENDANT
     23   your analysis over the last seven, eight, nine       23              WALMART, INC.
     24   years, have you identified any shipment of           24          BY MR. CARTER:
     25   prescription opioids, any particular shipment,       25      Q. Good afternoon, Dr. Gilson.

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                                                    Page 374                                                  Page 376
      1      A.   Hi, Mr. Martin.                               1          MR. BADALA: Objection to form.
      2      Q.   Mr. Carter. But that's okay.                  2          THE WITNESS: I don't know, you
      3      A.   Carter.                                       3   know, what research would be done in that. I'm
      4      Q.   We only met once. So no problem.              4   not aware of any one.
      5         I've got some --                                5          BY MR. CARTER:
      6      A. Thank you.                                      6      Q. Okay. And in the case of a medical
      7      Q. -- questions for you.                           7   diagnosis of addiction, do you agree that that
      8      A. Yeah.                                           8   diagnosis is something that you can't assume
      9      Q. Because it's the end of the day, I'm            9   just from data points in terms of their
     10   going to kind of jump around, be as efficient        10   substance use history, that you can't just see
     11   as possible.                                         11   that someone used a substance and assume an
     12      A. Sure.                                          12   addiction or a diagnosis of abuse, correct?
     13      Q. If I lose you at any point, will you           13      A. From my investigation?
     14   let me know?                                         14      Q. Yes.
     15      A. Sure. Sure.                                    15      A. Again, you know, I think, if we
     16      Q. If you don't understand one of my              16   think of an addiction as something where a
     17   questions, will you let me know?                     17   person continues to use drugs in spite of, you
     18      A. No. Thank you for that offer.                  18   know, consequences, social consequences, it
     19      Q. Are you -- have you ever been a                19   certainly suggests itself if somebody dies of
     20   pharmacist?                                          20   an overdose, and they've been incarcerated for
     21      A. No, I have not.                                21   drug charges.
     22      Q. Ever practiced in that area?                   22          But I -- as I say, I don't make the
     23      A. No.                                            23   diagnosis. But it wouldn't say that -- I would
     24      Q. Okay. You were asked some questions            24   consider that person, you know -- I would
     25   about addiction.                                     25   probably think of that person as having some
                                                    Page 375                                                  Page 377
      1          You've never diagnosed addiction in            1   issue around substance abuse.
      2   the context of your work as a medical examiner,       2      Q. But based on the data available to
      3   correct?                                              3   you, if there's not a diagnosis of substance
      4      A. No, not as a medical examiner. As I             4   abuse or addiction in the file, you do not have
      5   say, it may appear on a medical examiner              5   enough information at your stage of the
      6   report, but I am relying on that, as, you know,       6   investigation where you feel comfortable
      7   history of substance abuse, on somebody else          7   offering a medical opinion more likely than not
      8   making that diagnosis.                                8   medically that an individual was addicted,
      9      Q. So if there is a reference to                   9   fair?
     10   substance abuse or an addiction or any               10          MR. BADALA: Objection to form.
     11   characterization of a person's medical               11          THE WITNESS: We do not make that
     12   condition during life, that's something where        12   diagnosis. At the end of every autopsy report,
     13   you've relied on other medical professionals to      13   we have a list of diagnoses. And we don't make
     14   make those primary diagnoses, correct?               14   the diagnosis of addiction in the absence of a
     15      A. Right. I am familiar, you know,                15   clinical history.
     16   just because my medical training, in a general       16          BY MR. CARTER:
     17   way with some of those terms. But I don't make       17      Q. Okay. And that clinical history
     18   those diagnoses myself --                            18   or -- or clinical diagnosis would come from
     19      Q. Okay.                                          19   other medical professionals, correct?
     20      A. -- in the occurs of my work.                   20      A. Right. A psychiatrist or
     21      Q. And there's no posthumous test for             21   somebody -- addiction medicine person.
     22   addiction, is there?                                 22      Q. Okay. Have you ever sat for any
     23      A. No, there's not.                               23   boards -- any medical licensure boards that you
     24      Q. And likewise, there's no posthumous            24   did not pass the first time?
     25   test for tolerance, is there?                        25      A. No, sir.

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                                                    Page 378                                              Page 380
      1          MR. BADALA: Objection to form.          1          questions about wholesale distributor
      2          BY MR. CARTER:                          2          defendants. I want to ask you about retail
      3      Q. In the course of your employment         3          pharmacies.
      4   history, have you ever received a performance 4                  Do you have an understanding as to
      5   review that resulted in discipline?            5          the role retail pharmacies played in the
      6          MR. BADALA: Objection to form.          6          distribution network of prescription opioids?
      7          THE WITNESS: Not recently. And not 7                  A. I just know that they would be, you
      8   that I can remember.                           8          know, a point of furnishing prescription
      9          BY MR. CARTER:                          9          opioids. And I don't know if I understand, you
     10      Q. Okay. What was the subject matter       10          know, the retail pharmacy, just is that the
     11   where you were disciplined as a result of a   11          direct-to-person distribution or whether they
     12   performance review?                           12          were doing wholesale things. I -- I'm a little
     13          MR. BADALA: Objection to form.         13          unclear on that.
     14          THE WITNESS: I'm sorry. I just         14             Q. Do you who the retail pharmacy
     15   said I don't remember any.                    15          defendants are in this case?
     16          BY MR. CARTER:                         16             A. I don't want to be certain. I
     17      Q. You said "not recently," which to       17          believe Wal-Mart, CVS. And there may be
     18   me --                                         18          another. I just don't remember.
     19      A. I don't remember any --                 19             Q. Have you ever initiated contact with
     20      Q. Oh, okay?                               20          Wal-Mart, CVS or any retail pharmacy --
     21      A. -- was the follow-up answer.            21                 MR. BADALA: Objection to form.
     22      Q. Okay. So you don't reply -- or you      22                 BY MR. CARTER:
     23   don't recall one previously happening where 23               Q. -- -- related to Cuyahoga County
     24   you've lost the details?                      24          opioid issues?
     25      A. I don't remember one. I mean, you       25             A. Myself personally, no, I have not.
                                                    Page 379                                              Page 381
      1   know, as a kid all kinds of thing happen.             1      Q. Okay. Do you know whether any of
      2   But --                                                2   the retail pharmacies have ever generated a
      3      Q. And I'm --                                      3   prescription for an opioid medication?
      4      A. I'd have to say I don't remember. I             4      A. I have to think they did, but I
      5   was a pretty good boy.                                5   don't have that data.
      6      Q. And I'm not asking about your                   6      Q. So have they ever written a
      7   nonprofessional performance reviews.                  7   prescription?
      8          I'm talking about, on the job as a             8      A. Oh, written a prescription. Only a
      9   licensed physician, and have you receive a            9   physician can write that prescription. So I
     10   performance review that resulted in                  10   don't know, you know, if there's any physicians
     11   performance?                                         11   on staff at some of them. I don't know that
     12      A. No.                                            12   for certain. You know, the -- the minute
     13          MR. BADALA: Objection to form.                13   clinic or those things aren't usually
     14          BY MR. CARTER:                                14   physicians. So I don't know if they ever wrote
     15      Q. Has anyone --                                  15   prescriptions.
     16      A. Never.                                         16      Q. Do you know whether any of the
     17      Q. -- ever asked for your resignation?            17   retail pharmacy defendants in this case ever
     18      A. No, sir.                                       18   filled a prescription that wasn't written by a
     19      Q. Okay.                                          19   DEA-registered physician?
     20      A. I mean I get calls from the public             20      A. I don't know.
     21   that aren't always hospitable, and they think I      21      Q. Okay. Sitting here today, have you
     22   should, you know, pack my bags and leave. But        22   concluded that any Cuyahoga County -- any
     23   in terms of a chain of command, no, no one's         23   specific Cuyahoga County resident's death is
     24   ever asked me to resign.                             24   attributable to the conduct of a specific
     25      Q. All right. You were asked some                 25   defendant?
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                                                    Page 382                                                 Page 384
      1      A. I think, you know, it's, from my                1   has borne in terms of additional personnel in
      2   perspective, a look at the aggregate and how we       2   the medical staff, toxicology staff, drug
      3   got to a point where there was an oversupply          3   chemistry staff, instrumentations that we had
      4   and an overprescribing.                               4   to purchase in toxicology and drug chemistry
      5          If you want me to go back and sort             5   and -- and DNA, those are genuine expenses that
      6   of try to point to one individual and say that        6   we had.
      7   links back to this defendant, I'm not prepared        7          And I do think they're referable
      8   to do that. It might be possible, but I can't         8   back to the defendants in aggregate, though I
      9   do that today.                                        9   wouldn't say I can tell you this was, you know,
     10      Q. Sitting here today, you haven't done           10   this part or this was this part.
     11   that analysis, correct?                              11          In aggregate, I can say with
     12      A. I haven't done that on a specific              12   confidence I think that the actions of the
     13   case basis, no.                                      13   defendants are what prompted us to have to do
     14      Q. Okay. So in -- in response to the              14   these things.
     15   question can you today connect any specific          15      Q. Okay. So you -- have that opinion
     16   Cuyahoga County resident's death to a specific       16   you just expressed in the aggregate; you don't
     17   defendant in this case --                            17   -- you haven't connected a specific line item
     18          MR. BADALA: Objection.                        18   expense to a specific defendant, fair?
     19          BY MR. CARTER:                                19      A. I think that's a fair statement.
     20      Q. -- what's the answer to that?                  20      Q. Now, in terms of the expenses that
     21          MR. BADALA: Objection to form.                21   you believe you've incurred in the aggregate,
     22   Asked and answered.                                  22   of those things that you mentioned with respect
     23          THE WITNESS: Again, as I say, in a            23   to personnel or additional equipment, have any
     24   general way I do think that the actions of the       24   of those expenses been incurred solely as a
     25   defendants are responsible for lots of deaths        25   result of responding to opioid overdose deaths?
                                                    Page 383                                                 Page 385
      1   in our county.                                        1      A. Yes.
      2          The specific, you know, can I point            2      Q. Okay. Which ones?
      3   to this person and that defendant, no, I cannot       3      A. I can't be exhaustive. You know, we
      4   do that.                                              4   had dramatic rises in case loads. And that
      5          BY MR. CARTER:                                 5   started in 2015 when I think we get data that
      6      Q. Have you -- in the course of                    6   links the, you know, heroin crisis back to the
      7   exercising your duties in Cuyahoga County, have       7   prescribing. We have enough data to I think
      8   you ever made a decision, taken any action,           8   feel comfortable about that.
      9   instituted any policy based on a public               9           At that point I'm starting to see,
     10   statement from one of the defendants in this         10   you know, accreditation information from my
     11   case?                                                11   accrediting body that we are starting to have
     12          MR. BADALA: Objection to form.                12   too many case per physician. At that point I
     13          THE WITNESS: I'm not aware of                 13   start to lobby for additional staff.
     14   public statements that the defendants have made      14           And 2016 obviously, with the rise in
     15   in this case. So I'd have to say, in that            15   the number of deaths that we had there, you
     16   regard, it wasn't -- if I responded to               16   know, going from 370 up to 666, we were
     17   something, it wasn't intentional.                    17   drowning at that point. And I needed
     18          BY MR. CARTER:                                18   additional staff. And we added the two
     19      Q. Okay. Sitting here today, can you              19   doctors. We added two individuals to our
     20   identify any cost that your office has incurred      20   toxicology unit. We added an additional drug
     21   directly as a result of a particular defendant?      21   chemist to do testing. They all cost, you
     22      A. We incurred the cost as a result of            22   know, what their salary is.
     23   the opioid crisis. And I would say again that        23           In terms of instrumentation costs,
     24   opioid crisis is referable back to the               24   you know, as this crisis has evolved -- and
     25   defendants. And the expenses that my office          25   again, I think referable back to the
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                                                   Page 386                                                Page 388
      1   prescription opioids morphing into the heroin        1   accreditation to a partial accreditation in,
      2   phase, morphing into the fentanyl phase and the      2   you know, response to case loads we were
      3   analogs of fentanyl, it has been incredibly          3   seeing.
      4   challenging to keep up with the analogs of           4          So turning that population away,
      5   fentanyl from a testing standpoint.                  5   those drug overdoses from the adjacent counties
      6           Because these are not drugs that we          6   we contract with, that's, you know, about $1500
      7   had encountered before. So identifying them,         7   per case, which we would use for things like
      8   we had to purchase a new piece of equipment          8   the purchase of instrumentation. It would go
      9   really to do a better job identifying them.          9   into a thing called our laboratory fund and our
     10           And then, you know, because these           10   budget. And one of the specific purposes of
     11   drugs like a carfentanil are, you know, a           11   that laboratory fund was to, you know, upgrade
     12   hundred times more potent than fentanyl, to try     12   instrumentation and things like that.
     13   to find those drugs was just a challenge that       13      Q. So --
     14   required, again, methodology.                       14      A. So that's one. I think, you know,
     15           And I can tell you those instruments        15   we incurred other expenses in terms of body
     16   were hundreds of thousand of dollars. They          16   storage. You know, we got to a point where we
     17   weren't just, you know, like they went to the,      17   were very concerned we were going to run out of
     18   you know, warehouse and they picked something       18   morgue space because so many people were in our
     19   up, you know, for a few hundred bucks or            19   office.
     20   something. They're very sensitive instruments,      20          And I don't know, you know, if you
     21   and they cost a tremendous amount of money.         21   know that in Montgomery County, which is
     22           I -- I don't mean to say, you know,         22   Dayton, or Summit County, they had to get, you
     23   this is an exhaustive list. Those are the           23   know, state resources, refrigerated trucks,
     24   things I think that really were the most            24   because they had an overflow.
     25   driving expenses that we had that I'm aware of:     25          We didn't get to that point in
                                                   Page 387                                                Page 389
      1   Personnel, instrumentation.                          1   Cuyahoga County. We got close on Memorial Day
      2      Q. Sitting here today, is there                   2   2016. But we're a disaster morgue. So we're
      3   anything else that you can think of that you         3   supposed to -- when this, you know, the morgue
      4   would testify your office incurred exclusively       4   was designed by my predecessor, Dr. Bolrush, we
      5   as a result of opioid overdoses?                     5   were supposed to be able to accommodate -- you
      6          MR. BADALA: Objection to form.                6   know, granted if it was the World Trade Center,
      7          THE WITNESS: We lost, you know,               7   nobody could accommodate that kind of
      8   revenue in my office I think starting in about       8   numbers -- but to accommodate a diaster.
      9   2015 or '16 because we had to turn cases away        9          And we were at capacity. And we
     10   from my office from adjacent counties.              10   went out and purchased additional storage for,
     11          The corner's traditionally Ohio's            11   you know, that possibility that we might be
     12   kind of functionally regional death                 12   overwhelmed again like that.
     13   investigation system. So a coroner in a Geauga      13      Q. So you purchased a mobile unit and
     14   County or Medina County can't afford a system       14   never had to utilize it, correct?
     15   like we have. And, you know, they needed to be      15      A. We haven't had to utilize it for
     16   able to send cases to us.                           16   storage.
     17          And because of, again, accreditation         17      Q. You mentioned May of 2016.
     18   burdens that we were starting to see and high       18          Do you mean 4th of July weekend 2015
     19   case loads, I had to start tell them, you know,     19   when carfentanil arrived?
     20   "No. You -- I can't do your drug overdose           20      A. No. This was Memorial Day weekend.
     21   cases anymore. I'm drowning in my own. I'm          21      Q. Okay. So was there an acute issue
     22   trying to add staff to get our accreditation        22   when carfentanil showed up on the scene?
     23   back in order."                                     23      A. Same thing that, you know, we saw --
     24          We were still accredited, but we             24   I think, if you go back to Exhibit 6, you can
     25   were basically changed from a full                  25   see that in 2017 carfentanil deaths really went

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                                                     Page 390                                                  Page 392
      1   up dramatically. But we never got to the point         1   doesn't do autopsy cases on Sunday -- you know,
      2   that I described Memorial Day weekend 2016             2   yes. And we don't do all of them on Monday.
      3   where we were just -- no room at the inn               3   So I think we get overwhelmed in that regard.
      4   anymore.                                               4          I think the other thing, too, is,
      5          Carfentanil certainly stressed us               5   you know, we had widenings of turnaround times
      6   again in our resources. And the number rise            6   in our toxicology laboratory, which an
      7   is, again, largely driven by that.                     7   indication, you know, we're out of compliance
      8          So what I would say is -- I think               8   with our accrediting body. So yes, we're
      9   what you're talking about, the 4th of July             9   overwhelmed there.
     10   weekend with carfentanil, was 2016. But that          10          Over 325 cases -- you know, autopsy
     11   was actually down in Akron where they had a           11   cases per physician is another, you know,
     12   number of overdoses in a very short period.           12   accrediting gig that we took. And that
     13      Q. And you did not have that same                  13   happened in 2016 as well.
     14   experience at that same time?                         14          BY MR. CARTER:
     15      A. Not at the same time.                           15      Q. When was the first time that you
     16      Q. Okay. In terms of revenue from                  16   made a request to the county office for more
     17   out-of-county autopsy that are referred to            17   resources because you weren't able, from your
     18   Cuyahoga, does the county make a profit on            18   perspective, to carry the load of cases that
     19   those?                                                19   was before you?
     20      A. I honestly don't think we do. I                 20      A. I'm always asking the county for
     21   feel like we have some responsibility do, you         21   more resources. I think, you know, in response
     22   know, support death investigation in the state.       22   to some of the things I mentioned -- I don't
     23          I don't know that we've ever                   23   remember exact dates, but certainly when I saw
     24   calculated out, you know, every expense, direct       24   our 2015 numbers and that we were grazing into
     25   and indirect, that we would glean from that.          25   -- there's two levels of deficiencies in my
                                                     Page 391                                                  Page 393
      1          I mean but my shoot-from-the-hip                1   accrediting body.
      2   answer is, if we're making money on it, it's           2          Phase 1 is kind of slap on the
      3   not very much.                                         3   wrist. Phase 2 is you're losing your -- your
      4      Q. And state law regulations actually               4   full accreditation.
      5   prohibit making a profit, correct?                     5          In 2015 I started to see phase 1
      6      A. Making a profit on?                              6   deficiencies. I don't remember if it was at
      7      Q. Off autopsies for your office.                   7   that point that I made the request. Certainly
      8      A. I'm not aware of that law. I mean                8   in 2016, when I saw phase 2 deficiencies
      9   it may be a law. I just am not aware of it.            9   showing up, I was making that request and very
     10      Q. In terms of -- you mentioned a                  10   stridently at that point. And, you know, we
     11   couple of times being -- your office being            11   hired two additional medical staff in response
     12   overwhelmed.                                          12   to that.
     13          What was the -- the date or time               13      Q. Did you ask for additional --
     14   frame when you were first overwhelmed?                14      A. And -- oh, I'm sorry.
     15          MR. BADALA: Objection to form.                 15      Q. I'm sorry.
     16          THE WITNESS: Again, I -- I'm not               16      A. I just want to say, too, that the
     17   really sure that I could point to a specific          17   other thing that we did was to hire contract
     18   date on the calendar, say "We were overwhelmed        18   physicians. And these were individuals,
     19   there." I can give you instances, you know,           19   medical examiners, who we would contract with
     20   like that Memorial Day weekend that I                 20   to provide autopsy service to the county. But
     21   mentioned.                                            21   they weren't my employees. They were just
     22          You know, have there been instances            22   contractors.
     23   where we've come into, you know, our autopsy --       23      Q. Did you ask for additional resources
     24   or into our agency, done triage and had, you          24   from the county in response to opioid deaths in
     25   know, 22 cases on a Monday -- our offices             25   2011?

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                                                   Page 394                                                  Page 396
      1           MR. BADALA: Objection to form.               1   you know, this is going to be the cocaine one,
      2          THE WITNESS: You know, we were just           2   and this will be the opioid one.
      3   really kind of get aware of the heroin crisis        3           We just have to do our best to sort
      4   in 2011. So I wouldn't think we had made the         4   that out afterwards. But, you know, the number
      5   request yet.                                         5   of deaths that we have with cocaine is a cost
      6      Q. Did you make such a request in 2012?           6   to the office.
      7      A. I don't remember.                              7           And I think, as I made -- tried to
      8      Q. Did you make a -- do you remember              8   make clear earlier in my testimony, the number
      9   making any such request prior to 2015 and what       9   hasn't changed in terms of just cocaine. It
     10   you described a moment ago?                         10   was pull up in 2016 and '17 by mixtures with
     11      A. Can I just look at this? It may               11   fentanyl, which again I attribute to the opioid
     12   help me.                                            12   crisis, not cocaine changing dramatically.
     13          The timelines are a little blurry to         13       Q. And we're in the home stretch. So
     14   me, but -- we did add a physician in 2014.          14   if you could do your best to try to respond to
     15   That would be Dr. Dolenack.                         15   the question. Mine was just do you have costs
     16      Q. Was that as a result of opioid                16   from cocaine. So I think you've answered that,
     17   overdose deaths?                                    17   at least initially.
     18      A. In part, yes.                                 18           Let me ask this question: Does the
     19      Q. Was it exclusively?                           19   cost for inviting overdose deaths in your
     20      A. I don't remember exactly. But I               20   office vary by substance?
     21   think we were very concerned about this rising      21       A. I -- I can't give you -- I can give
     22   tide of opiate deaths that we were seeing.          22   you a "yes" and "no." Then if I can expand a
     23          And part of what we rely on in our           23   little bit on that.
     24   office is we train future medical examiners.        24       Q. Well, let me ask it this way. And
     25   We actually have the oldest training program in     25   then, if you still need to expand, you can.
                                                   Page 395                                                  Page 397
      1   the country for that. And, you know, they can        1          Sitting here today, can you give me
      2   come and do work. They're not a consistent           2   a rank order in terms of heroin versus cocaine
      3   thing.                                               3   versus prescription opioids versus fentanyl in
      4          For example, this year we don't have          4   terms of which one is -- in terms of what the
      5   any -- be -- they're fellows. This is what I         5   actual cost per investigation is for your
      6   did when I did my training in New York City.         6   office?
      7   We don't have anybody this year.                     7          Do you know those precise numbers?
      8          We, you know, have two the year               8      A. I don't --
      9   before. Usually we have one, no more than two.       9          MR. BADALA: Objection to form.
     10   And, you know, they're a great help when            10          THE WITNESS: I don't think we've
     11   they're there.                                      11   drilled down to the unit cost per each of those
     12          But I remember in 2014, when I was           12   tests. You know, some of these things are
     13   talking about getting another physician, that,      13   going to be panels that we'll do screens on.
     14   you know, I -- I -- I made that clear that, you     14          Where I would really say we bore an
     15   know, we have an increasing caseload because of     15   additional cost above and beyond kind of
     16   the crisis, and this is not something we can        16   routine testing were with the analogs of
     17   consistently rely on as a, you know, help for       17   fentanyl. Because we had a find standards for
     18   this because there may be years we don't have       18   them, which in many cases weren't even
     19   anybody, like this year.                            19   available. We had to upgrade instrumentation.
     20      Q. Does your office incur costs in               20   And again, that would be kind of the unit cost
     21   terms of money and resources as a result of         21   I can't provide.
     22   cocaine overdoses?                                  22          But I would say that, you know, it
     23      A. I mean we're investigating cocaine            23   wasn't trivial with the expense of those
     24   deaths. So autopsy work there would be a cost.      24   instruments, that we needed to do a better job
     25   I don't think we go into it thinking this is --     25   analyzing them.
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      1           BY MR. CARTER:                          1        didn't happen. I just don't remember it.
      2      Q. I want to follow up on one of the         2           Q. Do you recall testifying that, for
      3   quest -- one of the questions from last week.   3        the year 2012 to 2013, that a quarter of the
      4   I asked you about a statement you made before 4          overdose deaths that you saw were the result of
      5   congress in terms of character --               5        doctor shopping and that mandatory use of OARRS
      6   characterizing the supply into the County of    6        by physicians prior to any pain medication
      7   fentanyl from China and Mexico, that it could 7          prescription would eliminate that possibility
      8   essentially be considered an act of terrorism.  8        and that that simple step of making it
      9           Do you recall that testimony to         9        mandatory could save up to 50 lives a year in
     10   congress?                                      10        Cuyahoga County alone?
     11      A. I recall the testimony --                11               Do you recall that testimony?
     12      Q. Okay.                                    12               MR. BADALA: Objection to form.
     13      A. -- to congress.                          13               THE WITNESS: I don't remember the
     14      Q. And you indicated yesterday that         14        specific testimony. If I'm in the same time
     15   that was not -- you wouldn't think it was --   15        frame, actually, our first data on doctor
     16   or -- I said yesterday.                        16        shopping would have been in 2013. And that was
     17           You indicated last week that you       17        36 percent, so not 25 percent. So I'm thinking
     18   didn't think it was fair that the county would 18        the testimony must have been later. It
     19   adopt that as an official position. So leave   19        subsequently has gone down to about 20 to 25
     20   the county out it because this is your         20        percent.
     21   individual deposition.                         21               And -- yeah. I -- I don't remember
     22           Do you stand by that                   22        the specifics of the testimony. I did
     23   characterization today in your personal view? 23         advocate, you know, within our task forces
     24      A. If I take a definition of                24        that, you know, mandatory checks on OARRS prior
     25   "terrorism" as the introduction of an agent    25        to prescribing would eliminate the potential
                                                   Page 399                                               Page 401
      1   that is harming the citizens of another              1   for diversion through the doctor shopping
      2   country, yes, I stand by that statement.             2   route.
      3       Q. Okay. And is that the definition              3           BY MR. CARTER:
      4   that you were using?                                 4      Q. If you testified in front of the
      5       A. That's what I meant to say when I             5   state legislature advocating for the -- the
      6   made that statement.                                 6   mandatory requirement of physicians checking
      7       Q. Okay.                                         7   OARRS before writing a prescription, you would
      8       A. The drugs that were coming from               8   have been accurate and truthful in that
      9   China, in large measure -- I can't say every         9   context, correct?
     10   fentanyl drug that came here was from China.        10      A. I would hope to be. Sure.
     11   But we -- you know, based on my discussions         11      Q. Okay. And what about the view that
     12   with law enforcement, that was a major source.      12   making mandatory use of OARRS prior to a pain
     13          And yes, those drugs were killing a          13   medication prescription on the part of
     14   lot of people in our community. And, you know,      14   physicians?
     15   it's not a big stretch to me to see that, you       15           Do you think that making that
     16   know, in the context of flying an airplane into     16   mandatory would eliminate the possibility of
     17   a building and killing citizens here too.           17   doctor shopping and could save up to 50 lives
     18       Q. You were asked to testify in an Ohio         18   per year in Cuyahoga County?
     19   legislative proceeding relative to the change       19      A. I think that the mandatory checks on
     20   in OARRS regulation.                                20   OARRS would reduce doctor shopping. You know,
     21          Do you recall testifying in that             21   where the number came from, I don't remember.
     22   capacity?                                           22   If this was testimony in Columbus, I don't even
     23       A. I remember testifying about Naloxone         23   remember going to Columbus.
     24   with the joint Ohio House and Senate. I don't       24           There was a group of legislators who
     25   remember OARRS testimony. I'm not saying it         25   came to -- I believe it was Medina County. I

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                                                    Page 402                                                 Page 404
      1   remember talking to them. But the memory I            1           BY MR. CARTER:
      2   have of that was that it was more about               2      Q. You were asked some questions
      3   Naloxone. I -- I don't remember the specific.         3   earlier by Mr. Boranian about certifying the
      4          But, you know, as I sit here today,            4   cause and manner of death and what that
      5   I think that, when the prescribers of opioids         5   certification means.
      6   would be required to check OARRS before               6           I want to follow up in that area.
      7   prescribing, yeah, that's an excellent idea.          7   Okay?
      8          I would say, you know, how many                8      A. Sure.
      9   lives it could have saved at that time isn't          9      Q. Is it important -- is the function
     10   going to be the same necessarily as how many it      10   that your office performs in certifying cause
     11   could save today. But it would have saved            11   and manner of death, do you think that's
     12   potentially, you know, diversion of drugs into       12   important to the public?
     13   this area.                                           13      A. On so many levels, absolutely. Yes.
     14      Q. And so whatever the number was, if             14      Q. And you told Mr. Boranian that those
     15   you provided a number under oath, you could          15   ultimate conclusions that are certified, that's
     16   stand by that in terms of making mandatory           16   the result of a medical opinion produced from
     17   checking of OARRS before writing a                   17   the exercise of medical judgment, correct?
     18   prescription, that that -- that change alone         18      A. That's true for any death
     19   could prevent deaths in some number?                 19   certificate, my office included, yes.
     20      A. Again, I -- you know, I don't                  20      Q. Okay. So in the course of your
     21   remember testifying, especially under oath to a      21   entire work in Cuyahoga County, have you ever
     22   legislative body. I remember, you know,              22   certified as the cause and manner of death, in
     23   talking to a group of House and Senate people        23   an overdose case where the person used heroin
     24   from Ohio. But I don't remember that specific        24   or illicit fentanyl or cocaine but did not have
     25   testimony.                                           25   any toxicology or evidence or OARRS profile of
                                                    Page 403                                                 Page 405
      1           I would say that the mandatory check          1   prescription drug use -- so in that type of
      2   of OARRS prior to prescribing, in the face of         2   situation, have you ever certified as a cause
      3   doctor shopping as we see it, and continue to         3   or manner of death that their overdose death
      4   see it, actually, would, you know, prevent            4   was due to or referable to or arising out of a
      5   diversion and could save lives.                       5   prescription opioid epidemic?
      6           I -- I -- I don't know where I                6          MR. BADALA: Objection to form.
      7   necessarily could have gotten that number. But        7          THE WITNESS: That one you lost me
      8   it may have been a percentage of individuals          8   on.
      9   who may not have become addicted. I don't             9          BY MR. CARTER:
     10   remember what went into the calculation.             10       Q. Sure.
     11           But if I said a number, I'd have to          11          Have you ever certified a cocaine
     12   go back and revisit how I came to that number.       12   death where there's no prescription opioid use
     13   But I would tend to stand by, you know, those        13   in your investigation -- have you ever
     14   things. I don't try to pull them out of the          14   certified a case like that and -- and noted on
     15   air.                                                 15   the death certificate that that cocaine
     16      Q. So -- so putting aside the context             16   overdose was referable to the opioid epidemic?
     17   and the testimony, let me just ask you the           17       A. No.
     18   question.                                            18       Q. Have you ever certified in such a
     19           Do you think the mandatory                   19   case that the cocaine overdose was directly
     20   requirement prior to a prescription by itself        20   linked to the conduct of the defendants in this
     21   would save lives?                                    21   case?
     22      A. Yes.                                           22       A. Just so we're clear, we're talking
     23           MR. BADALA: Objection to form.               23   about cocaine in the absence of any opioid, be
     24           THE WITNESS: I think the state does          24   it --
     25   too. We enacted that in April of 2015.               25       Q. Correct.
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                                                   Page 406                                                Page 408
      1      A. -- prescription opioid, heroin,                1   addicted to heroin after they had developed
      2   fentanyl?                                            2   addiction to opioid pain reliever, I would
      3      Q. So cocaine in the absence of any               3   still link that back to the opioid pain
      4   prescription opioid.                                 4   relievers, but I'm not going write "opioid pain
      5          So cocaine plus illicit fentanyl,             5   reliever" on the death certificate. Because
      6   cocaine plus heroin, cocaine by itself, cocaine      6   what my toxicology shows me was terminal event,
      7   plus any substance that is not a prescription        7   which is what I am using to certify cause of
      8   opioid.                                              8   death, and that would be heroin and cocaine.
      9          In any of those cases, have you ever          9           BY MR. CARTER:
     10   certified as a cause or manner of death that        10       Q. Okay. If you believed, using your
     11   that overdose death was caused as a result of       11   medical, judgment that medically more likely
     12   the conduct of the defendants in this case?         12   than not one of those deaths was directly
     13      A. That's not really what a death                13   caused by the opioid epidemic or the conduct of
     14   certificate's function is. There's no place to      14   a defendant in this case, would you not have an
     15   check that.                                         15   obligation, as someone executing your duties
     16          So the answer, I mean shortly, is            16   under office, to include what you believed to
     17   no. We don't put that information on a death        17   be the -- you know, the actual medical cause
     18   certificate. But that's not the function of a       18   and manner of death?
     19   death certificate.                                  19           MR. BADALA: Objection to form.
     20          So I'm not aware of any jurisdiction         20           THE WITNESS: I think you're making
     21   that would do something like that. We               21   a mistake about what a cause of death is.
     22   certainly don't because I don't think that's a      22   It's -- you know, by definition it's an injury
     23   good practice.                                      23   or disease which, in a natural, unbroken
     24      Q. So the function of the death                  24   sequence, produces death and in whose absence
     25   certificate is to arrive at the official            25   death would not have occurred.
                                                   Page 407                                                Page 409
      1   medical opinion as to the cause and manner of        1          So we don't go back and say, you
      2   death, correct?                                      2   know, two weeks ago, you know, something
      3      A. Right. We're going to enter a cause            3   happened here if it's not relevant to the
      4   and manner of death on a death certificate and       4   actual terminal event.
      5   then other information, potentially around an        5          BY MR. CARTER:
      6   injury, if that's an unnatural cause of death.       6      Q. So in terms of your obligations to
      7      Q. And so, if you thought that a                  7   execute your office, you are required and you,
      8   cocaine overdose, where there's no evidence of       8   in fact, do certify the cause and manner of
      9   prescription opioid use in that person's             9   death using your best medical judgment for all
     10   history, if you nonetheless thought as a            10   of the cases before you, correct?
     11   medical opinion that that death was                 11          MR. BADALA: Objection to form.
     12   attributable to or directly linked to an            12          THE WITNESS: I will certify the
     13   underlying prescription opioid epidemic, as a       13   cases I'm directly responsible for. And I
     14   medical matter, you would include that on the       14   review the cases that go through the office.
     15   death certificate, would you not?                   15          BY MR. CARTER:
     16          MR. BADALA: Objection to form.               16      Q. Okay. And --
     17          THE WITNESS: No. Because if the              17          MR. BADALA: And, Counsel, before
     18   drug isn't present, it's not relevant to the        18   you start your next question, do we've seven
     19   terminal cause of death. But that doesn't in        19   hours there? I'm sorry.
     20   any way mean that it's not related to the           20          MR. CARTER: No. I still have two
     21   prescription opioid epidemic.                       21   more minutes.
     22          If I had somebody who, for example,          22          THE VIDEOGRAPHER: Two more minutes.
     23   you know, died of cocaine and heroin overdose,      23          MR. BADALA: Two more minutes?
     24   and they were one of those, you know,               24          MR. CARTER: Yeah.
     25   substantial percentage of people who became         25          MR. BADALA: Okay. I just wanted to

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      1   double-check.                                     1   community when we saw the infiltration of the
      2           MR. CARTER: So -- and now I guess         2   cocaine market with fentanyl. You know, I know
      3   I -- I have two more minutes after your           3   in the task forces we've offered, you know, an
      4   discussion.                                       4   analysis of the death data to say, "We're
      5           BY MR. CARTER:                            5   seeing this rise in cocaine. We're seeing this
      6      Q. So in the course of those -- in             6   rise in heroin. But when we drill into the
      7   executing your duty, have you ever written on     7   data, that rise is related to fentanyl."
      8   any death certificate that the cause or manner    8          And as I said, the drugs that we
      9   of death was an underlying prescription opioid    9   see, you know, now, the heroin before and the
     10   epidemic?                                        10   fentanyl, are a continuum of the prescription
     11           MR. BADALA: Objection to form.           11   pain relievers. And I think, you know, we've
     12           BY MR. CARTER:                           12   generated independent data. And there's, you
     13      Q. Have you ever done that when               13   know, a consensus, I think, from, you know, CDC
     14   executing your day job?                          14   about the phases of the opioid crisis.
     15      A. It's, again, not the function of me        15          So I -- I wouldn't say, you know,
     16   as a death certifier. It's a function I would    16   that here's the prescription opioid crisis,
     17   participate in as a public health official.      17   here's the heroin. It's the opioid crisis, and
     18   But it's not the way a death certificate would   18   it has different phases.
     19   be used in Ohio or any other jurisdiction I      19          MR. CARTER: Thank you.
     20   worked in.                                       20          I'm out of time.
     21      Q. Prior to this lawsuit, have you ever       21          THE WITNESS: Thanks.
     22   broken down the number of cocaine overdose       22          THE VIDEOGRAPHER: We are going off
     23   deaths and said which ones or what percentage    23   the record at 6:22 p.m.
     24   of those were directly attributable or           24          This concludes today's testimony of
     25   referable to an opioid epidemic?                 25   --
                                                Page 411                                                Page 413
      1          Have you ever made such a public         1            MR. BADALA: No, no. It doesn't
      2   comment?                                        2     conclude. We're going to have some questions.
      3      A. I know time's running out.                3            THE VIDEOGRAPHER: Oh. I'm --
      4          If I understand your question, we're     4            MR. BADALA: Yeah.
      5   talking about cocaine overdoses, potentially    5            THE VIDEOGRAPHER: -- sorry,
      6   mixtures of cocaine with other drugs?           6     Counsel.
      7      Q. Cocaine cases where there's no            7            MR. BADALA: Yeah. I wanted to make
      8   evidence of prescription opioid use.            8     sure we --
      9          Have you ever -- you said that you       9            THE WITNESS: Are we breaking, or
     10   -- you have two types of statements. You have 10      not?
     11   the death certificate certifications, and then 11            MR. BADALA: We could take just a
     12   you have other things where you make policy 12        quick two-minute break.
     13   statements. So I'm asking about the policy     13            THE WITNESS: Yeah.
     14   statements.                                    14            THE VIDEOGRAPHER: We are going off
     15          Have you ever told the public, prior    15     the record at 6:22.
     16   to this lawsuit, that some subset of cocaine   16            (A short recess was taken.)
     17   cases that did not involve prescription        17            THE VIDEOGRAPHER: We are going back
     18   opioids, that some subset was directly         18     on the record.
     19   relatable to the prescription opioid epidemic? 19            The time is 6:28.
     20          MR. BADALA: Objection to form.          20            You may proceed, Counsel.
     21          THE WITNESS: It's the opioid            21        EXAMINATION BY COUNSEL FOR PLAINTIFF
     22   epidemic. So it would take in those three      22            BY MR. BADALA:
     23   phases that I mentioned.                       23        Q. Dr. Gilson, you were asked some
     24          And yes, we've made statements. We 24          questions earlier about Carole Rendon.
     25   made statements to the African-American        25            Do you recall that?

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                                                     Page 414                                                 Page 416
      1      A. Yes, I do.                                       1           Dr. Gilson, what was your reaction
      2      Q. Doctor, I want to preface this                   2   when you heard Ms. Rendon was representing a
      3   question by saying I don't want you to disclose        3   defendant in this litigation?
      4   any confidences, if there were any.                    4       A. I like Carole Rendon. I enjoyed the
      5          However, at any point in time while             5   time we worked together when she was the U.S.
      6   Ms. Rendon was at the U.S. Attorney's Office,          6   Attorney and deputy U.S. Attorney. And I just
      7   did you have confidential conversations with           7   have to say I was very disappointed when I saw
      8   Ms. Rendon related to prosecutions and/or              8   that. I -- it was disappointment.
      9   strategy?                                              9       Q. Now, Dr. Gilson, earlier you were
     10          MS. HARTMAN: Objection.                        10   asked a series of questions about potentially
     11          THE WITNESS: Can I answer?                     11   responsible parties in this litigation.
     12          MR. BADALA: Yes.                               12           Do you recall that?
     13          THE WITNESS: Yes. I felt we were               13       A. Yes, I do.
     14   sharing things that I wouldn't have shared in a       14       Q. Doctor, do you have any reason to
     15   general forum.                                        15   believe that Cuyahoga County failed to name any
     16          BY MR. BADALA:                                 16   parties as defendants that you believed to be
     17      Q. Now, earlier you were asked some                17   responsible for the opioid epidemic?
     18   questions about the Burrage case.                     18           MR. CARTER: Objection to the form.
     19          Do you recall that?                            19           THE WITNESS: I think Cuyahoga
     20      A. Yes.                                            20   County named the appropriate defendants in this
     21      Q. And you were asked some questions               21   litigation.
     22   about a subsequent article that you copublished       22           When we spoke earlier, we talked
     23   with Ms. Rendon?                                      23   about drug cartels and pill mills and things
     24      A. We coauthored, yes.                             24   like that. And I would say that, you know,
     25      Q. Was everything that you discussed               25   those are criminal operations and certainly
                                                     Page 415                                                 Page 417
      1   with Ms. Rendon included in that article?              1   should be, you know, deplored and punished.
      2            MR. CARTER: Objection to the                  2          But ultimately, it -- it's my belief
      3   form.                                                  3   that the actions of the defendants created a
      4           THE WITNESS: No.                               4   climate in which those individuals took
      5           BY MR. BADALA:                                 5   advantage of the county as well.
      6       Q. Do you know if Ms. Rendon is                    6          MR. BADALA: I have no further
      7   currently representing any defendants in this          7   questions.
      8   litigation?                                            8          MR. HARTMAN: I also have some
      9       A. Yes, I do.                                      9   recross. So --
     10       Q. What was your reaction when you                10          MR. BADALA: How much time did we
     11   heard that Ms. Rendon was representing a              11   just have on there?
     12   defendant in this litigation?                         12          MR. CARTER: Three minutes and two
     13           MS. HARTMAN: Objection.                       13   seconds.
     14           THE REPORTER: I'm sorry. Who said             14          MR. BADALA: Okay.
     15   that?                                                 15          MR. HARTMAN: I want to take a
     16           MS. HARTMAN: Objection.                       16   two-minute break and then come back with the
     17           THE REPORTER: I just wanted to see            17   recross.
     18   who it was.                                           18          MR. BADALA: You want to go off the
     19           MS. HARTMAN: Ruth.                            19   record? Is that what you're saying?
     20           BY MR. BADALA:                                20          MS. HARTMAN: Yeah. We'll go off
     21       Q. You can answer.                                21   the record.
     22           Do you want me to repeat the                  22          MR. BADALA: Okay.
     23   question?                                             23          MS. HARTMAN: Did you say it was
     24       A. If you would, please. Yeah.                    24   three minutes?
     25       Q. Sure.                                          25          MR. BADALA: Two seconds.
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      1          MS. HARTMAN: Okay.                           1   tracking these things, I was going to be the
      2          THE VIDEOGRAPHER: We are going off           2   person who was going to be called.
      3   the record.                                         3      Q. Okay. So -- but -- but this never
      4          The time is 6:31.                            4   came to fruition; is that correct?
      5          (A short recess was taken.)                  5          MR. BADALA: Objection to form.
      6          THE VIDEOGRAPHER: We are back on             6          THE WITNESS: No. There have been a
      7   the record.                                         7   couple of cases I have had those discussions.
      8          The time is 6:43.                            8   But none of them --
      9          You may proceed, Counsel.                    9          MS. HARTMAN: Okay.
     10          EXAMINATION BY COUNSEL FOR                  10          THE WITNESS: -- have actually gone
     11        ENDO HEALTH SOLUTIONS, INC, AND               11   to trial.
     12          ENDO PHARMACEUTICALS, INC,                  12          BY MS. HARTMAN:
     13          BY MS. HARTMAN:                             13      Q. Okay. Was the information you
     14      Q. Good afternoon -- or rather evening,         14   shared with Ms. Rendon that you suggested was
     15   Dr. Gilson.                                        15   confidential in the context of the U.S.
     16      A. Evening.                                     16   Attorney Heroin and Opiate Task Force?
     17      Q. My name is Ruth Hartman. And I am            17      A. You mean the task force meetings?
     18   here on behalf of the Endo defendants.             18      Q. Uh-huh.
     19          I just have a few --                        19      A. No. This would have been more
     20      A. Good afternoon -- good evening.              20   discussion I had with her.
     21      Q. Good evening.                                21      Q. About the expert witness position?
     22          I have a few follow-up questions.           22          MR. BADALA: Objection to form.
     23          You just testified that you shared          23          THE WITNESS: I misrecall your
     24   confidential information and strategy related      24   question.
     25   to prosecutions with Ms. Rendon; is that           25          BY MS. HARTMAN:
                                                  Page 419                                                   Page 421
      1   correct?                                            1      Q. All right. So what was the context
      2      A. Yes, I did.                                   2   of this confidential information?
      3      Q. Did Ms. Rendon compel the sharing of          3          MR. BADALA: I'm just going to
      4   this information that you shared with her?          4   instruct you, if it's confidential, not to
      5          MR. BADALA: Objection to form.               5   disclose it.
      6          THE WITNESS: No. I think we were             6          THE WITNESS: I -- I mean some of it
      7   discussing it in the context of she's the           7   was about strategies for prosecutions. I don't
      8   federal prosecution, and I'm the person who         8   want to disclose those, actually.
      9   potentially was going to serve as an expert         9          BY MS. HARTMAN:
     10   witness in some of the death specification         10      Q. Okay. So -- well, can you describe
     11   cases related to drug overdoses.                   11   exactly the nature of the confidential
     12          BY MS. HARTMAN:                             12   information you claimed to have shared?
     13      Q. Oh, okay.                                    13          MR. BADALA: Again, objection.
     14          Did you serve as that expert witness        14   Asked and answered.
     15   related to drug overdoses?                         15          But I'm going to instruct you not to
     16      A. We were slated to do a case. I               16   disclose what the confidential information was.
     17   forget who the U.S. Attorneys were.                17          THE WITNESS: I mean and this may
     18      Q. Uh-huh.                                      18   bear with future prosecutions. I don't want to
     19      A. But it pled before it went.                  19   answer that question.
     20      Q. Okay.                                        20          BY MS. HARTMAN:
     21      A. But I was going to testify in my             21      Q. Well, were the prosecutions you
     22   capacity as the medical examiner who reviewed      22   discussed against any individuals in this case?
     23   the data. I didn't actually do that autopsy.       23          MR. BADALA: Objection to form.
     24          But just, you know, given how much          24          Again, I'm going to instruct you not
     25   effort I was putting into keeping up and           25   to disclose any confidential information.

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      1          DEPOSITION REVIEW                                                   1            ERRATA SHEET
                CERTIFICATION OF WITNESS
      2                                                                                       VERITEXT LEGAL SOLUTIONS MIDWEST
         ASSIGNMENT REFERENCE NO: 3196188                                            2          ASSIGNMENT NO: 1/22/2019
      3 CASE NAME: In Re: National Prescription Opiate Litigation
                                                                                     3   PAGE/LINE(S) /    CHANGE       /REASON
         DATE OF DEPOSITION: 1/22/2019
      4 WITNESS' NAME: Thomas Gilson, M D                                            4   ___________________________________________________
      5     In accordance with the Rules of Civil                                    5   ___________________________________________________
        Procedure, I have read the entire transcript of
      6 my testimony or it has been read to me                                       6   ___________________________________________________
      7     I have made no changes to the testimony                                  7   ___________________________________________________
        as transcribed by the court reporter                                         8   ___________________________________________________
      8
        _______________          ________________________                            9   ___________________________________________________
      9 Date              Thomas Gilson, M D                                        10   ___________________________________________________
     10     Sworn to and subscribed before me, a
        Notary Public in and for the State and County,
                                                                                    11   ___________________________________________________
     11 the referenced witness did personally appear                                12   ___________________________________________________
        and acknowledge that:                                                       13   ___________________________________________________
     12
            They have read the transcript;                                          14   ___________________________________________________
     13     They signed the foregoing Sworn                                         15   ___________________________________________________
            Statement; and                                                          16   ___________________________________________________
     14     Their execution of this Statement is of
            their free act and deed                                                 17   ___________________________________________________
     15                                                                             18   ___________________________________________________
            I have affixed my name and official seal
     16
                                                                                    19
        this ______ day of_____________________, 20____                                _______________     ________________________
     17                                                                             20 Date          Thomas Gilson, M.D.
                ___________________________________
     18         Notary Public                                                       21 SUBSCRIBED AND SWORN TO BEFORE ME THIS ________
     19         ___________________________________                                 22 DAY OF ________________________, 20______ .
                Commission Expiration Date
                                                                                    23       ___________________________________
     20
     21                                                                                      Notary Public
     22                                                                             24
     23
     24                                                                                      ___________________________________
     25                                                                             25       Commission Expiration Date

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      1         DEPOSITION REVIEW
               CERTIFICATION OF WITNESS
      2
         ASSIGNMENT REFERENCE NO: 3196188
      3 CASE NAME: In Re: National Prescription Opiate Litigation
         DATE OF DEPOSITION: 1/22/2019
      4 WITNESS' NAME: Thomas Gilson, M D
      5     In accordance with the Rules of Civil
        Procedure, I have read the entire transcript of
      6 my testimony or it has been read to me
      7     I have listed my changes on the attached
        Errata Sheet, listing page and line numbers as
      8 well as the reason(s) for the change(s)
      9     I request that these changes be entered
        as part of the record of my testimony
     10
            I have executed the Errata Sheet, as well
     11 as this Certificate, and request and authorize
        that both be appended to the transcript of my
     12 testimony and be incorporated therein
     13 _______________           ________________________
        Date              Thomas Gilson, M D
     14
            Sworn to and subscribed before me, a
     15 Notary Public in and for the State and County,
        the referenced witness did personally appear
     16 and acknowledge that:
     17     They have read the transcript;
            They have listed all of their corrections
     18     in the appended Errata Sheet;
            They signed the foregoing Sworn
     19     Statement; and
            Their execution of this Statement is of
     20     their free act and deed
     21     I have affixed my name and official seal
     22 this ______ day of_____________________, 20____
     23         ___________________________________
                Notary Public
     24
                ___________________________________
     25         Commission Expiration Date


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